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                                 #:11903



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 15
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 16 Counterclaimant Dropbox, Inc.
 17
                            UNITED STATES DISTRICT COURT
 18
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 19
    IRONHAWK TECHNOLOGIES, INC., Case No. 2:18-cv-01481-DDP-JEM
 20 a Delaware Corporation,
 21                                           JOINT EXHIBIT LIST
                 Plaintiff and
                 Counterdefendant,
 22
                                              Judge: Hon. Dean D. Pregerson
 23        vs.                                Trial Date: October 22, 2019
                                              Final Pre-Trial Conf.: October 7, 2019
 24 DROPBOX, INC., a Delaware
    corporation,
 25
 26              Defendant and
                 Counterclaimant.
 27
 28
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Case 2:18-cv-01481-DDP-JEM Document 186 Filed 09/16/19 Page 2 of 126 Page ID
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  1               Pursuant to the Court’s Order for Jury Trial, Local Rule 16-6, and Fed. R. Civ.
  2 P. 26(a)(3)(A)(iii), Plaintiff Ironhawk Technologies, Inc. (“Ironhawk” or “Plaintiff”)
  3 and Defendant Dropbox, Inc. (“Dropbox” or “Defendant”) (together, the “Parties”)
  4 hereby submit the following Joint Exhibit List to be used at trial. In addition to the
  5 exhibits identified below, the Parties reserve their rights to introduce exhibits as the
  6 need for such exhibits becomes known, prior to, at, or during the time of trial, for
  7 rebuttal and/or impeachment purposes and/or to amend their exhibits and/or exhibit
  8 list to include additional documents or data discovered or produced in the days prior
  9 to trial. The Parties also reserve their rights to add, remove or revise their exhibits
 10 and/or exhibit list. The exhibits included herein may be used by the Parties at trial,
 11 not necessarily in the indicated order.
 12
 13                                         JOINT EXHIBIT LIST
 14
 15     Exh.                                                                 Date         Date
                                    Description of Exhibit                 Identified   Admitted
        No.
 16
           1       Document entitled, Dropbox Infinite Naming (P.
 17                Rowell Ex. 1 same as Vashee Ex. 117, Houston Ex.
 18                127, Lyman Ex. 108, Han Ex. 87, Sheehan Ex. 40,
                   Watt Ex. 8)
 19                Dropbox_0000000010-0000000019
 20        2       Document entitled, Infinite M2 Naming (P. Rowell
                   Ex. 2 same as Lyman Ex. 109, Houston Ex. 128,
 21
                   Vashee Ex. 118 and Han Ex. 88, Sheehan Ex. 41)
 22                Dropbox_0000000055-0000000059
           3       9/14/16 K. Watt email string to P. Rowell cc C. Baty
 23
                   re Infinite Naming Follow-ups (P. Rowell Ex 3,
 24                Sheehan Ex. 42)
                   Dropbox_0000000034-0000000035
 25
           4       9/14/16 K. Watt email string to P. Rowell re Kevin
 26                Watt shared Infinite Name Exploration - Full List of
 27                Names with you (Rowell Ex. 4, Houston Ex. 130,
                   Sheehan Ex. 43, Pham Ex. 1004, Sarabia Ex. 43,
 28                Watt Ex. 3)
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  1     Exh.                                                                Date         Date
                                  Description of Exhibit                  Identified   Admitted
        No.
  2
                  Dropbox_0000001596-0000001598
  3        5      Document titled, Inifite Name Testing - 10/4
  4               (Rowell Ex. 5, Han Ex. 97, Sheehan Ex. 44,
                  Watt Ex 4)
  5
                  Dropbox_0000000135-0000000138
  6        6      10/07/16 P. Rowell email chain to D. Houston, T.
                  Jackson cc: S. Vashee, J. Lyman, G. Sheehan, K.
  7
                  Watt, G. O'Brien re Infinite name testing learnings +
  8               recommendation (Rowell Ex. 6, Houston Ex. 131,
                  Han Ex. 100)
  9
                  Dropbox_0000000020-0000000030
 10        7      Document titled, Copy Decisions Summary
                  (Rowell Ex. 7)
 11
                  Dropbox_0000000038-0000000054
 12        8      9/29/16 Dropbox Paper email to
 13               arash@dropbox.com re Updates to Naming Infinite
                  (Rowell Ex. 8, Han Ex. 93, Sheehan Ex. 46, Pham
 14               Ex. 1002, Watt Ex. 6)
 15               Dropbox_0000001501-0000001504
           9      9/30/16 K. Watt via Dropbox Paper email to P.
 16               Rowell re Kevin Watt shared Infinite M3, Part 2
 17               with you (Rowell Ex. 9, Vashee Ex. 120, Han Ex.
                  96, Lyman Ex. 111, Sheehan Ex. 47, Watt Ex. 7,
 18               Sarabia Ex. 43)
 19               Dropbox_0000001582-0000001584
          10      9/27/16 J. Mar email to K. Matthews, L. Rae re
 20               Name change - Contingency Plan (Rowell Ex. 10,
 21               Han Ex. 92, Houston Ex. 132, Sheehan Ex. 48)
                  Dropbox_0000000119
 22       11      1/13/17 J. Bauer (REDACTED) email to N. Han cc:
 23               C. Bateman, J. Lyman, S. Stevens re Smart Sync
                  (Rowell Ex. 11)
 24               Dropbox_0000001871-0000001872
 25       12      Dropbox Spreadsheet re Context & Assumptions,
                  Search Plan, Notes from Search, Most Relevant Hits
 26               (Rowell Ex. 12, Lyman Ex. 115, Han Ex. 104,
 27               Vashee Ex. 124, Sheehan Ex. 51)
                  Dropbox_0000001864
 28       13      6/29/15 Project IGNITE Conference Call Details
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                                            JOINT EXHIBIT LIST
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  1     Exh.                                                               Date         Date
                                  Description of Exhibit                 Identified   Admitted
        No.
  2
                  and Key Discussion (Jay Ex. 13, B. Lightcap Ex. 31,
  3               Sheehan Ex. 57, Xuezhao Ex. 23)
  4               IRONHAWK-D_000049512
          14      June 2015 Project IGNITE Executive Summary (Jay
  5
                  Ex. 14, Houston Ex. 149, Xuezhao Ex. 24 same as
  6               B. Lightcap Ex. 32)
                  IRONHAWK-D_000045476-000045494
  7
          15      6/29/15 M. Lippert email to D. Gomes cc: J.
  8               Espinoza, G. Stucker re Dropbox (Jay Ex. 15, B.
                  Lightcap Ex. 33, Xuezhao Ex. 25)
  9
                  IRONHAWK-D_000045475
 10       16      Dropbox Spreadsheet (Jay Ex. 16, B. Lightcap Ex.
                  34, Xuezhao Ex. 26)
 11
                  IRONHAWK-D_00001459 26 pages
 12       17      Dropbox Spreadsheet (Jay Ex. 17, B. Lightcap Ex.
 13               35, Xuezhao Ex. 27)
                  IRONHAWK-D_00001460 3 pages
 14       18      Federal Subpoena to Testify at a Deposition in a
 15               Civil Action to Oliver Jay (Jay Ex. 18)
                  3 pages
 16       19      2/17/19 Declaration of Oliver Jay in Support of
 17               Third Parties' Opposition to Plaintiff Ironhawk
                  Technologies, Inc.'s Ex Parte Motion for an Order to
 18               Show Cause and Monetary Sanctions (Jay Ex. 19)
 19               2 pages
          20      3/03/14 2015 Travel and Workday Information
 20               (Jay Ex. 20) 1 page
 21       21      6/21/15 - 11/25/15 MileagePlus Activity
                  (Jay Ex. 21) 1 page
 22       22      6/23/15 M. Lippert email to D. Gomes cc: G.
 23               Stucker, J. Espinoza re Dropbox (B. Lightcap Ex.
                  30, Sheehan Ex. 56, Xuezhao Ex. 22)
 24               IRONHAWK-D_000045359
 25       23      Intentionally left blank
          24      Intentionally left blank
 26
          25      Intentionally left blank
 27       26      Intentionally left blank
          27      Intentionally left blank
 28
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  1     Exh.                                                               Date         Date
                                  Description of Exhibit                 Identified   Admitted
        No.
  2
          28      Federal Subpoena to Testify at a Deposition in a
  3               Civil Action to Lan Xuezhao (Xuezhao Ex. 28)
  4               3 pages
          29      2/07/19 Declaration of Lan Xuezhao in Support of
  5
                  Third Parties' Opposition to Plaintiff Ironhawk
  6               Technologies, Inc.'s Ex Parte Motion for an Order to
                  Show Cause and Monetary Sanctions (Xuezhao Ex.
  7
                  29) 2 pages
  8       30      Intentionally left blank
          31      Intentionally left blank
  9
          32      Intentionally left blank
 10       33      Intentionally left blank
 11       34      Intentionally left blank
          35      Dropbox Spreadsheet (Lightcap Ex. 35)
 12               DROPBOX_0000001460
 13       36      Printout of metadata entitled,
                  "DROPBOX_0000001459" (Lightcap Ex. 36,
 14               Sheehan Ex. 60) 1 page
 15       37      1/25/19 Federal Subpoena to Testify at a Deposition
                  in a Civil Action to Brad Lightcap
 16               (Lightcap Ex. 37) 3 pages
 17       38      2/07/19 Declaration of Brad Lightcap in Support of
                  Third Parties' Opposition to Plaintiff Ironhawk
 18               Technologies, Inc.'s Ex Parte Motion for an Order to
 19               Show Cause and Monetary Sanctions
                  (B. Lighcap Ex. 38) 2 pages
 20       39      3/13/19 Plaintiff Ironhawk Technologies, Inc.'s
 21               Second Amended Notice of Deposition of Defendant
                  Dropbox, Inc. (Sheehan Ex. 39) 6 pages
 22       40      Intentionally left blank
 23       41      Intentionally left blank
          42      Intentionally left blank
 24
          43      Intentionally left blank
 25       44      Intentionally left blank
 26       45      Document entitled, "Infinite EA Launch Review"
                  (Lyman Ex. 113, Han Ex. 106, Vashee Ex. 122,
 27               Sheehan Ex. 45, Sarabia Ex. 45, Watt Ex. 5)
 28               Dropbox_0000000036-0000000054

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  1     Exh.                                                              Date         Date
                                 Description of Exhibit                 Identified   Admitted
        No.
  2
          46      Intentionally left blank
  3       47      Intentionally left blank
  4       48      Intentionally left blank
          49      10/06/16 N. Han email to J. Lyman cc: S. Vashee,
  5
                  K. Watt, B. Volkmer, W. Yoon, G. Sheehan re Legal
  6               consult - Wording question - Proj Infinite (Houston
                  Ex. 140 same as Lyman Ex. 110 and Vashee Ex.
  7
                  119, Han Ex. 99, Sheehan Ex. 49)
  8               Dropbox_0000001847-0000001855
  9       50      10/06/16 J. Lyman email to N. Han cc: S. Vashee,
                  K. Watt, B. Volkmer, W. Yoon, G. Sheehan re Legal
 10               Consult - Wording question - Proj Infinite (Sheehan
 11               Ex. 50)
                  Dropbox_0000001856-0000001863
 12       51      Intentionally left blank
 13       52      1/13/17 N. Han email to J. Lyman, C. Bateman, J.
                  Bauer re SmartSync ask (Lyman Ex. 114, Vashee
 14               Ex. 123, Houston Ex. 141, Sheehan Ex. 52, Sarabia
 15               Ex. 52)
                  Dropbox_0000001876
 16       53      1/13/17 N. Han email to C. Bateman cc: J. Lyman, J.
 17               Bauer re Smart Sync ask (Lyman Ex. 116, Vashee
                  Ex. 125, Houston Ex. 142, Sheehan Ex. 53)
 18               Dropbox_0000001869-0000001870
 19       54      1/17/17 N. Han email to K. Watts re New
                  Comments on Supernova FAQ (Vashee Ex. 126,
 20               Sheehan Ex. 54)
 21               Dropbox_0000001877-0000001878
          55      10/13/16 G. Sheehan email to team-infinite re FWD:
 22               Infinite name testing learnings + recommendation
 23               (Lyman Ex. 112, Vashee Ex. 121, Sheehan Ex. 55,
                  Sarabia Ex. 55)
 24               Dropbox_0000001074-0000001075
 25       56      Intentionally left blank
          57      Intentionally left blank
 26
          58      6/29/15 M. Lippert email to D. Gomes cc: J.
 27               Espinoza, G. Stucker re Dropbox attaching Project
                  IGNITE - Reference Materials 6.29.2015.pdf
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  1     Exh.                                                           Date         Date
                                Description of Exhibit               Identified   Admitted
        No.
  2
                  (Sheehan Ex. 58)
  3               IRONHAWK-D_000045475-000045494
  4       59      Spreadsheet (Sheehan Ex. 59)
                  15 pages
  5
          60      Intentionally left blank
  6       61      Spreadsheet
                  (Sheehan Ex. 61) 2 pages
  7
          62      May 2015 Project IGNITE - Leading Provider of
  8               Middleware Software, Bandwidth Optimization, and
  9               Data Delivery Solutions (Sheehan Ex. 62)
                  Dropbox_0000001791-0000001798
 10       63      11/19/18 Dropbox blog "Bringing Dropbox Smart
 11               Sync to all teams, plus new team selective sync"
                  (Sheehan Ex. 63)
 12               Dropbox_0000000105-0000000109
 13       64      Document entitled, "Vertical Dropbox Business
                  Messaging Frameworks Overview"
 14               (Sheehan Ex. 64)
 15               Dropbox_0000000001-0000000003
          65      8/19/16 Document entitled, Infinite Marketing
 16               M1/M2 (Sheehan Ex. 65)
 17               Dropbox_0000000060-0000000065
          66      1/15/19 Google Search re SmartSync
 18               (Sheehan Ex. 66)
 19               IRONHAWK-D_000050603-000050604
          67      1/15/19 Google Search re Smart Sync
 20               (Sheehan Ex. 67)
 21               IRONHAWK-D_000050601-000050602
          68      1/31/19 Google Invoice to Barbara Arnold,
 22               Dropbox, Inc. (Sheehan Ex. 68)
 23               DROPBOX_000002076-0000002093
          69      Plaintiff Ironhawk Technologies, Inc.'s Second
 24               Amended Notice of Deposition of Defendant
 25               Dropbox, Inc. (Doyle, Ex. 69) 7 pages
          70      2018 Revenue by SKU Spreadsheet (Doyle Ex. 70)
 26
                  DROPBOX_0000002588
 27       71      2018 Revenue by SKU Spreadsheet
                  (Doyle Ex. 71) 2 pages
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                                          JOINT EXHIBIT LIST
Case 2:18-cv-01481-DDP-JEM Document 186 Filed 09/16/19 Page 8 of 126 Page ID
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  1     Exh.                                                              Date         Date
                                  Description of Exhibit                Identified   Admitted
        No.
  2
          72      3/11/19 ARR Definition and Policy (Doyle Ex. 72)
  3               DROPBOX_0000002886-0000002893
  4       73      1/31/17 - 12/31/18 Spreadsheet (Doyle Ex. 73)
                  DROPBOX_0000001789
  5
          74      1/31/17 - 12/31/18 Spreadsheet (Doyle Ex. 74)
  6               DROPBOX_0000001790
          75      12/31/15 - 12/31/18 Spreadsheet re ARR - US only
  7
                  (Doyle Ex. 75) 18 pages
  8       76      Q1 ' 2008 - Q4 '2010 Spreadsheet (Doyle Ex. 76)
  9               DROPBOX_0000001818-0000001829
          77      2009-2017 Spreadsheet (Doyle Ex. 77)
 10               DROPBOX_0000002591-0000002609
 11       78      Spreadsheet re Teams Retention Rates
                  (Doyle Ex. 78) 8 pages
 12       79      Chart re SmartSync (Doyle Ex. 79)
 13       80      Jan-17 - Jan-19 Chart re Total media spend,
                  estimated spend on Dropbox Professional and
 14               Estimated Spend on Dropbox Business
 15               (Doyle Ex. 80)
                  DROPBOX_0000001802
 16       81      Ironhawk Smartsync Trademark Principal Register
 17               dated Jan. 16, 2007
                  (Han Ex. 81) 1 page
 18       82      Ninth Circuit Recitation re 15.18 Infringement-
 19               Likelihood of Confusion-Factors-Sleekcraft Test
                  (Han Ex. 82) 2 pages
 20       83      4/21/16 W. Yoon email to sheila@dropbox.com re
 21               New comments on Open London Project Infinite
                  Announcement Blog (Han Ex. 83)
 22               Dropbox_0000002894-0000002895
 23       84      4/21/16 N. Han email to C. Bateman cc: J. Lyman,
                  W. Yoon re Usage of "Infinite hard drive"
 24
                  messaging (Han Ex. 84)
 25               Dropbox_0000002897-0000002898
          85      3/14/19 Dropbox Blog announcing project infinite
 26
                  "A Revolutionary new way to access all your files",
 27               by Genevieve Sheehan
                  (Han Ex. 85) 6 pages
 28
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  1     Exh.                                                                Date         Date
                                  Description of Exhibit                  Identified   Admitted
        No.
  2
          86      9/15/16 N. Han email to B. Volkmer cc W. Yoon re
  3               Escalation for "Infinite" naming (Han Ex. 86)
  4               Dropbox_0000002906-0000002912
          87      Intentionally left blank
  5
          88      Intentionally left blank
  6       89      Document entitled, Infinite Naming Discussion 9/13
                  (Houston Ex. 137, Han Ex. 89)
  7
                  Dropbox_0000001803-0000001808
  8       90      9/19/16 A. Ferdowsi email to S. Vashee re
  9               [Feedback needed] Infinite naming recommendation
                  doc (Han Ex. 90)
 10               Dropbox_0000001518-0000001519
 11       91      9/27/16 S. Vashee email to T. Jackson, A. Ferdowsi,
                  P. Rowell re FWD: Infinite naming - feedback
 12               needed (Han Ex. 91)
 13               Dropbox_0000001541-0000001543
          92      Intentionally left blank
 14       93      Intentionally left blank
 15       94      9/30/16 D. Houston email to A. Ferdowsi re Infinite
                  naming - feedback needed
 16               (Houston Ex. 129, Han Ex. 94)
 17               Dropbox_0000001493-0000001495
          95      Document entitled, Naming Infinite (Han Ex. 95)
 18               Dropbox_0000001809-0000001816
 19       96      Intentionally left blank
          97      Intentionally left blank
 20       98      10/05/16 N. Han email to W. Yoon cc: B. Volkmer
 21               re Legal Consult - Wording question - Proj Infinite
                  (Han Ex. 98, Sarabia Ex. 98)
 22               Dropbox_0000001882-0000001890
 23      99       Intentionally left blank
         100      10/07/16 P. Rowell email chain to D. Houston, T.
 24
                  Jackson cc: S. Vashee, J. Lyman, G. Sheehan, K.
 25               Watt, G. O'Brien re Infinite name testing learnings +
                  recommendation (Houston Ex. 131, Han Ex. 100)
 26
                  Dropbox_0000000020-0000000034
 27      101      1/13/17 N. Han email to J. Lyman, C. Bateman, J.
 28               Bauer, K. Watt re SmartSync ask (Han Ex. 101)

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   1     Exh.                                                              Date         Date
                                   Description of Exhibit                Identified   Admitted
         No.
   2
                   Dropbox_0000001873
   3      102      1/13/17 J. Bauer email to N. Han cc: C. Bateman, J.
   4               Lyman, S. Stevens re SmartSync ask (Han Ex. 102)
                   UNREDACTED
   5
                   Dropbox_0000001871-0000001872
   6      103      Supernova Press FAQ (Han Ex. 103)
                   Dropbox_0000001900-0000001920
   7
          104      Intentionally left blank
   8      105      1/17/17 N. Han email to K. Watt re New comments
   9               on Supernova FAQ (Han Ex. 105)
                   Dropbox_0000001877-0000001881
 10       106      Intentionally left blank
 11       107      3/14/19 Businesswire.com article re "Dropbox
                   Transforms Teamwork with New Products and
 12                Business Plans
 13                (Han Ex. 107) 4 pages
          108      Intentionally left blank
 14       109      Intentionally left blank
 15       110      Intentionally left blank
          111      Intentionally left blank
 16       112      Intentionally left blank
 17       113      Intentionally left blank
          114      Intentionally left blank
 18
          115      Intentionally left blank
 19       116      Intentionally left blank
          117      Intentionally left blank
 20
          118      Intentionally left blank
 21       119      Intentionally left blank
 22       120      Intentionally left blank
          121      Intentionally left blank
 23       122      Intentionally left blank
 24       123      Intentionally left blank
          124      Intentionally left blank
 25       125      Intentionally left blank
 26       126      Intentionally left blank
          127      Intentionally left blank
 27
          128      Intentionally left blank
 28       129      Intentionally left blank
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                                 #:11913



   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          130      Intentionally left blank
   3      131      Intentionally left blank
   4      132      Intentionally left blank
          133      9/02/16 J. Lyman email to T. Jackson A. Ferdowsi,
   5
                   D. Woodside cc: C. Bateman, G. Sheehan, G.
   6               O'Brien, K. Watt, P. Roswell, S. Charlton, S.
                   Vashee, Lin-Hua Wu re Next Steps for Infinite
   7
                   following today's MarComm meeting
   8               (Houston Ex. 133)
                   Dropbox_0000000933
   9
          134      9/13/16 A. Sawyer email to J. Lyman cc: G.
 10                Sheehan, J. Hong, K. Watt re Infinite localization
 11                (Houston Ex. 134)
                   Dropbox_0000001080-0000001082
 12       135      9/26/16 P. Rowell email to S. Vashee cc: S.
 13                Charlton, C. Whitehead re Drew naming email draft
                   (Houston Ex. 135)
 14                Dropbox_0000001545-0000001548
 15       136      Undated memo to Drew from naming team with
                   attachments (Houston Ex. 136)
 16                Dropbox_0000001679-0000001681
 17       137      Intentionally left blank
          138      2/28/19 Kevin Jeffrey Watt Deposition Transcript p.
 18                29, 78 (Houston Ex. 138)
 19       139      3/06/19 Patrick Rowell Deposition Transcript p. 39,
                   96 (Houston Ex. 139)
 20       140      Intentionally left blank
 21       141      Intentionally left blank
          142      Intentionally left blank
 22
          143      1/17/17 N. Han email to K. Watts re New
 23                Comments on Supernova FAQ (Houston Ex. 143)
                   Dropbox_0000001877
 24
          144      11/19/18 Dropbox press release "Dropbox
 25                transforms teamwork with new products and
                   business plans - Dropbox" (Houston Ex. 144)
 26
                   Dropbox_0000000110-0000000115
 27       145      2/06/17 Dropbox Paper email to
 28                carolyn@dropbox.com re 1 update to "Supernova

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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
                   Board update" (Houston Ex. 145)
   3               Dropbox_0000001233-0000001253
   4      146      Dropbox Spreadsheet (Houston Ex. 146) 10 pages
          147      Dropbox Spreadsheet (Houston Ex. 147) 1 page
   5
          148      2/09/17 email from Dropbox Pager to
   6               carolyn@dropbox.com re Updates to "Supernova -
                   Board update" (Houston Ex. 148)
   7
                   Dropbox_0000001221-0000001232
   8      149      Intentionally left blank
   9      150      Federal Subpoena to Testify at a Deposition in a
                   Civil Action (Watt Ex. 1) 3 pages
 10       151      Plaintiff Ironhawk Technologies, Inc.'s Amended
 11                Notice of Deposition of Kevin Watt
                   (Watt Ex. 2) 3 pages
 12       152      Intentionally left blank
 13       153      Intentionally left blank
          154      Intentionally left blank
 14       155      Intentionally left blank
 15       156      Intentionally left blank
          157      Intentionally left blank
 16       158      Federal Subpoena to Testify at a Deposition in a
 17                Civil Action to CACI International, Inc.
                   (Testa-Indermill Ex. 1) 7 pages
 18
          159      5/08/18 D. Downs email to S. Indermill re MAC
 19                Opportunity (Testa-Indermill Ex. 2)
                   CACI000108-000109
 20
          160      4/27/17 S. Indermill email to D. Gomes re A
 21                Concern to be addressed (Testa-Indermill Ex. 3)
                   CACI-000001
 22
          161      4/27/17 D. Gomes email to S. Indermills re DRAFT
 23                Email to David Gomes (Testa-Indermill Ex. 4)
 24                CACI-000002
          162      2/21/19 D. Gomes email to J. Batt, S. Indermill cc:
 25                G. Rupinder re Ironhawk Follow Up
 26                (Testa Indermill Ex. 5)
                   CACI000103-000105
 27       163      Federal Subpoena to Testify at Deposition in a Civil
 28                Action to CACI International Inc.

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                                             JOINT EXHIBIT LIST
Case 2:18-cv-01481-DDP-JEM Document 186 Filed 09/16/19 Page 13 of 126 Page ID
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   (Testa Ex. 1 - Salesforce matter)
   3               IRONHAWK-D_000052027-000052033
   4      164      Federal Subpoena to Produce Documents,
                   Information or Objects or to Permit Inspection of
   5
                   Premises in a Civil Action
   6               (Testa Ex. 2 - Salesforce matter)
                   IRONHAWK-D_000052034-000052040
   7
          165      Ironhawk Technologies, Inc. v. Salesforce.com, Inc.     11
   8               USDC, Central District, Western Division               pages
                   Complaint for (1) Violation of the Lanham Act; and
   9
                   (2) California Unfair Competition, Case No. 2:17-
 10                cv-8277 (Peyton Ex. 2 & Testa Ex. 3 - Salesforce
                   matter)
 11
                   IRONHAWK-D_000052041-000052051
 12       166      Ironhawk - CACI Federal Group VAR Agreement
 13                (Testa Ex. 4 - Salesforce matter)
                   CACI-000352-000373/IRONHAWK-
 14                D_000052052-000052073
 15       167      CACI Teaming Agreement (Testa Ex. 5 - Salesforce
                   matter)
 16                CACI-000227-000234/IRONHAWK-
 17                D_000052074-000052081
          168      1/19/17 S. Indermill email to D. Gomes re Ironhawk
 18                Data Compression (Testa Ex. 6 - Salesforce matter)
 19                CACI-000597-000598/IRONHAWK-
                   D_000052082-000052083
 20       169      2/10/17 D. Gomes email to S. Indermill cc: R. Gill
 21                re FW: Non-Disclosure
                   (Testa Ex. 7 - Salesforce matter)
 22                CACI-000226/IRONHAWK-D_000052084
 23       170      2/14/17 S. Indermill email to D. Gomes re AFCEA-
                   W (Testa Ex. 8 - Salesforce matter)
 24                CACI-000518/IRONHAWK-D_000052085
 25       171      3/07/17 S. Indermill email to D. Gomes cc: T.
                   Crawford re AFCEA-West
 26                (Testa Ex. 9 - Salesforce matter)
 27                CACI-000223/IRONHAWK-D_000052086
          172      2/22/17 D. Gomes email to CDR Katy Boehme cc:
 28                S. Indermill re Ironhawk Follow Up from AFCEA
       1335281.2
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
                   West (Testa Ex. 10 - Salesforce matter)
   3               CACI-000394-000396/IRONHAWK-
   4               D_000052087-000052089
          173      3/19/17 D. Gomes email to P. Andre, D. Mirabal,
   5
                   W. Stash, R. Gill, S. Indermill re Ironhawk Demo
   6               Software (Testa Ex. 11 - Salesforce matter)
                   CACI-000392-000393/IRONHAWK-
   7
                   D_000052090-000052091
   8      174      4/19/17 D. Gomes email to S. Indermill re RFI
                   response (Testa Ex. 12 - Salesforce matter)
   9
                   CACI-000603/IRONHAWK-D_000052092
 10       175      4/25/17 S. Indermill email to D. Gomes re DCGSA
                   (Testa Ex. 13 - Salesforce matter)
 11
                   CACI-000592/IRONHAWK-D_000052093
 12       176      4/27/17 S. Indermill email to D. Gomes re A
 13                Concern to be addressed
                   (Testa-Indermill Ex. 3 and Testa Ex. 14-Salesforce
 14                matter) CACI-000517/IRONHAWK-D_000052094
 15       177      5/04/17 D.Gomes email to S. Indermill to FWD: re:
                   Sending Ubuntu Containers via SmartSync (Testa
 16                Ex. 15 - Salesforce matter) CACI-
 17                000387/IRONHAWK-D_000052095
          178      9/18/17 D. Gomes email to P. Andre cc R. Gill re
 18                TA and SSJ (Testa Ex. 16 - Salesforce matter)
 19                CACI-000102-000105/IRONHAWK-
                   D_000052096-000052099
 20       179      11/09/17 D. Gomes email to S. Indermill re Data
 21                Replication Report
                   (Testa Ex. 17 - Salesforce matter)
 22                CACI-000001-000029/IRONHAWK-
 23                D_000052100-000052116
          180      11/13/17 S. Indermill email to D. Gomes re Edits for
 24                POC's (Testa Ex. 18 - Salesforce matter)
 25                CACI-000383-000384/IRONHAWK-
                   D_000052117-000052118
 26       181      11/28/17 S. Indermill email to D. Gomes re Susan
 27                Any Ideas? (Testa Ex. 19 - Salesforce matter)
                   CACI-000377-000378/IRONHAWK-
 28                D_000052119-000052120
       1335281.2
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                                             JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                   Description of Exhibit               Identified   Admitted
         No.
   2
          182      intentionally left blank
   3      183      intentionally left blank
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          185      intentionally left blank
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          186      intentionally left blank
   6      187      intentionally left blank
   7      188      intentionally left blank
          189      intentionally left blank
   8      190      intentionally left blank
   9      191      intentionally left blank
          192      intentionally left blank
 10       193      intentionally left blank
 11       194      intentionally left blank
          195      intentionally left blank
 12       196      intentionally left blank
 13       197      intentionally left blank
          198      intentionally left blank
 14
          199      intentionally left blank
 15       200      Federal Subpoena to Produce Documents,
 16                Information, or Objects or to Permit Inspection of
                   Premises in a Civil Action to Bradley Hirou
 17                (B. Hirou Ex. 200) 6 pages
 18       201      3/18/19 Applied Control Concepts -Home Page,
                   About Us, Products, Services and Solutions,
 19                Website Screenshots (B. Hirou Ex. 201) 9 pages
 20       202      3/18/19 Printout of Bradley Hirou LinkedIn profile
                   (B. Hirou Ex. 202) 3 pages
 21       203      Ironhawk Stock Ownership Recap Post Split at
 22                6/30/2012 (B. Hirou Ex. 203)
                   IRONHAWK-D_000016461
 23       204      6/26/15 Calendar Invite re Ironhawk Internal
 24                Dropbox Pre Meeting (B. Hirou Ex. 204)
                   IRONHAWK-D_000045373
 25       205      6/24/15 J. Espinoza email to D. Gomes, M. Lippert
 26                cc: G. Stucker, R. Gill, B. Hirou re Dropbox,
                   Attaching Project IGNITE Dropbox 6.29.15
 27                Draft.pdf, Project IGNITE Reference Materials
 28                3.29.2015.pptx (B. Hirou Ex. 205)
       1335281.2
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                                             JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   IRONHAWK-D_000026172-000026194
   3      206      6/29/15 Calendar Invite re Dropbox Post Mortem
   4               (B. Hirou Ex. 206)
                   IRONHAWK-D_000045502
   5
          207      Ironhawk Technologies, Inc. Commercial Price List
   6               (B. Hirou Ex. 207, Gomes Ex. 239)
                   IRONHAWK-D_000050568-000050671
   7
          208      2/20/12 D. Gomes email to B. Hirou re Format
   8               Reminder (B. Hirou Ex. 208)
                   IRONHAWK-D_000013586
   9
          209      5/02/13 D. Gomes email to B. Hirou re Updated
 10                Hirou Action Items (B. Hirou Ex. 209)
 11                IRONHAWK-D_000016712
          210      7/17/14 C. Davis email to D. Stanley cc: D. Gomes,
 12                B. Hirou, R. Nussear, S. Lowe re SmarthSync
 13                Trademark Information for Submission
                   (B. Hirou Ex. 210, Gomes Ex. 291)
 14                IRONHAWK-D_000050943-000050944
 15       211      intentionally left blank
          212      intentionally left blank
 16       213      intentionally left blank
 17       214      intentionally left blank
          215      intentionally left blank
 18       216      intentionally left blank
 19       217      intentionally left blank
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 20                intentionally left blank
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 21       220      intentionally left blank
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 22
          222      intentionally left blank
 23       223      intentionally left blank
 24       224      intentionally left blank
          225      intentionally left blank
 25       226      intentionally left blank
 26       227      intentionally left blank
          228      intentionally left blank
 27       229      intentionally left blank
 28       230      3/13/19 Dropbox, Inc.'s Amended Rule 30(b)(6)
       1335281.2
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   Notice of Deposition of Ironhawk Technologies, Inc.
   3               (Gomes Ex. 230)
   4      231      3/18/19 printout of Ironhawk.com About Us pages
                   (Gomes Ex. 231)
   5
                   Dropbox_0000002956-0000002961
   6      232      3/19/18 Estimate Your Own Data Savings -
                   Ironhawk Technologies, Inc.
   7
                   (Gomes Ex. 232, Gill Ex. 232)
   8               Dropbox_0000002962
          233      3/19/19 printout from http://ironhawk.com/ (Gomes
   9
                   Ex. 233, Gill Ex. 233)
 10                Dropbox_0000002963
 11       234      3/18/19 printout from
                   http://ironhawk.com/smartsync-enterprise-software/
 12                (Gomes Ex. 234)
 13                Dropbox_0000002993-0000002996
          235      3/18/19 printout re SmartSync DCS Secure Data
 14                Replication Software for Challenged Networks -
 15                Ironhawk (Gomes Ex. 235)
                   Dropbox_0000002985-0000002992
 16       236      3/19/19 printout re http://ironhawk.com/ Designed
 17                for Challenged Networks (Gomes Ex. 236)
                   Dropbox_0000002964
 18       237      3/19/19 printout from http://ironhawk.com/ Secure
 19                Data Replication Software
                   (Gomes Ex. 237, Gill Ex. 237)
 20                Dropbox_0000002965
 21       238      Spreadsheet re SmartSync DCS Platform Server,
                   Platform Station and Platform Client License (Per
 22                User)(Gomes Ex. 238)
 23                IRONHAWK-D_000050564
          239      Intentionally left blank
 24       240      8/11/17 Product Pricing Report (GS-35F-0150T)
 25                (Gomes Ex. 240)
                   IRONHAWK-D_000050397-000050404
 26
          241      9/26/11 J. Anders email to R. Gill cc: D. Gomes, M.
 27                Pierrat, E. Thomas re FWD: Naming concepts
                   (Gomes Ex. 241)
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   IRONHAWK-D_000049490-000049493
   3      242      3/17/17 D. Gomes email to R. Gill re Catalog Ready
   4               to Edit, Attaching Ironhawk 2017 Price Catalog
                   (Gomes Ex. 242)
   5
                   IRONHAWK-D_000034865-000034892
   6      243      5/09/17 D. Gomes email to R. Gill re Use THIS
                   document for your edits, Attaching Product Catalog
   7
                   Mobile Additions v.2, Ironhawk 2017 Price Catalog
   8               (Gomes Ex. 243)
                   IRONHAWK-D_000035692-000035727
   9
          244      4/27/17 D. Gomes email to R. Gill re Which pricing
 10                sheet?, Attaching 2017 Ironhawk Price List
                   Changes-03-24.xlsx (Gomes Ex. 244)
 11
                   IRONHAWK-D_000035125-00035126 + 36 pages
 12       245      3/15/16 R. Gill email to D. Gomes re SmartSync
 13                Analysis (Gomes Ex. 245)
                   IRONHAWK-D_000031174-1-000031174-2
 14                IRONHAWK-D_000031174-000031175
 15       246      Ironhawk Technologies, Inc. RFI Response - DCGS-
                   N Inc. 2 (Gomes Ex. 246)
 16                IRONHAWK-D_000032109-000032130
 17       247      11/05/16 Ironhawk Awarded Contract to Become
                   Premium Supplier to International Business
 18                Machines (IBM) to Enhance the IBM MAAS360
 19                Enterprise Mo… (Gomes Ex. 247)
                    DROPBOX_0000002966-0000002967
 20       248      9/23/16 Ironhawk Awarded U.S. Army Aviation and
 21                Missile Command (AMCOM) Express Contract
                   (Gomes Ex. 248)
 22                DROPBOX_0000002968-0000002969
 23       249      11/04/16 Ironhawk Completes Testing of its
                   Smartsync Software for the United States Navy
 24                Trident Warrior 2016 (TW16) Naval Exercises
 25                (Gomes Ex. 249)
                   DROPBOX_0000002970-000002972
 26       250      9/12/17 Ironhawk Technologies and CACI
 27                International, Inc. have Completed a Value-Added
                   Reseller Agreement (VAR) for the Use of
 28                Ironhawk's SmarkSync Software
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   1     Exh.                                                           Date         Date
                                  Description of Exhibit              Identified   Admitted
         No.
   2
                   (Gomes Ex. 250)
   3               DROPBOX_0000002973-0000002974
   4      251      9/12/17 Ironhawk Technologies Awarded Contract
                   with United States Navy Littoral Combat Ships at
   5
                   Naval Surface Warfare Center, Port Hueneme
   6               California (Gomes Ex. 251)
                   DROPBOX_0000002975-0000002977
   7
          252      9/22/15 Ironhawk Technologies Awarded Contract
   8               with United States Navy (Gomes Ex. 252)
                   DROPBOX_0000002978-0000002979
   9
          253      9/29/14 Ironhawk Wins AMCOM Express Contract
 10                (Gomes Ex. 253) DROPBOX_0000002980
 11       254      9/30/16 Navy Awards Ironhawk Contract for
                   Littoral Combat Ships (Gomes Ex. 254)
 12                DROPBOX_0000002981-0000002982
 13       255      SmartSync HTTP InLine Delta Compression
                   Ironhawk Technologies, Inc. (Gomes Ex. 255)
 14                DROPBOX_0000002997-0000003000
 15       256      SmartSync Product Catalog-SmartSync DCS
                   Bandwidth Efficient Reliable Secure Da…
 16                (Gomes Ex. 256)
 17                DROPBOX_0000003001-0000003008
          257      SmartSync Product Calalog - Ironhawk
 18                Technologies, Inc. (Gomes Ex. 257)
 19                DROPBOX_0000003009-0000003012
                   July 2015 DRAFT Oppenheimer - Project Ignite -
 20       258      Reference Materials - Strategic Rationale
 21                (Gomes Ex. 258)
                   IRONHAWK-D_000049572-000049574
 22       259      SmartSync video (Gomes Ex. 259)
 23                DROPBOX_0000002984)
 24       260      Ironhawk Technologies, Inc., A09-081 (Army),
 25                Proposal Number A092-091-0315 Phase I Proposal
                   (Gomes Ex. 260)
 26                IRONHAWK-D_000011660-000011676
 27       261      6/28/12 Ironhawk SmartSync Differentiation
                   Assessment (Gill Ex. 370, Gomes Ex. 261)
 28
       1335281.2
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   IRONHAWK-D_000020673-000020677 same as
   3               IRONHAWK-D_000019789-000019793
   4      262      Mobile SDK Development Guide (Gomes Ex. 262)
                   DROPBOX_0000003021-0000003023
   5
          263      11/29/15 D. Gomes email to
   6               dpeyton@consutingdpc.com cc: R. Gill re DRAFT
                   Competitive Analysis, Attaching Data Distribution
   7
                   Frameworks-Comparison of Solutions
   8               (Gomes Ex. 263)
                   IRONHAWK-D_000029843-000029868
   9
          264      SmartSync Licensing Options for U.S. Navy Littoral
 10                Combat Ships (Gomes Ex. 264)
                   IRONHAWK-D_000031179-000031181
 11
          265      E-mail 1/12/09 from J. Gustafson to S. Spirrison
 12                (Gomes Ex. 265) IRONHAWK-D_000048166
          266      E-mail 1/13/09 from S. Mason to D. Gomes (Gomes
 13                Ex. 266) IRONHAWK-D_000010579-000010581
 14       267      SmartSync Pro - File Synchronization, Data Backup,
                   etc. (Gomes Ex. 267) DROPBOX_0000000296-
 15                0000000297
          268      CaseWare International Inc.'s Working Papers about
 16                the SmartSync Server (Gomes Ex. 268)
                   DROPBOX_0000002923-0000002924
 17                CaseWare SmartSync - Introduction (Gomes Ex.
          269
 18                269) DROPBOX_0000002925-0000002926
          270      HTC One M9 User Guide (Gomes Ex. 270)
 19                DROPBOX_0000002955
          271      Smart Sync, Easy Data Sync and Backup Between
 20                Your Computers (Gomes Ex. 271)
                   DROPBOX_0000003014-0000003020
 21
          272      SmartSync is one of the
 22                functions of the Scora software (Gomes Ex. 272)
                   DROPBOX_0000003024-0000003029
 23       273      SmartSYNC (Gomes Ex. 273)
                   DROPBOX_0000003033-0000003038
 24       274      Smart Sync, Sync up, and Sync down (Gomes Ex.
                   274) DROPBOX_0000003039-0000003040
 25
          275      Article: What is smart syncing? (Gomes Ex. 275)
 26                DROPBOX_0000002953-0000002954
          276      1/28/19 L. Brody letter to D. Ruck, Jr. at Design
 27                Data Systems, Inc. re Infringement of United States
 28                Registered Trademark No. 3,198,093
       1335281.2
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   1     Exh.                                                              Date         Date
                                   Description of Exhibit                Identified   Admitted
         No.
   2
                   SMARTSYNC (Gomes Ex. 276)
   3               IRONHAWK-D_000047277-000047278
   4      277      3/06/19 Osman.Lisa@dorsey.com email t L. Brody
                   cc: holt.jake@dorsey.com,
   5
                   valenzuela.ivone@dorsey.com re Design Data
   6               Systems, Inc./Ironhawk Trademark, Inc. -
                   SMARTSYNC DW Ref: M280913 response
   7
                   (Gomes Ex. 277)
   8               IRONHAWK-D_000050618-000050620
          278      11/07/17 P. Chennakesavan letter to 2BrightSparks
   9
                   Pte Ltd re Infringement of SMARTSYNC
 10                Trademark (Gomes Ex. 278)
                   IRONHAWK-D_000046522-000046523
 11
          279      11/08/17 P. Chennakesavan letter to Hill-Rom
 12                Services, Inc. re Infringement of SMARTSYNC
 13                Trademark (Gomes Ex. 279)
                   IRONHAWK-D_000046524-000046525
 14       280      2017-11-07 P. Chennakesavan letter to HTC
 15                America, Inc. re Infringement of SMARTSYNC
                   Trademark (Gomes Ex. 280)
 16                IRONHAWK-D_000046526-000046527
 17       281      Smart Sync on the Mac App Store screenshots
                   (Gomes Ex. 281) IRONHAWK-D_000047271-
 18                000047272
 19       282      1/28/19 L. Brody letter to Asus Computer
                   International, Inc. re Infringement of United State
 20                Registered Trademark No. 3,198,093
 21                SMARTSYNC (Gomes Ex. 282)
                   IRONHAWK-D_000047273-000047274
 22       283      1/28/19 L. Brody letter to Codelathe Technologies
 23                Inc. and 1/28/19 L. Brody letter to Patrick Harr of
                   Panzura, Inc. re Infringement of United State
 24                Registered Trademark No. 3,198,093
 25                SMARTSYNC (Gomes Ex. 283)
                   IRONHAWK-D_000047275-000047276,
 26                IRONHAWK-D_000047279-000047280
 27       284      2/15/19 Antonio Liu email to Lori Brody cc: Louise
                   Tsai re Infringement of United Stated Registered
 28                Trademark No. 3198093 SMART SYNC, ASUS
       1335281.2
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                                             JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   Response (Gomes Ex. 284)
   3               IRONHAWK-D_000047981-000047983
   4      285      3/06/19 T. Kawashima email to Antonio Liu cc: K.
                   Wesley, L. Brody, M. Venezia re Infringement of
   5
                   Trademark - SMARTSYNC, Attaching LSB Ltr to
   6               A. Liu, ASUStek.pdf (Gomes Ex. 285)
                   IRONHAWK-D_000050616-000050617
   7
          286      2/11/19 K. Brooks letter to L. Brody re US
   8               Registered Trademark No. 3,198,093
                   SMARTSYNC Panzura Response (Gomes Ex. 286)
   9
                   IRONHAWK-D_000047975
 10       287      2/12/19 A. Kanagaraj of Codelathe email to L.
                   Brody re Smartsync reference removed
 11
                   (Gomes Ex. 287)
 12                IRONHAWK-D_000047984-000047986
 13       288      SMARTSync Data Integration Platform (Gomes Ex.
                   288) DROPBOX_0000000922-0000000924
 14       289      7/16/14 D. Stanley email to bhirou@ironhawk.com,
 15                dgomes@ironhawk.com re FW DADMS entry for
                   Smartsync (Gomes Ex. 289)
 16                IRONHAWK-D_000047784-000047785
 17       290      7/16/14 D. Gomes email to R. Nussear G CIV
                   NSWC PHD, L24 cc: B. Hirou, D. Stanley re
 18                SmartSync Trademark Registration & 7/17/14 D.
 19                Stanley email to C. Davis CIV PHD NSWC, 210, S.
                   Lowe cc: D. Gomes, B. Hirou, R. Nussear re
 20                SmartSync Trademark Information for Submission
 21                (Gomes Ex. 290)
                   IRONHAWK-D_000050939 and IRONHAWK-
 22                D_000050942
 23       291      Intentionally left blank
 24       292      7/17/14 D. Gomes email to D. Stanley cc B. Hirou
 25                re SmartSync Trademark Information for
                   Submission, Attaching SmartSync-Tech-Overview
 26                (Gomes Ex. 292)
 27                IRONHAWK-D_000050945-000050956
          293      9/05/14 B. Hirou email to D. Stanley cc: D. Gomez,
 28                T. Beckert re NAVSEA Questions regarding
       1335281.2
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                                Date         Date
                                   Description of Exhibit                  Identified   Admitted
         No.
   2
                   SmartSync (Gomes Ex. 293, Gill Ex. 293)
   3               IRONHAWK-D_000048176-000048178
   4      294      6/29/15 M. Lippert email to D. Gomes cc: J.
                   Espinoza, G. Stucker re dropbox, Attaching Project
   5
                   IGNITE - Reference Materials 6.29.2015.pdf
   6               (Gomes Ex. 294)
                   IRONHAWK-D_000049579-000049598
   7
          295      4/20/17 D. Gomes email to rgill@ironhawk.com re
   8               Dropbox Smart Sync Makes It Easy to Access Files
                   - Google Drive (Gomes Ex. 295)
   9
                   IRONHAWK-D_000046231
 10       296      4/20/17 D. Gomes email to rgill@ironhawk.com re
                   Dropbox launches Smart Sync (formerly Project
 11
                   infinite) for business users / VentureBeat/ Apps / by
 12                Jordan Novet (Gomes Ex. 296)
 13                IRONHAWK-D_000046232
          297      E-mail 4/26/17 from D. Gomes to M. Foye; D.
 14                Stanley and others (Gomes Ex. 297, Stanley Ex. 27)
                   IRONHAWK-D_000035045-000035047
 15       298      E-mail 4/4/17 from D. Gomes (Gomes Ex. 298)
 16                IRONHAWK-D_000046216
          299      E-mail 4/5/17 from D. Gomes to R. Anderson
 17                (Gomes Ex. 299) IRONHAWK-D_000046218-
                   000046220
 18       300      Ironhawk Technologies Inc. Profit and Loss January
 19                2017 (Gomes Ex. 300)
                   IRONHAWK-D_000049033-000049034
 20       301      Ironhawk Technologies Inc. Profit and Loss
 21                February 2017 (Gomes Ex. 301)
                   IRONHAWK-D_000049035
 22       302      Ironhawk Technologies Inc. Profit and Loss March
 23                2017 (Gomes Ex. 302)
                   IRONHAWK-D_000049036
 24       303      Ironhawk Technologies Inc. Profit and Loss April
 25                2017 (Gomes Ex. 303)
                   IRONHAWK-D_000049037
 26       304      Ironhawk Technologies Inc. Profit and Loss May
 27                2017 (Gomes Ex. 304)
                   IRONHAWK-D_000049038
 28       305      Ironhawk Technologies Inc. Profit and Loss June
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                                             JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   2017 (Gomes Ex. 305)
   3               IRONHAWK-D_000049039
   4      306      Ironhawk Technologies Inc. Profit and Loss July
                   2017 (Gomes Ex. 306)
   5
                   IRONHAWK-D_000049040
   6      307      Ironhawk Technologies Inc. Profit and Loss August
                   2017 (Gomes Ex. 307)
   7
                   IRONHAWK-D_000049041
   8      308      Ironhawk Technologies Inc. Profit and Loss
                   September 2017 (Gomes Ex. 308)
   9
                   IRONHAWK-D_000049042
 10       309      Ironhawk Technologies Inc. Profit and Loss October
 11                2017 (Gomes Ex. 309)
                   IRONHAWK-D_000049043
 12       310      Ironhawk Technologies Inc. Profit and Loss
 13                November 2017 (Gomes Ex. 310)
                   IRONHAWK-D_000049044
 14       311      Ironhawk Technologies Inc. Profit and Loss
 15                December 2017 (Gomes Ex. 311)
                   IRONHAWK-D_000049045
 16       312      Ironhawk Technologies Inc. Profit and Loss January
 17                2018 (Gomes Ex. 312)
                   IRONHAWK-D_000049046
 18       313      Ironhawk Technologies Inc. Profit and Loss
 19                February 2018 (Gomes Ex. 313)
                   IRONHAWK-D_000049047
 20       314      Ironhawk Technologies Inc. Profit and Loss March
 21                2018 (Gomes Ex. 314)
                   IRONHAWK-D_000049048
 22       315      Ironhawk Technologies Inc. Profit and Loss April
 23                2018 (Gomes Ex. 315)
                   IRONHAWK-D_000049049
 24       316      Ironhawk Technologies Inc. Profit and Loss May
 25                2018 (Gomes Ex. 316)
                   IRONHAWK-D_000049050
 26
          317      Ironhawk Technologies Inc. Profit and Loss June
 27                2018 (Gomes Ex. 317)
                   IRONHAWK-D_000049051
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          318      Ironhawk Technologies Inc. Profit and Loss July
   3               2018 (Gomes Ex. 318)
   4               IRONHAWK-D_000049052
          319      Ironhawk Technologies Inc. Profit and Loss August
   5
                   2018 (Gomes Ex. 319)
   6               IRONHAWK-D_000049053
          320      Ironhawk Technologies Inc. Profit and Loss
   7
                   September 2018 (Gomes Ex. 320)
   8               IRONHAWK-D_000049054
          321      Ironhawk Technologies Inc. Profit and Loss October
   9
                   2018 (Gomes Ex. 321)
 10                IRONHAWK-D_000049055
 11       322      Ironhawk Technologies Inc. Profit and Loss
                   November 2018 (Gomes Ex. 322)
 12                IRONHAWK-D_000049056
 13       323      Ironhawk Technologies Inc. Profit and Loss
                   December 2018 (Gomes Ex. 323)
 14                IRONHAWK-D_000049057
 15       324      Ironhawk Technologies Inc. Profit and Loss January
                   through December 2009 (Gomes Ex. 324)
 16                IRONHAWK-D_000024920-000024924
 17       325      Ironhawk Technologies Inc. Profit and Loss January
                   through December 2014
 18                (Gomes Ex. 325, Wunderlich Ex. 456)
 19                IRONHAWK-D_000024917-000024919
          326      Ironhawk Technologies Inc. Profit and Loss January
 20                through December 2012 (Gomes Ex. 326)
 21                IRONHAWK-D_000024925-000024927
          327      Ironhawk Technologies Inc. Profit and Loss January
 22                through December 2010 (Gomes Ex. 327)
 23                IRONHAWK-D_000024912-000024915
          328      Ironhawk Technologies Inc. Profit and Loss January
 24                through December 2013 (Gomes Ex. 328)
 25                IRONHAWK-D_000024567-000024568
          329      Ironhawk Technologies Inc. Transaction List by
 26
                   Vendor (Gomes Ex. 329)
 27                IRONHAWK-D_000024220-000024562
          330      1/07/13 Ironhawk Invoice (Gomes Ex. 330)
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   IRONHAWK-D_000016162
   3      331      4/02/13 Ironhawk Invoice re CERDEC/RDECOM
   4               Data Compression Quotation (Gomes Ex. 331)
                   IRONHAWK-D_000016370-000016371
   5
          332      Ironhawk 2016 Year in Review (Gomes Ex. 332)
   6               IRONHAWK-D_000034537-000034540
          333      6/10/17 D. Gomes email to E. Lastition re FW:
   7
                   Ironhawk Technologies 2016 Year in Review
   8               (Gomes Ex. 333)
                   IRONHAWK-D_000046389-000046394
   9
          334      Ironhawk Technologies Inc. Profit and Loss January
 10                through December 2011 (Gomes Ex. 334)
 11                IRONHAWK-D_000024928-000024930
          335      1/07/13 Ironhawk Invoice (Gomes Ex. 335)
 12                IRONHAWK-D_000016384
 13       336      Sole Source Justification: Multimedia Presentation
                   development of Data Distribution Standards board
 14                RFP (Gomes Ex. 336)
 15                IRONHAWK-D_000022858-000022913
          337      Booz Allen Hamilton Subcontract with Ironhawk
 16                Technologies, Inc. (Gomes Ex. 337)
 17                IRONHAWK-D_000025374-000025496
          338      4/17/17 D. Gomes email to R. Anderson re
 18                Ironhawk OV and Pricing Input (Gomes Ex. 338)
 19                (IRONHAWKD000035006-000035010
          339      Ironhawk Technologies Master List of Contacts –
 20                Summary (Reported in dollars) (Gomes Ex. 339)
 21                IRONHAWK-D_000050449-000050452
          340      Ironhawk Technologies 2014-2015 Sales Pipeline
 22                Report – Total Bookings Analysis (Gomes Ex. 340)
 23                IRONHAWK-D_000021611 + 5 pages
          341      Ironhawk 2014 Sales Pipeline Report
 24                (Gomes Ex. 341)
 25                IRONHAWK-D_000022030 + 10 pages
          342      2016-2017 ($ USD) and Ironhawk Technologies
 26
                   2016 Forecast and Long Term Projections
 27                (Gomes Ex. 342)
                   IRONHAWK-D_000032872 + 2 pages
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          343      Ironhawk Technologies, Inc. 2017 Sales Projections
   3               (Gomes Ex. 343)
   4               IRONHAWK-D_000049495-000049499
          344      Ironhawk Technologies, Inc. 2017 Sales Projections
   5
                   (Gomes Ex. 344)
   6               IRONHAWK-D_000049505
          345      3/18/17 D. Gomes email to R. Gill re Important
   7
                   Pricing Edits, Attaching 2017 Ironhawk Price List
   8               Changes.xlsx (Gomes Ex. 345)
                   IRONHAWK-D_000046203-000046205 + 5 pages
   9
          346      5/16/17 D. Gomes email to D. Stanley re Updated
 10                Product Catalog, Attaching Ironhawk 2017 Price
                   Catalog_Mailing 8.5x11_Optimized.pdf
 11
                   (Gomes Ex. 346)
 12                IRONHAWK-D_000048181-000048215
 13       347      Ironhawk Technologies, Inc. (SIN 132-32)
                   Commercial Sales Practices Chart (Gomes Ex. 347)
 14                IRONHAWK-D_000025498-000025499
 15       348      4/26/17 D. Gomes email to D. Stanley re IP Case
                   Email (Gomes Ex. 348, Stanley Ex. 26)
 16                IRONHAWK-D_000035110
 17       349      4/26/17 D. Gomes email to
                   Dpeyton@consultingdpc.com re DRAFT Ghost
 18                Written Letter (Gomes Ex. 349, Peyton Ex. 477)
 19                IRONHAWK-D_00035111
          350      4/26/17 D. Gomes email to Susan Indermill re Draft
 20                Email to David Gomes (Gomes Ex. 350)
 21                IRONHAWK-D_000035112
          351      GSA Contract Number: GS-35F-0150T –
 22                Authorized Federal Supply Service Information
 23                Technology Schedule Catalog-Pricelist
                   (Gomes Ex. 351)
 24                IRONHAWK-D_000049089-000049127
 25       352      Ironhawk Technologies Price List (Gomes Ex. 352)
                   IRONHAWK-D_000049489 +3 pages
 26       353      Ironhawk Technologies, Inc. Profit and Loss
 27                October 2018 (Gomes Ex. 353)
                   IRONHAWK-D_000049055-000049057
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                                Date         Date
                                   Description of Exhibit                  Identified   Admitted
         No.
   2
          354      3/12/19 Antonio Liu responding email to T.
   3               Kawashima re Infringement of Trademark -
   4               SMARTSYNC (Gomes Ex. 354)
                   IRONHAWK-D_000050622
   5
          355      Ironhawk Technologies Inc. Profit and Loss January
   6               - December 2009
                   (Gomes Ex. 355 and Gomes Ex. 401)
   7
                   IRONHAWK-D_000050977-000050979
   8      356      Rupinder Singh Gill Resume (Gill Ex. 356)
                   IRONHAWK-D_000024002-000024003
   9
          357      5/18/17 R. Gill email to D. Peyton cc: D. Gomes re
 10                IOS SmartSync status (Gill Ex. 357)
                   IRONHAWK-D_000035879-000035914
 11
          358      10/23/15 R. Gill email chain to E. Otte, B. Hirou, D.
 12                Gomes, D. Stanley, B. Chan re Next steps
 13                (Gill Ex. 358)
                   IRONHAWK-D_000028791-000028798
 14       359      6/29/16 R. Gill email to D. Gomes cc: B. Hirou re
 15                SmartSync HTTP Reverse Proxy an SCA
                   description (Gill Ex. 359)
 16                IRONHAWK-D_000032720-000032722
 17       360      Document entitled, Current Naming -- GSA
                   schedule (Gill Ex. 360)
 18                IRONHAWK-D_000049491-000049493
 19       361      3/19/19 Printout from www. Smartsync.com re
                   SmartSync Pro - Free File Synchronization, Backup,
 20                Data Replication, PC Sync Software, Freeware, File
 21                Sync, Data Synchronization Software
                   (Gill Ex. 361) 1 page
 22       362      7/02/15 D. Gomes email to R. Gill re Dropbox
 23                Follow-Up (Gill Ex. 362)
                   IRONHAWK-D_000045528-000045530
 24       363      E-mail 4/26/17 from D. Gomes to R. Gill (Gill Ex.
 25                363) IRONHAWK-D_000035113-000035114
          364      E-mail 4/26/17 from D. Gomes to R. Gill (Gill Ex.
 26                364) IRONHAWK-D_000035119-000035120
 27       365      E-mail 4/26/17 from D. Gomes to R. Gill (Gill Ex.
                   365) IRONHAWK-D_000035117-000035118
 28       366      4/02/13 Ironhawk document entitled,
       1335281.2
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                                             JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   CERDEC/RDECOM Data Compression Quotation
   3               (Gill Ex. 366)
   4               IRONHAWK-D_000016637-000016638
          367      6/17/14 Ironhawk document entitled,
   5
                   CERDEC/RDECOM Data Compression Quotation
   6               (Gill Ex. 367, Gomes Ex. 397)
                   IRONHAWK-D_000024115-000024124
   7
          368      12/09/13 Ironhawk Technologies, Inc. Invoice to
   8               Lockhead Martin Mission Systems and Train
                   (Gill Ex. 368)
   9
                   IRONHAWK-D_000019914
 10       369      2/04/17 D. Gomes email to R. Gill attaching
                   SmartSync Brochure.pdf
 11
                   (Gill Ex. 369 and Gomes Ex. 373)
 12                IRONHAWK-D_000034551-000034556
 13       370      6/28/12 Ironhawk SmartSync Differentiation
                   Assessment (Gill Ex. 370, Gomes Ex. 261)
 14                IRONHAWK-D_000019789-000019793
 15       371      Ironhawk Technologies Inc. Profit and Loss January
                   - December 2010 (Gomes Ex. 371)
 16                IRONHAWK-D_000050980-000050981
 17       372      Ironhawk Technologies Inc. Profit and Loss January
                   - December 2011 (Gomes Ex. 372)
 18                IRONHAWK-D_000050982-000050983
 19       373      Intentionally left blank
          374      3/26/12 D. Gomes email to B. Hirou re FW: New
 20                Ironhawk SmartSync DCS PlatformT Web Plug-In
 21                Demonstration (Gomes Ex. 374)
                   IRONHAWK-D_000043129-000043131
 22       375      SmartSync Starter PC, MAC, Phone and Table
                   synchronisation (Gomes Ex. 375)
 23                DROPBOX_0000000914-0000000920
 24       376      Printout from Thru OptiBAND website (Gomes Ex.
                   376)
 25       377      Printout from OptiBAND Overview (Gomes Ex.
                   377)
 26       378      Printout from Resilio Sync Home website (Gomes
                   Ex. 378)
 27       379      Printout from ExaGrid website (Gomes Ex. 379)
          380      Printout from BitSpeed website (Gomes Ex. 380)
 28       381      Printout from Breakthrough Technologies website
       1335281.2
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   (Gomes Ex. 381)
   3      382      Printout from JScape website (Gomes Ex. 382)
   4      383      Printout from Sync.com website (Gomes Ex. 383)
          384      Printout from Juniper Networks website (Gomes Ex.
   5               384)
          385      Printout from Salesforce website (Gomes Ex. 385)
   6      386      4/08/19 printout of Ironhawk Technologies, Inc.
   7               Menu (Gomes Ex. 386) 3 pages
          387      9/24/10 SmartSync - Market Segmentation Jerry's
   8               Presentation Criteria, and responses
   9               (Gomes Ex. 387)
                   IRONHAWK-D_000041796-000041820
 10       388      4/21/11 M. Pierrat email to G. Rupinder, E.
 11                Nazarian, E. Thomas re our competitors by category
                   (Gomes Ex. 388)
 12                IRONHAWK-D_000046461-00046462 + 1 page
 13       389      11/06/16 D. Gomes email to various bcc's re
                   Ironhawk Technologies Press Release - IBM
 14
                   Premium Supplier Partnership, Attaching IBM Press
 15                Release - IBM Supplier Partnership
                   (Gomes Ex. 389)
 16
                   IRONHAWK-D_000033809-000033817
 17       390      11/06/16 D. Gomes email to various bcc's re
                   Ironhawk Technologies Press Release - IBM
 18
                   Premium Supplier Partnership, Attaching IBM Press
 19                Release - IBM Supplier Partnership
                   (Gomes Ex. 390)
 20
                   IRONHAWK-D_000047841-000047848
 21       391      11/06/16 D. Gomes email to various bcc's re
 22                Ironhawk Technologies Press Release - Ironhawk
                   Test Completion for Trident Warrior 2016 Naval
 23                Exercise, Attaching Trident Warrior Naval Exercise
 24                2016.pdf (Gomes Ex. 391)
                   IRONHAWK-D_000047860-000047868
 25       392      11/06/16 D. Gomes email to various bcc's re
 26                Ironhawk Technologies Press Release - Ironhawk
                   Test Completion for Trident Warrior 2016 Naval
 27                Exercise, Attaching Trident Warrior Naval Exercise
 28                2016.pdf (Gomes Ex. 392)

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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   IRONHAWK-D_000033823-000033828
   3      393      11/06/16 D. Gomes email to various bcc's re
   4               Ironhawk Technologies Press Release - Ironhawk
                   Test Completion for Trident Warrior 2016 Naval
   5
                   Exercise, Attaching Trident Warrior Naval Exercise
   6               2016.pdf (Gomes Ex. 393)
                   IRONHAWK-D_000047869-000047879
   7
          394      11/06/16 D. Gomes email to various bcc's re
   8               Ironhawk Technologies Press Release - Ironhawk
                   Test Completion for Trident Warrior 2016 Naval
   9
                   Exercise, Attaching Trident Warrior Naval Exercise
 10                2016.pdf (Gomes Ex. 394)
                   IRONHAWK-D_000047849-000047859
 11
          395      3/19/19 David Gomes profile on Ironhawk
 12                Technologies, Inc. website (Gomes Ex. 395)
 13                DROPBOX_0000003013
          396      1/12/09 Seth Spirrison email to janders@idc-
 14                global.com, D. Gomes, bbengston@idc-global.com
 15                re SmartSyncR first used… (Gomes Ex. 396)
                   IRONHAWK-D_000048164-000048165
 16       397      Intentionally left blank
 17       398      Ironhawk document entitled, SmartSync Software
                   Meets the Data and Bandwidth Challenges of loT
 18                and Cloud Use Cases (Gomes Ex. 398)
 19                IRONHAWK-D_000050406
          399      Ironhawk document entitled, SmartSync is a full
 20                enterprise solution that reduced your overall
 21                enterprise bandwidth… (Gomes Ex. 399)
                   IRONHAWK-D_000050407
 22       400      IDC Ratios Draft document (Gomes Ex. 400)
 23                IRONHAWK-D_000000051 + 19 pages
          401      Intentionally left blank
 24       402      Ironhawk Technologies Inc. Profit and Loss January
 25                - December 2012 (Gomes Ex. 402)
                   IRONHAWK-D_000050984-000050985
 26
          403      Ironhawk Technologies Inc. Profit and Loss January
 27                - December 2013 (Gomes Ex. 403)
                   IRONHAWK-D_000050986-000050987
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   Ironhawk Technologies Inc. Profit and Loss January
   3      404      - December 2014
   4               (Gomes Ex. 404, Wunderlich Ex. 455)
                   IRONHAWK-D_000050988-000050989
   5
          405      Ironhawk Technologies Inc. Profit and Loss January
   6               - December 2015 (Gomes Ex. 405)
                   IRONHAWK-D_000050990-000050991
   7
          406      Ironhawk Technologies Inc. Profit and Loss January
   8               - December 2016 (Gomes Ex. 406)
                   IRONHAWK-D_000050992-000050993
   9
          407      Ironhawk Technologies Inc. Profit and Loss January
 10                - December 2017 (Gomes Ex. 407)
                   IRONHAWK-D_000050994-000050995
 11
          408      Ironhawk Technologies Inc. Profit and Loss January
 12                - December 2018 (Gomes Ex. 408)
 13                IRONHAWK-D_000050996-000050997
          409      Ironhawk Technologies Inc. Profit and Loss January
 14                - April 4, 2019 (Gomes Ex. 409)
 15                IRONHAWK-D_000051910
          410      Ironhawk Technologies Inc. Profit and Loss January
 16                2019 (Gomes Ex. 410)
 17                IRONHAWK-D_000051907-000051909
                   Document entitled, Ironhawk Technologies 2014-
 18       411      2015 Sales Pipeline Report - Total Bookings
 19                Analysis (Gomes Ex. 411)
                   IRONHAWK-D_000021627 + 10 pages
 20                Integrated Data Corporation spreadsheets
 21       412      (Gomes Ex. 412)
                   IRONHAWK-D_000002727 + 25 pages
 22       413      Ironhawk Technologies SmartSync DCS Platform
 23                (Gomes Ex. 413)
                   IRONHAWK-D_000030939-00030340
 24       414      Ironhawk Technologies Delivering Decision Critical
 25                Data (Gomes Ex. 414)
                   IRONHAWK-D_000030945
 26
          415      SmartSync Focus Group (Gomes Ex. 415)
 27                IRONHAWK-D_000041749-000041764
          416      IDC Stock Ownership Recap at 3/29/2007
 28
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   Spreadsheets (Gomes Ex. 416)
   3               IRONHAWK-D_000001246 + 3 pages
   4      417      Ironhawk Stock Ownership Recap Post Split at
                   6/30/2012 (Gomes Ex. 417)
   5
                   IRONHAWK-D_000016612
   6      418      7/26/13 D. Gomes email to D. Hirou, rwb@acc-
                   sd.com re Advisory Board Update (Gomes Ex. 418)
   7
                   IRONHAWK-D_000017208-000017219
   8      419      10/03/13 D. Gomes email to Rfbuzzard1@aol.com,
                   A. Bloomer, lylebien@earthlink.net, T. Hobbins,
   9
                   Terry and Linda Theodore cc: J. Anders, R. Gill, G.
 10                Hirou, J. Gavenman re Ironhawk Update
                   (Gomes Ex. 419)
 11
                   IRONHAWK-D_000018077-000018081
 12       420      12/09/09 D. Gomes email to Mr. and Mrs D. Ross
 13                Jimmy, Mr. and Mrs. Fogleman Ron,
                   tom.hobbins@comcast.net, Admiral Blen, Terry and
 14                Linda Theodore, Art Bloomer cc: all,
 15                Steven@alchemygroup.net re Ironhawk Testing with
                   National Security Agency (Gomes Ex. 420)
 16                IRONHAWK-D_000041558-000041559
 17       421      IDC Ratios Draft document (Gomes Ex. 421)
                   IRONHAWK-D_000000051 + 17 pages
 18       422      Integrated Data Corporation Profits & Loss
 19                (Gomes Ex. 422)
                   IRONHAWK-D_000000256 + 4 pages
 20       423      Integrated Data Corporation spreadsheets
 21                (Gomes Ex. 423)
                   IRONHAWK-D_000001357-000001359,
 22                000001343-000001364, 000001352-000001356,
 23                000001365-000001369, 000001417-000001421,
                   000016626-000016627, 000051037-000051038,
 24                000020981-000020982
 25                Integrated Data Corporation spreadsheet
          424      (Gomes Ex. 424)
 26                IRONHAWK-D_000000081 + 1 page
 27                Integrated Data Corporation spreadsheet
          425      (Gomes Ex. 425)
 28                IRONHAWK-D_000000083 + 1 page
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                                            JOINT EXHIBIT LIST
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          426      Spreadsheet re Market Opportunities - Software
   3               Only (Gomes Ex. 426)
   4               IRONHAWK-D_000000052 + 1 page
          427      IDC Spreadsheet (Gomes Ex. 427)
   5
                   IRONHAWK-D_000051020 + 1 page
   6               Ironhawk 2015 Sales Pipeline Report
          428      (Gomes Ex. 428)
   7
                   IRONHAWK-D_000051123 + 2 pages
   8      429      6/02/19 Daniel M. Cislo, Esq. website profile on
                   https://cisloandthomas.com (Cislo Ex. 429) 7 pages
   9
                   5/10/19 Expert Declaration and Report of Expert
 10       430      Declaration and Report of Daniel M. Cislo
 11                (Cislo Ex. 430) 106 pages
                   6/02/19 Mark Information re Ironhawk
 12       431      Technologies, Inc.'s Smartsync
 13                (Cislo Ex. 431) 154 pages
          432      Intentionally left blank
 14
 15       433      About INTA Fact Sheets Selecting and Registering
                   Trademark (Cislo Ex. 433) 3 pages
 16       434      6/02/19 Tldr Definition at Dictionary.com
 17                (Cislo Ex. 434) 3 pages
          435      6/02/19 Tl;dr Definition of TI;dr by Merriam-
 18                Webster (Cislo Ex. 435) 9 pages
 19       436      Exhibit B to Stricchiola's Expert Report
                   (Stricchiola Ex. 436) 2 pages
 20       437      Stricchiola's Expert Report
 21                (Stricchiola Ex. 437) 13 pages
          438      Exhibit E to Stricchiola's Expert Report
 22                (Strocchiola Ex. 438) 3 pages
 23       439      Google Search Results for site:Dropbox.com
                   "smartsync" (Strocchiola Ex. 439) 3 pages
 24
          440      Two Screenshots of YouTube searches
 25                (Strocchiola Ex. 440) 2 pages
 26       441      Exhibit F to Stricchiola's Expert Report
                   (Strocchiola Ex 441) 1 page
 27       442      Exhibit G to Stricchiola's Expert Report
 28                (Strocchiola Ex. 442) 1 page

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          443      Exhibit I to Stricchiola's Expert Report
   3               (Strocchiola Ex. 443) 1 page
   4      444      Exhibit J to Stricchiola's Expert Report
                   (Strocchiola Ex. 444) 1 page
   5
          445      Exhibit K to Stricchiola's Expert Report
   6               (Strocchiola Ex. 445) 1 page
          446      Article entitled, "How Search Algorithm Work",
   7
                   printed 6/03/19 (Strocchiola Ex. 446) 3 pages
   8      447      5/31/19 Expert Report of Dr. Michael Kamins
   9               Rebuttal to the Expert Reports of Dr. Poret and Dr.
                   Pham (Kamins Ex. 447) 54 pages
 10       448      6/01/19 Dr. Michael A. Kamin's letter to Matt
 11                Venezia re Billing for services (Kamins Ex. 448)
                   2 pages
 12       449      May 2019 Expert Report of Hal Poret in the Matter
 13                of Ironhawk Technologies, Inc. v Dropbox, Inc. -
                   Survey to Assess Whether Dropbox's Use of the
 14                Term Smart Sync Creates a Likelihood of Confusion
 15                with Respect to Ironhawk and It's Smartsync
                   Products
 16                (Kamin Ex. 449) 148 pages
 17       450      5/10/19 Expert Report of Professor (Michel) Tuan
                   Pham, Ph.D. (Kamins Ex. 450)
 18                45 pages
 19       451      Expert Report of Robert Wunderlich: Analysis of
                   Economic Damages (Wunderlich Ex. 451) 52 pages
 20       452      Exhibit 10.1 Service Mark License Agreement
 21                (Wunderlich Ex. 452) 31 pages
          453      Exhibit 10.9 Software License Agreement
 22                (Wunderlich Ex. 453) 31 pages
 23       454      United Online, Inc. Form 10-K, 6/10/19 printout
                   (Wunderlich Ex. 454) 17 pages
 24
          455      Intentionally left blank
 25       456      Intentionally left blank
          457      Asset Purchase Agreement by and Between
 26
                   Interplay Entertainment Corp. and Bethesda
 27                Softworks, LLC (Wunderlich Ex. 457) 21 pages
 28       458      Ironhawk Annual Profit & Loss

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   1     Exh.                                                              Date         Date
                                   Description of Exhibit                Identified   Admitted
         No.
   2
                   (Wunderlich Ex. 458) 3 pages
   3      459      Discovery Economics Invoice dated February 6,
   4               2019 (Wunderlich Ex. 459) 2 pages
          460      Discovery Economics Invoice dated May 20, 2019
   5
                   (Wunderlich Ex. 460) 3 pages
   6      461      Robert W. Wunderlich, Ph.D CV 11 pages
          462      Intentionally left blank
   7
          463      Intentionally left blank
   8      464      Intentionally left blank
   9      465      Intentionally left blank
          466      Intentionally left blank
 10       467      Intentionally left blank
 11       468      Intentionally left blank
          469      Intentionally left blank
 12       470      Intentionally left blank
 13       471      Intentionally left blank
          472      Intentionally left blank
 14                Intentionally left blank
          473
 15       474      Intentionally left blank
          475      Federal Subpoena to Testify at a Deposition in a
 16
                   Civil Action to International Business Machines
 17                Corporation (Peyton Ex. 475) 7 pages
 18                Aspera on Cloud - Overview IBM
          476      (Peyton Ex. 476) 4 pages
 19                4/26/17 D. Gomes email to
 20       477      Dpeyton@consultingdpc.com re DRAFT Ghost
                   Written Letter (Peyton Ex. 477)
 21                IRONHAWK-D_000035111
 22       478      4/27/17 D. Peyton email to D. Gomes cc: J. Welch
                   re IBM & Ironhawk Smartsync - Dropbox &
 23                Salesforce products (Peyton Ex. 478)
 24                IRONHAWK-D_000035123-000035124
                   Federal Subpoena to Testify at a Deposition in a
 25       479      Civil Action to David B. Peyton
 26                (Peyton Ex. 1 - Salesforce matter)
                   IRONHAWK-D_000052121-000052125
 27       480      Ironhawk Technologies, Inc. v. Salesforce.com, Inc.
 28                USDC, Central District, Western Division
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   Complaint for (1) Violation of the Lanham Act; and
   3               (2) California Unfair Competition, Case No. 2:17-
   4               cv-8277 (Peyton Ex. 2 & Testa Ex. 3 - Salesforce
                   matter) IRONHAWK-D_000052126-000052136
   5
                   4/24/17 D. Peyton email to D. Gomes cc: J. Welch
   6      481      re IBM & Ironhawk Smartsync - Dropbox &
                   Salesforce products
   7
                   (Peyton Ex. 3 Salesforce matter)
   8               IRONHAWK000017577-000017578 /
                   IRONHAWK-D_000052137-000052138
   9
                   4/26/17 D. Gomes email to
 10                Dpeyton@consultingdpc.com re DRAFT Ghost
          482      Written Letter
 11
                   (Peyton Ex. 4 - Salesforce matter)
 12                IRONHAWK000040008 /
                   IRONHAWK-D_000052139
 13
                   IBM Cloud, Object Storage - Panzura and IBM
 14       483      Partner to Manage Unstructured Data in the Cloud
 15                (Peyton Ex. 5 - Salesforce matter)
                   IRONHAWK-D_000052140
 16                Panzura Announces Next-Generation SMART Sync
 17                Technology (Peyton Ex. 6 - Salesforce matter)
          484      IRONHAWK-D_000052141
 18                SMB Group - The Next-Generation Virtual Desktop
 19                Businesses (Peyton Ex. 7 - Salesforce matter)
          485      IRONHAWK-D_000052142-000052155
 20       486      Intentionally left blank
 21       487      Intentionally left blank
          488      Intentionally left blank
 22       489      Intentionally left blank
 23       490      Intentionally left blank
          491      Intentionally left blank
 24
          492      Intentionally left blank
 25       493      Intentionally left blank
          494      Intentionally left blank
 26
          495      Intentionally left blank
 27       496      Intentionally left blank
 28       497      Intentionally left blank

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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
          498      Intentionally left blank
   3      499      Intentionally left blank
   4      500      Intentionally left blank
          501      Intentionally left blank
   5
          502      Intentionally left blank
   6      503      Intentionally left blank
   7      504      Intentionally left blank
          505      Intentionally left blank
   8      506      Intentionally left blank
   9      507      Intentionally left blank
          508      Intentionally left blank
 10       509      2019-02-15 Asus Response to LS Brody (Gomes Ex.
 11                284) - CEASE AND DESIST LETTERS
                   IRONHAWK-D_000047982-000047983
 12       510      2019-03-06 Dorsey Response to LS Brody (Gomes
 13                Ex. 277) - CEASE AND DESIST LETTERS
                   IRONHAWK-D_000050619-000050620
 14       511      Intentionally left blank
 15       512      Intentionally left blank
          513      2019-04-12 LS Brody letter to CaseWare Int'l, Inc. -
 16
                   CEASE AND DESIST LETTERS
 17                IRONHAWK-D_000052025-000052026
          514      2019-04-25 Caseware email Response to LS Brody -
 18
                   CEASE AND DESIST LETTERS
 19                IRONHAWK-D_000052023
 20       515      4/08/14 D. Gomes email to D. Stanley re LSCSCD
                   Phase I Document Submission from Ironhawk
 21                Technologies (Stanley Ex. 1)
 22                IRONHAWK-D_000019760-000019761
          516      4/08/14 D. Gomes email to B. Meadows cc: B.
 23                Hirou, J. Anders, R. Gill re LSC SCD Phase I
 24                Document Submission from Ironhawk Technologies
                   (Stanley Ex. 2)
 25                IRONHAWK-D_000019799-000019800
 26       517      4/19/17 D. Gomes email to D. Stanley cc: R. Gill re
                   DADMS Justification Written by NSWC PHD
 27                (Stanley Ex. 3)
 28                IRONHAWK-D_000035032-000035033

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          518      4/18/17 D. Stanley email to D. Gomes, R. Gill re
   3               Doug Edits (Blue) (Stanley Ex. 4)
   4               IRONHAWK-D_000035016-000035017
          519      5/07/14 B. Hirou email to D. Gomes re FWD: FYI -
   5
                   Ironhawk (Stanley Ex. 5)
   6               IRONHAWK-D_000020256
          520      6/09/14 D. Gomes email to D. Stanley cc: B. Hirou
   7
                   re Competitive Studies and attachments (Stanley Ex.
   8               6) IRONHAWK-D_000020649-000020728
          521      7/09/14 D. Stanley REDACTED email re LCS
   9
                   ADSSS/SmartSync/ARMS Meeting Notes
 10                (Stanley Ex. 7) 1 page
 11       522      8/11/14 Outlook REDACTED email re Ironhawk
                   DADMS Entry (Stanley Ex. 8) 1 page
 12       523      6/11/15 REDACTED email re Phonecon to Discuss
 13                ADSSS on LCS with Ironhawk (Stanley Ex. 9) 2
                   pages
 14       524      9/21/15 Outlook email to D. Stanley re LCS
 15                Ironhawk Meeting Notes (Stanley Ex. 10) 1 page
          525      10/13/15 R. Gill REDACTED email to
 16                doug@benjakate.com re ARMS discussion
 17                (Stanley Ex. 11) 2 pages
          526      4/29/16 D. Stanley REDACTED email re TW16
 18                Test (Stanley Ex. 12) 1 page
 19       527      7/12/16 Outlook email to D. Stanley cc:
                   doug@benjakate.com re Ironhawk Next Steps
 20                (Stanley Ex. 13) 1 page
 21       528      1/18/17 D. Stanley REDACTED email re Vendor
                   Presentation (Stanley Ex. 14) 1 page
 22       529      1/25/17 REDACTED email to D. Stanley re Vendor
 23                Presentation (Stanley Ex. 15) 2 pages
          530      4/17/17 D. Stanley email to D. Gomes re Another
 24
                   CANES/SPAWAR Contract
 25                (Stanley Ex. 16) 1 page
          531      4/21/17 D. Stanley email to D. Gomes re Bryan
 26
                   transition (Stanley Ex. 17) 1 page
 27       532      5/04/17 R. Gill email to doug@benjakate.com cc: D.
                   Stanley, D. Gomes re Actions and Notes
 28
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   (Stanley Ex. 18) 1 page
   3      533      10/09/14 D. Stanley email to D. Gomes re
   4               DADAMS Matter (Stanley Ex. 19)
                   IRONHAWK-D_000021717-000021718
   5
          534      4/15/15 D. Gomes email to
   6               marcos.gonzalez@navy.mil cc: D. Stanley re FW:
                   SmartSync DADMS Justification
   7
                   (Stanley Ex. 20)
   8               IRONHAWK-D_000025267-000025271
          535      6/24/15 D. Gomes email to D. Stanley re FWD: RE:
   9
                   Dropbox (Stanley Ex. 21)
 10                IRONHAWK-D_000026202-000026204
 11       536      8/06/13 Ironhawk Independent Sales Agent
                   Agreement (Stanley Ex. 22) 12 pages
 12       537      6/01/14 D. Gomes letter to D. Stanley re documents
 13                associated with the stock options
                   (Stanley Ex. 23) 1 page
 14       538      2007 Equity Plan - Notice of Stock Option Grant
 15                (Stanley Ex. 24) 17 pages
          539      4/26/17 D. Stanley email to D. Gomes cc:
 16                doug@benjakate.com re SmarSync confusion
 17                (Stanley Ex. 25) 1 page
          540      Intentionally left blank
 18       541      4/26/17 D. Gomes email to M. Foye, M. Jungling,
 19                M. Rambo, K. Shah, C. Suggs, T. Nguyen, D.
                   Stanley, doug@benjakate.com, R. Gill re [Non-DoD
 20                Source] re: Market Research: Ironhawk (Gomes Ex.
 21                297, Stanley Ex. 27)
                   IRONHAWK-D_000035045-000035047
 22       542      Intentionally left blank
 23       543      6/17/19 Declaration of David Gomes ISO Ironhawk
                   Motion for Partial Summary Judgment 8 pages
 24
          544      Dropbox Printout (Exh. E to Venezia Decl. ISO
 25                Ironhawk’s Motion for Partial Summary Judgment)
          545      Dropbox Printout re Break free from your hard drive
 26
                   (Exh. F to Venezia Decl. ISO Ironhawk’s Motion for
 27                Partial Summary Judgment)
          546      Dropbox Printout re Choose the Dropbox that’s right
 28
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   for you (Exh. G to Venezia Decl. ISO Ironhawk’s
   3               Motion for Partial Summary Judgment)
   4      547      Defendant Dropbox’s 2nd Amended Responses and
                   Objections to Ironhawk’s 1st Set of Interrogatories
   5
          548      SmartSync Promotional Hat IRONHAWK-
   6               D_000052156
          549      SmartSync Promotional Item IRONHAWK-
   7
                   D_000052157
   8      550      SmartSync Promotional Item IRONHAWK-
   9               D_000052158
          551      June 29, 2015 e-mail from Gregory Stucker to Brad
 10                Lightcap among others
 11                (OPCO 0206-0237)
          552      July 7, 2015 e-mail from Michael Lippert to Brad
 12                Lightcap among others
 13                (OPCO 0701-0711)
          553      Sheehan Ex. 61 Metadata (Ex. T to Venezia Decl.
 14                ISO Ironhawk’s Opposition to Dropbox’s MSJ)
 15       554      Smart Sync Google Search Results (Ex. U to
                   Venezia Decl. ISO Ironhawk’s Opposition to
 16                Dropbox’s MSJ)
 17       555      Smartsync Google Search Results (Ex. V to Venezia
                   Decl. ISO Ironhawk’s Opposition to Dropbox’s
 18                MSJ)
 19       556      Smartsync - Dropbox Google Search Results (Ex. W
                   to Venezia Decl. ISO Ironhawk’s Opposition to
 20                Dropbox’s MSJ)
 21       557      Dropbox GSA Search (Ex. X to Venezia Decl. ISO
                   Ironhawk’s Opposition to Dropbox’s MSJ)
 22       558      Letters re Infringement of SMARTSYNC
 23                Trademark:
                   11/07/17 letter to 2BrightSparks Pte Ltd.,
 24
                   IRONHAWK-D000046522-000046523,
 25                11/07/17 letter to HTC America, Inc. IRONHAWK-
                   D_000046526-000046527,
 26
                   1/28/19 letter to Dennis H. Ruck, Jr., IRONHAWK-
 27                D_000047277-000047278,
                   1/28/19 letter to Patrick Harr, IRONHAWK-
 28
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   1     Exh.                                                                Date         Date
                                   Description of Exhibit                  Identified   Admitted
         No.
   2
                   D_000047279-000047280,
   3               2/11/19 letter from Panzura, IRONHAWK-
   4               D_000047975, and
                   3/06/19 letter from Dorsey, IRONHAWK-
   5               D_000050619-000050620 (Ex. Z to Venezia Decl.
   6               ISO Ironhawk’s Opposition to Dropbox’s MSJ)
          559      Dropbox Spreadsheets
   7
                   DROPBOX_0000002891.xlsx
   8      560      Intentionally left blank
          561      Intentionally left blank
   9
          562      Intentionally left blank
 10       563      Intentionally left blank
 11       564      12/05/18 Defendant Dropbox, Inc.'s Responses and
                   Objections to Plaintiff Ironhawk Technologies, Inc.'s
 12                First Set of Requests for Production of Documents
 13                and Things to Defendant Dropbox, Inc. 21 pages
          565      2/14/19 Dropbox's Responses and Objections to
 14                Ironhawk's First Set of Interrogatories 11 pages
 15       566      3/14/19 Dropbox, Inc.'s Amended Responses and
                   Objections to Plaintiff Ironhawk Technologies, Inc.'s
 16                First Set of Interrogatories to Defendant Dropbox,
 17                Inc. 11 pages
          567      3/25/19 Dropbox's Second Amended Responses and
 18                Objections to Ironhawk's First Set of Interrogatories
 19                (Ex. H to MSJ)
          568      E-mail 6/21/17 from D. Gomes to M. Coelho,
 20                IRONHAWK000041973-000041974
 21       569      E-mail 7/19/17 from D. Gomes to M. Henry,
                   IRONHAWK000042158-000042159
 22       570      Ironhawk Technologies, Inc. Balance Sheet as of
 23                June 30, 2017, IRONHAWK000042160-000042162
          571      Ironhawk Technologies, Inc. SmartSync Proposal
 24
                   7/16/17 for GE Oil & Gas,
 25                IRONHAWK000042163-000042167
          572      IDC Executive Summary, IRONHAWK-
 26
                   D_000000055
 27       573      IDC Sales and Marketing Briefing 4/5/06,
 28                IRONHAWK-D_000000085-000000100

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
          574      idc-2006-balance-sheet-12-31-06.xls, IRONHAWK-
   3               D_000000258
   4      575      E-mail 10/1/07 from D. Gomes to P. Chao,
                   IRONHAWK-D_000002213-000002214
   5
          576      Draft Integrated Data Corporation Notes to the
   6               Financial Projections, IRONHAWK-D_000002215-
                   000002231
   7
          577      Integrated Data Corporation Cap Table Recap at
   8               8/28/07, IRONHAWK-D_000002232
   9      578      Integrated Data Corporation SmartSync In-Line
                   Compression, IRONHAWK-D_000002296-
 10                000002299
 11       579      E-mail 10/5/07 from D. Gomes to R. Nash; J.
                   Ilarraza, IRONHAWK-D_000002435-000002444
 12       580      Draft Integrated Data Corporation Notes to the
 13                Financial Projections, IRONHAWK-D_000002732-
                   000002734
 14       581      Ironhawk Technologies, Inc. Technology Briefing,
 15                IRONHAWK-D_000010882-000010902
          582      Article: GSA Awards Movement Tracking System
 16                (MTS) Enhancement Contract to Ironhawk
 17                Technologies 10/5/09, IRONHAWK-D_000012427-
                   000012428
 18       583      Ironhawk Update to the Board of Directors,
 19                IRONHAWK-D_000012452-000012461
          584      Email 3/29/2012 from J. Anders to D. Gomes,
 20                IRONHAWK-D_000013639
 21       585      Ironhawk Technologies SmartSync Significantly
                   Reduces File Size for the Fastest Transport &
 22                Update Over Narrow-Band Satelite Networks,
 23                IRONHAWK-D_000015830
          586      Ironhawk Technologies, Inc. SmartSync Video and
 24
                   Image Compression with HiPS Change Detection,
 25                IRONHAWK-D_000016251-000016252
          587      Ironhawk Technologies, Inc. Profit & Loss January
 26
                   Through December 2009, IRONHAWK-
 27                D_000016604-000016611
          588      Sales Forecast 040113.xlsx, IRONHAWK-
 28
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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   D_000016628
   3      589      Email 5/2/2013 from D. Gomes to B. Hirou,
   4               IRONHAWK-D_000016712
          590      Ironhawk Technologies, Inc. Information Briefing
   5
                   May 2013 SmartSync DCS Platform, IRONHAWK-
   6               D_000016933-000016967
          591      Patrol3_chopped.wmv, IRONHAWK-D_000017002
   7
          592      E-mail 7/26/13 from D. Gomes to A. Bloomer,
   8               IRONHAWK-D_000017233-000017237
   9      593      E-mail 7/27/13 from A. Bloomer to D. Gomes,
                   IRONHAWK-D_000017244-000017248
 10       594      E-mail 7/27/13 from A. Bloomer to D. Gomes,
 11                IRONHAWK-D_000017249-000017254
          595      E-mail 7/27/13 from D. Gomes to A. Bloomer,
 12                IRONHAWK-D_000017260-000017265
 13       596      Chart Ironhawk Technologies, Inc. Corporate
                   Milestones and Timeline, IRONHAWK-
 14                D_000017302-IRONHAWK-D_000017302
 15       597      E-mail 11/14/13 from G. Chou to D. Gomes; B.
                   Hirou; J. Hutchinson; M. Lippert; J. Espinoza,
 16                IRONHAWK-D_000018216
 17       598      Project Ignite Kick-Off Materials - Oppenheimer -
                   November 2013, IRONHAWK-D_000018217-
 18                IRONHAWK-D_000018236
 19       599      Software Value Added Reseller License Agreement
                   6/27/12 between Ironhawk Technologies, Inc. and
 20                Lockheed Martin, IRONHAWK-D_000021021-
 21                IRONHAWK-D_000021064
          600      E-mail 6/27/14 from D. Gomes to B. Hirou,
 22                IRONHAWK-D_000021065
 23       601      Amendment (status and contingent extension of
                   exlclusivity), IRONHAWK-D_000021066
 24
          602      Software Value Added Reseller License Agreement
 25                11/22/13 between Ironhawk Technologies, Inc. and
                   Speedy G. Consulting, IRONHAWK-
 26
                   D_000021519-IRONHAWK-D_000021537
 27       603      E-mail 11/25/14 from T. Moore to D. Gomes,
 28                IRONHAWK-D_000022460

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          604      E-mail 12/26/14 from T. Moore to G. Stucker,
   3               IRONHAWK-D_000022969
   4      605      E-mail 1/5/15 from G. Stucker to D. Gomes; B.
                   Hirou; R. Gill, IRONHAWK-D_000023440
   5
          606      Ironhawk Technologies, Inc. Project Ignite
   6               Executive Summary January 2015, IRONHAWK-
                   D_000023447-000023472
   7
          607      E-mail 1/15/15 from T. Moore to D. Gomes,
   8               IRONHAWK-D_000023913
   9      608      E-mail 1/30/15 from G. Stucker to D. Gomes,
                   IRONHAWK-D_000023963
 10       609      Project IGNITE January 2015, IRONHAWK-
 11                D_000023964-IRONHAWK-D_000023971
          610      Ironhawk Technologies, Inc. Project Ignite
 12                Executive Summary January 2015, IRONHAWK-
 13                D_000023972-000023997
          611      E-mail 2/13/15 from D. Gomes to M. Robertson,
 14                IRONHAWK-D_000023999-000024000
 15       612      Ironhawk Technologies, Inc., SmartSync DCS
                   Platform, IRONHAWK-D_000024001
 16       613      Resume of Douglas A. Stanley, IRONHAWK-
 17                D_000024013-000024014
          614      Non-Disclosure Agreement 11/5/14 between CACI
 18                Technologies, Inc. and Ironhawk Technologies, Inc.,
 19                IRONHAWK-D_000025577-000025579
          615      Notice Regarding Purpose and Parameters of
 20                Industrial Operations Analyst (IOA) Contractor
 21                Assistance Visits (CAVs) 4/17/15, IRONHAWK-
                   D_000025580
 22       616      E-mail 7/27/15 from D. Gomes to R. Engle,
 23                IRONHAWK-D_000026689-000026692
          617      CONTRACTS-MASTER-List-current-official-
 24
                   version.xlsx, IRONHAWK-D_000026693
 25       618      SmartSync Quotation for customer Robin Nussear
                   4/28/15 - SS-LSC-012815, IRONHAWK-
 26
                   D_000026694-000026698
 27       619      Competitor Pricing Sheet for Products.Ironhawk-
 28                10.30.14.xlsx, IRONHAWK-D_000026699

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          620      E-mail 9/8/15 from D. Gomes to R. Maze,
   3               IRONHAWK-D_000027148-000027151
   4      621      Ironhawk Technologies, Inc. Smart Sync DCS
                   Platform Information, IRONHAWK-D_000027152-
   5
                   000027153
   6      622      SmartSync DCS Platform Technical Overview
                   1/12/15, IRONHAWK-D_000027154-000027160
   7
          623      E-mail 10/20/15 from B. Hirou to E. Otte; R. Gill;
   8               D. Gomes; D. Stanley, IRONHAWK-
                   D_000028797-000028798
   9
          624      Smart Sync DCS Platform, HTTP Integration
 10                Release 1.7.7 - June 6, 2012, IRONHAWK-
 11                D_000028799-000028848
          625      SmartSync DCS Platform Intro and Base Usage
 12                Guide, Release 1.10 - 10/16/15, IRONHAWK-
 13                D_000028849-000028861
          626      E-mail 11/11/15 from B. Hirou to D. Gomes,
 14                IRONHAWK-D_000029504
 15       627      Project IGNITE Reference Materials - September
                   2015, IRONHAWK-D_000029505-000029522
 16       628      E-mail 12/15/15 from R. Gill to D. Gomes,
 17                IRONHAWK-D_000030476-000030479
          629      E-mail 12/15/15 from D. Gomes to W. Jiang,
 18                IRONHAWK-D_000030480-IRONHAWK-
 19                D_000030483
          630      SmartSync from IronHawk pricing 12-15-2015.xls,
 20                IRONHAWK-D_000030484
 21       631      SmartSync SaaS Agreement 12/15/15,
                   IRONHAWK-D_000030487-000030510
 22       632      E-mail 12/15/15 from D. Gomes to M. Lippert; B.
 23                Hirou, IRONHAWK-D_000030511-000030514
          633      Competitor Pricing Sheet for Products.Ironhawk-
 24
                   10.30.14.xlsx, IRONHAWK-D_000032906
 25       634      Letter 12/15/15 from D. Gomes to W. Jiang,
                   IRONHAWK-D_000032915-000032916
 26
          635      SmartSync Software Proposal & Statement of Work
 27                6/30/16, IRONHAWK-D_000033497
 28       636      E-mail 10/15/16 from D. Gomes to R. Gill,

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   1     Exh.                                                           Date         Date
                                 Description of Exhibit               Identified   Admitted
         No.
   2
                   IRONHAWK-D_000033567
   3      637      SmartSync DCS Platform, HTTP Integration
   4               Release 1.7.7 - 6/6/12, IRONHAWK-D_000033652
          638      E-mail 1/19/17 from D. Gomes to M. Henry,
   5
                   IRONHAWK-D_000034520-000034523
   6      639      Purchase Order 1/6/17, IRONHAWK-
                   D_000034524-000034533
   7
          640      Purchase Order 1/6/17, IRONHAWK-D_000034534
   8      641      Invoice 1/19/17 to Nexagen Networks, Inc.,
   9               IRONHAWK-D_000034535
          642      SmartSync DCS Platform, IRONHAWK-
 10                D_000034600
 11       643      E-mail 2/6/17 from D. Gomes to S. Gaudin,
                   IRONHAWK-D_000034612
 12       644      E-mail 3/16/17 from D. Gomes to R. Gill,
 13                IRONHAWK-D_000034827
          645      SmartSync DCS Platform 2017-2018 Product
 14                Catalog Commercial and GSA Pricing,
 15                IRONHAWK-D_000034828
          646      E-mail 3/20/17 from P. Ardire to D. Gomes; D.
 16                Mirabal; W. Stash; R. Gill, S. Indermill,
 17                IRONHAWK-D_000034916
          647      E-mail 3/29/17 from D. Gomes to J. Welch,
 18                IRONHAWK-D_000034941
 19       648      Ironhawk Technologies, Inc. SmartSync DCS
                   Platform, IRONHAWK-D_000034943
 20
          649      Ironhawk Technologies Master List of Contracts -
 21                Summary 3/29/17, IRONHAWK-D_000034945
          650      E-mail 4/18/17 from D. Gomes to C. Narciso-Jiao;
 22
                   D. Stanley; R. Gill, IRONHAWK-D_000035020
 23       651      E-mail 4/27/17 from S. Indermill to D. Gomes,
                   IRONHAWK-D_000035122
 24
          652      Ironhawk Technologies, Inc. 2017-2018 Product
 25                Catalog Commercial and GSA Pricing,
 26                IRONHAWK-D_000035319-000035338
          653      SmartSync DCS Platform 2017-2018 Product
 27                Catalog Commercial and GSA Pricing,
 28                IRONHAWK-D_000035340

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
          654      E-mail 5/5/17 from D. Gomes to M. Foye; M.
   3               Jungling; M. Rambo; K. Shah; C. Suggs; T. Nguyen;
   4               D. Stanley; R. Gill, IRONHAWK-D_000035426
          655      E-mail 5/5/17 from D. Gomes to D. Peyton; J.
   5
                   Welch; R. Gill, IRONHAWK-D_000035491
   6      656      Ironhawk Technologies, Inc. 2017-2018 Product
                   Catalog Commercial and GSA Pricing,
   7
                   IRONHAWK-D_000035881-000035914
   8      657      E-mail 6/8/17 from D. Gomes to T. Wetli,
                   IRONHAWK-D_000036532
   9
          658      SmartSync Introduction, IRONHAWK-
 10                D_000037370-000037375
 11       659      Ironhawk Technologies, Inc. Software Sales,
                   Testing, and Collaboration, IRONHAWK-
 12                D_000037601-000037606
 13       660      SmartSync verses WinZip Study, IRONHAWK-
                   D_000037778-000037783
 14       661      Ironhawk Technologies, Inc. SmartSync DCS
 15                Platform, IRONHAWK-D_000039399
          662      Ironhawk Technologies, Inc. Master List of
 16                Contracts - Summary 11/2/17, IRONHAWK-
 17                D_000039777
          663      SmartSync logo, IRONHAWK-D_000039805
 18       664      Ironhawk.com Technology SmartSync page,
 19                IRONHAWK-D_000039806
          665      Ironhawk Technologies, Inc. SmartSync DCS
 20                Platform, IRONHAWK-D_000039807
 21       666      Ironhawk Sales by Category-All.xlsx,
                   IRONHAWK-D_000041377
 22
          667      Ironhawk Sales by Category-2012.xlsx,
 23                IRONHAWK-D_000041378
          668      Ironhawk Revenue by Product Category-2013.xlsx,
 24
                   IRONHAWK-D_000041379
 25       669      Ironhawk Revenue by Product Category-2013.xlsx,
 26                IRONHAWK-D_000041380
          670      Ironhawk Sales Revenue by Category-2015.xlsx,
 27                IRONHAWK-D_000041381
 28       671      Ironhawk Sales Revenue by Category-2016.xlsx,

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   IRONHAWK-D_000041382
   3      672      Ironhawk Sales Revenue by Category-2017.xlsx,
   4               IRONHAWK-D_000041383
          673      Ironhawk Sales Revenue by Category-2018
   5
                   YTD.xlsx, IRONHAWK-D_000041384
   6      674      SmartSync Bandwidth-Efficient Data Distribution
                   Solutions, IRONHAWK-D_000041385
   7
          675      SmartSync Bandwidth-Efficient Data Distribution
   8               Solutions, IRONHAWK-D_000041388
   9      676      Banner Loop_SmartSync Logoformation+Services-
                   Desktop.m4v, IRONHAWK-D_000041393
 10       677      SmartSync DCS Platform, IRONHAWK-
 11                D_000041394
          678      smartsync-demo-video-720 (2017_07_21 04_08_48
 12                UTC).mp4, IRONHAWK-D_000041396
 13       679      CACI SmartSync Demo (2017_07_21 04_08_48
                   UTC).webm, IRONHAWK-D_000041402
 14       680      SmartSync_demo5.mp4, IRONHAWK-
 15                D_000041411
          681      SmartSync_Patrol_Imagery_Demo.mp4,
 16                IRONHAWK-D_000041412
 17       682      Ironhawk Overview Briefing-SHORT.mp4,
                   IRONHAWK-D_000041413
 18       683      IDC DM3 File Transport & Replication Solution
 19                with SmartSYnc, IRONHAWK-D_000041437-
                   000041438
 20
          684      Web page Ironhawk Technologies, Inc. Solutions,
 21                IRONHAWK-D_000041439
          685      Ironhawk Technologies, Inc. Technology Briefing J.
 22
                   Anders, IRONHAWK-D_000042140-000042153
 23       686      E-mail 2/9/11 from J. Anders to D. McKnight; B.
                   McGarrigle; D. Gomes; P. McGuire; M. Pierrat,
 24
                   IRONHAWK-D_000042159-000042170
 25       687      E-mail 3/26/12 from D. Gomes to C. Bloom; P.
 26                Schoen, IRONHAWK-D_000043109-000043110
          688      E-mail 4/2/13 from A. Bloomer to Gen. R.
 27                Folgleman; Gen. T. Hobbins; L. Bien; T. Theodore;
 28                D. Gomes, IRONHAWK-D_000043959-000043960

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          689      Ironhawk Technologies, Inc. A/P Aging Summary
   3               as of December 31, 2012, IRONHAWK-
   4               D_000043961
          690      Ironhawk Technologies, Inc. Unpaid Bills Detail as
   5
                   of December 31, 2012, IRONHAWK-
   6               D_000043962-000043963
          691      Ironhawk Technologies, Inc. Balance Sheet as of
   7
                   December 31, 2012, IRONHAWK-D_000043964-
   8               000043965
          692      Ironhawk Technologies, Inc. Profit & Loss January
   9
                   through December 2012, IRONHAWK-
 10                D_000043966-000043968
 11       693      E-mail 4/17/13 from A. Bloomer to Gen. R.
                   Folgleman; Gen. T. Hobbins; L. Bien; T. Theodore;
 12                D. Gomes, IRONHAWK-D_000043975-000043977
 13       694      E-mail 5/28/13 from D. Gomes to G. Krausz,
                   IRONHAWK-D_000044039-000044042
 14       695      Letter 4/26/13 from CSC to Ironhawk Technologies,
 15                Inc., IRONHAWK-D_000044043
          696      E-mail 6/8/13 from K. McQuiggan to D. Gomes,
 16                IRONHAWK-D_000044116-000044117
 17       697      Invoice 6/8/13 from Beach Cities Accounting to
                   Ironhawk Technologies, Inc., IRONHAWK-
 18                D_000044118
 19       698      Ironhawk Technologies, Inc. Vendor Balance Detail,
                   IRONHAWK-D_000044119-000044122
 20       699      SmartSync for Video Applications 6/27/13,
 21                IRONHAWK-D_000044229-000044241
          700      E-mail 8/20/13 from D. Gomes, IRONHAWK-
 22                D_000044430
 23       701      Ironhawk Technologies, Inc. Profit & Loss Detail
                   January through December 2012, IRONHAWK-
 24
                   D_000044431-000044475
 25       702      E-mail 8/20/13 from D. Gomes, IRONHAWK-
                   D_000044476
 26
          703      Ironhawk Technologies, Inc. Expenses by Vendor
 27                Summary January through December 2012,
                   IRONHAWK-D_000044477-000044481
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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
          704      E-mail 9/9/13 from D. Gomes to B. Hirou,
   3               IRONHAWK-D_000044510
   4      705      E-mail 9/9/13 from B. Hirou to D. Gomes,
                   IRONHAWK-D_000044511
   5
          706      E-mail 3/17/15 from D. Gomes, IRONHAWK-
   6               D_000045100
          707      E-mail 4/16/15 from R. Gill to B. Hirou; D. Gomes,
   7
                   IRONHAWK-D_000045200-000045202
   8      708      Meeting Request 6/19/15 from IGNITE to G.
   9               Stucker; D. Gomes; M. Lippert; B. Hirou; R. Gill; J.
                   Espinoza, IRONHAWK-D_000045370
 10       709      E-mail 6/24/15 from J. Espinoza to D. Gomes and
 11                M. Lippert, IRONHAWK-D_000045398-
                   000045400
 12       710      E-mail 6/24/15 from D. Gomes to D. Stanley,
 13                IRONHAWK-D_000045405-000045407
          711      E-mail 6/25/15 from M. Lippert to J. Espinoza; D.
 14                Gomes, IRONHAWK-D_000045412-000045414
 15       712      Meeting Request 6/26/15 from Ironhawk Internal
                   Dropbox Pre-Meeting to D. Gomes; R. Gill; B.
 16                Hirou; D. Stanley, IRONHAWK-D_000045428-
 17       713      E-mail 6/29/15 from M. Lippert to D. Gomes; J.
                   Espinoza; G. Stucker, IRONHAWK-D_000045435
 18       714      E-mail 6/29/15 from D. Gomes to M. Lippert,
 19                IRONHAWK-D_000045436
          715      E-mail 6/29/15 from D. Gomes to M. Lippert,
 20                IRONHAWK-D_000045437
 21       716      Project IGNITE Executive Summary June 2015,
                   IRONHAWK-D_000045438-000045457
 22
          717      E-mail 6/29/15 from D. Gomes to M. Lippert,
 23                IRONHAWK-D_000045460-000045461
          718      E-mail 7/1/15 from G. Stucker to D. Gomes; M.
 24
                   Lippert; J. Espinoza, IRONHAWK-D_000045504
 25       719      Project IGNITE Reference Materials - Strategic
 26                Rationale - July 2015, IRONHAWK-D_000045505-
                   000045507
 27       720      E-mail 7/1/15 from D. Gomes to R. Gill; D. Stanley;
 28                B. Hirou, IRONHAWK-D_000045510

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          721      E-mail 7/1/15 from D. Stanley to D. Gomes,
   3               IRONHAWK-D_000045514-000045515
   4      722      E-mail 7/2/15 from R. Gill to D. Gomes; B. Hirou,
                   IRONHAWK-D_000045520-000045521
   5
          723      E-mail 7/2/15 from D. Gomes to R. Gill,
   6               IRONHAWK-D_000045522-000045524
          724      E-mail 7/3/15 from D. Gomes to G. Stucker; M.
   7
                   Lippert; B. Hirou; R. Gill, IRONHAWK-
   8               D_000045539
   9      725      Project IGNITE Reference Materials - Strategic
                   Rationale - July 2015, IRONHAWK-D_000045540-
 10                _000045543
 11       726      E-mail 2/1/17 from D. Gomes to R. Gill,
                   IRONHAWK-D_000045781
 12       727      Archive00318341.xlsx, IRONHAWK-
 13                D_000045782
          728      E-mail 3/1/17 from D. Gomes to R. Gill,
 14                IRONHAWK-D_000045818
 15       729      E-mail 3/8/17 from R. Gill to D. Gomes,
                   IRONHAWK-D_000046195
 16       730      E-mail 4/20/17 from D. Gomes to R. Gill,
 17                IRONHAWK-D_000046234
          731      E-mail 4/26/17 from D. Gomes to S. Indermill,
 18                IRONHAWK-D_000046241
 19       732      E-mail 5/17/17 from D. Gomes to T. Moore,
                   IRONHAWK-D_000046359
 20       733      Plaintiff Ironhawk Technologies, Inc.'s Amended
 21                Objections and Responses to Defendant
                   Salesforce.com, Inc.'s First Set of Interrogatories
 22                (Nos. 1-25) 7/30/18, IRONHAWK-D_000046541-
 23                000046562
          734      Plaintiff Ironhawk Technologies, Inc.'s Second
 24
                   Amended Objections and Responses to Defendant
 25                Salesforce.com, Inc.'s First Set of Interrogatories
                   (Nos. 1-25) 10/1/18, IRONHAWK-D_000046663-
 26
                   000046692
 27       735      Web page ASUS.com - How to set up Smart Sync?,
                   IRONHAWK-D_000047245-000047257
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   1     Exh.                                                                Date         Date
                                   Description of Exhibit                  Identified   Admitted
         No.
   2
          736      SmartSync - Design Data, IRONHAWK-
   3               D_000047258-000047263
   4      737      Configuring SmartSync - BETA - Documentation
                   for BMC Remedyforce, IRONHAWK-
   5
                   D_000047264-000047270
   6      738      Article - Panzura Announces Next-Generation
                   SMART Sync Technology 7/21/16, IRONHAWK-
   7
                   D_000047285-000047290
   8      739      How to us the Smart Sync 3.0 app to control
                   smartphone from Samsung PRO series tablet,
   9
                   IRONHAWK-D_000047291-000047293
 10       740      SmartSync for Folder Synchronization – SmartWiki,
 11                IRONHAWK-D_000047294-000047299
          741      SmartSY NC, IRONHAWK-D_000047300-
 12                000047309
 13       742      Location Intelligence for Smart Cities - Smart Sync -
                   Urban SDK, IRONHAWK-D_000047310-
 14                000047317
 15       743      UserIQ - Introducing email powered by SmartSync
                   & SmartSend and new micro-feedback campaigns
 16                5/14/18, IRONHAWK-D_000047318-000047325
 17       744      Webland.ch SmartSync E-Mail, IRONHAWK-
                   D_000047326-000047329
 18       745      E-mail 9/5/14 from D. Gomes to D. Stanley,
 19                IRONHAWK-D_000048172-000048173
          746      E-mail 4/20/17 from D. Gomes, IRONHAWK-
 20                D_000048179
 21       747      E-mail 4/20/17 from D. Gomes, IRONHAWK-
                   D_000048180
 22       748      Ironhawk Technologies, Inc. 2017-2018 Product
 23                Catalog Commercial and GSA Pricing,
                   IRONHAWK-D_000048182-000048215
 24
          749      Ironhawk Press Release: Ironhawk Awarded $50
 25                Million Blanket Purchase Agreement (BPA) From
                   the U.S. Department of Defense 2/7/11,
 26
                   IRONHAWK-D_000048550-000048551
 27       750      IDC SmartSync Overview, IRONHAWK-
                   D_000048897-IRONHAWK-D_000048903
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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
          751      Ironhawk Technologies, Inc. Master List of
   3               Contracts - Summary 1/20/05, IRONHAWK-
   4               D_000049500-000049503
          752      E-mail 4/29/17 from D. Gomes, IRONHAWK-
   5
                   D_000049601-000049602
   6      753      LM GTL / Ironhawk Business Development
                   Opportunity Review, IRONHAWK-D_000049836-
   7
                   000049848
   8      754      Ironhawk Technologies, Inc. Master List of
                   Contracts - Summary 1/20/05, IRONHAWK-
   9
                   D_000050440-000050443
 10       755      Ironhawk Technologies, Inc. Master List of
 11                Contracts - Summary 3/29/17, IRONHAWK-
                   D_000050453
 12       756      Ironhawk Technologies, Inc. 2017-2018 Product
 13                Catalog Commercial and GSA Pricing,
                   IRONHAWK-D_000050454-000050481
 14       757      SmartSync Professional Client Access,
 15                IRONHAWK-D_000050567
          758      E-mail 3/17/09 from J. Anders to
 16                steven@alchemygroup.net, IRONHAWK-
 17                D_000050577
          759      IDC - SmartSync: A platform that uniquely
 18                Integrates Data Compression, Content Management
 19                and Transport Technologies to Manage the Delivery
                   of Mission Critical Data via Narrowband
 20                Communications - e.g. Satellites, IRONHAWK-
 21                D_000050578-000050590
          760      SmartSync Introduction, IRONHAWK-
 22                D_000050591-000050596
 23       761      Ironhawk-DSS-Demo.mp4, IRONHAWK-
                   D_000050670
 24       762      IronHawk2.mp4, IRONHAWK-D_000050786
 25       763      Ironhawk Technologies, Inc. SmartSync Enterprise
                   Software Presentation, IRONHAWK-
 26
                   D_000050788-000050817
 27       764      IronHawk Technologies Animation Video HD
                   3a.mov, IRONHAWK-D_000050923
 28
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          765      smartsync-demo-video-720.mp4, IRONHAWK-
   3               D_000050925
   4      766      E-mail 3/19/10 from S. Spirrison to D. Gomes,
                   IRONHAWK-D_000050931-000050932
   5
          767      Trademake Registration March 22, 2013 –
   6               SmartSync, IRONHAWK-D_000050965
          768      E-mail 6/29/15 from D. Gomes to M. Lippert; G.
   7
                   Stucker; R. Gill; B. Hirou, OPCO0269
   8      769      E-mail 6/29/15 from D. Gomes to M. Lippert; G.
   9               Stucker, OPCO0274-OPCO0276
          770      SmartSync DCS Platform Technical Overview
 10                1/12/15, OPCO0277-OPCO0282
 11       771      Video on https://www.dropbox.com/smart-sync
          772      Patrick Kennedy - CV
 12       773      "Federal Risk and Authorization Management
 13                Program (FedRAMP) “About Us” page from
                   https://www.fedramp.gov/about/"
 14       774      The Office of Management and Budget’s December
 15                8, 2011 Memorandum for Chief Information
                   Officers regarding Security Authorization of
 16                Information Systems in Cloud Computing
 17                Environments
          775      Complaint filed in Ironhawk Technologies, Inc. v.
 18                Salesforce.com, Inc. , Case No. 2:15-cv-8277 dated
 19                11/14/2017 (Dkt. No. 1)
          776      "Page on Ironhawks’s website regarding
 20                “IntelliSync” available at
 21                http://ironhawk.com/product-section-addition/"
          777      Notice of Settlement filed in Ironhawk
 22                Technologies, Inc. v. Salesforce.com, Inc. , Case
 23                No. 2:15-cv-8277 dated 11/8/2018 (Dkt. No. 25)
          778      Page on Dropbox's website re Dropbox's individual
 24
                   plan options, available at
 25                http://www.dropbox.com/individual/plans-
                   comparison
 26
          779      Page on Dropbox's website re Dropbox's business
 27                plan options, available at
                   http://www.dropbox.com/business/plans-comparison
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   1     Exh.                                                              Date         Date
                                   Description of Exhibit                Identified   Admitted
         No.
   2
          780      Screenshots of the Dropbox Business page
   3      781      Screenshot of www.dropbox.com as seen by a user
   4               who has scrolled down to the plan descriptions that
                   list Smart Sync as an available feature.
   5
          782      Dropbox Upgrade Drivers Research Report January
   6               2019
          783      Dropbox Smart Sync Usage Data, January 2017 -
   7
                   May 2019/Percent with Smart Synched File
   8      784      Dropbox Smart Sync Usage Data, January 2017 -
   9               May 2019/Percent Evicted File
          785      [Results] Smart Sync Upsell: Client onboarding
 10       786      Exhibit 3 to the Expert Report of Michel Pham
 11       787      Exhibit 5 to the Expert Report of Michel Pham
          788      Exhibit 6 to the Expert Report of Michel Pham
 12       789      Exhibit 7 to the Expert Report of Michel Pham
 13       790      Exhibit 8 to the Expert Report of Michel Pham
          791      Exhibit 9 to the Expert Report of Michel Pham
 14       792      Exhibit 10 to the Expert Report of Michel Pham
 15       793      Exhibit 11 to the Expert Report of Michel Pham
          794      Exhibit 12 to the Expert Report of Michel Pham
 16
          795      Exhibit 13 to the Expert Report of Michel Pham
 17       796      Exhibit 14 to the Expert Report of Michel Pham
          797      Exhibit 15 to the Expert Report of Michel Pham
 18
          798      Exhibit 16 to the Expert Report of Michel Pham
 19       799      Exhibit 17 to the Expert Report of Michel Pham
 20       800      Exhibit 18 to the Expert Report of Michel Pham
          801      Exhibit 19 to the Expert Report of Michel Pham
 21       802      Exhibit 20 to the Expert Report of Michel Pham
 22       803      Exhibit 21 to the Expert Report of Michel Pham
          804      Exhibit 22 to the Expert Report of Michel Pham
 23       805      Exhibit 23 to the Expert Report of Michel Pham
 24       806      Exhibit 24 to the Expert Report of Michel Pham
          807      Exhibit 25 to the Expert Report of Michel Pham
 25
          808      Exhibit 26 to the Expert Report of Michel Pham
 26       809      Exhibit 27 to the Expert Report of Michel Pham
          810      Exhibit 28 to the Expert Report of Michel Pham
 27
          811      Exhibit 29 to the Expert Report of Michel Pham
 28       812      Exhibit 30 to the Expert Report of Michel Pham
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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
          813      Exhibit A to the Expert Report of Antonio R.
   3               Sarabia II (CV)
   4      814      Exhibit C to the Expert Report of Antonio R.
                   Sarabia II (Materials Considered)
   5
          815      Exhibit E to the Expert Report of Antonio R. Sarabia
   6               II (LinkedIn page of Mr. Volkmer)
          816      Exhibit F to the Expert Report of Antonio R. Sarabia
   7
                   II (Resume of Mr. Yoon)
   8      817      Ironhawk Technologies, Inc.'s Amended Response
   9               to Dropbox, Inc.'s Second Set of Interrogatories,
                   Nos. 15-22 and 25
 10       818      Ironhawk Technologies, Inc.'s Amended Responses
 11                to Dropbox.com, Inc.'s First Set of Interrogatories,
                   Nos. 6 and 8-10
 12       819      Ironhawk Technologies, Inc.'s Response to
 13                Dropbox, Inc.'s Second Set of Interrogatories
          820      Ironhawk Technologies, Inc.'s Responses to
 14                Dropbox.com, Inc.'s First Set of Interrogatories
 15       821      Ironhawk Technologies, Inc.'s Second Amended
                   Response to Dropbox, Inc.'s Second Set of
 16                Interrogatories, No. 16
 17       822      Ironhawk Technologies, Inc.'s Second Amended
                   Responses to Dropbox, Inc.'s First Set of
 18                Interrogatories, Nos. 1-5 and 13
 19       823      Ironhawk Technologies, Inc.'s Supplemental
                   Responses to Dropbox, Inc.'s First Set of
 20                Interrogatories, Nos. 1 and 3-5
 21       824      Ironhawk Technologies, Inc.'s Supplemental
                   Responses to Dropbox, Inc.'s First Set of
 22                Interrogatories, Nos. 2 and 13
 23       825      Ironhawk Technologies, Inc.’s Amended Responses
                   to Dropbox.com, Inc.’s First Set of Interrogatories
 24
          826      Ironhawk Technologies, Inc.’s Responses to
 25                Dropbox.com, Inc.’s First Set of
                   Interrogatories
 26
          827      Ironhawk’s Sales by Customer Detail Report,
 27                IRONHAWK-D_000052018-000052020
 28       828      E-mail 7/7/15 from M. Lippert to B. Lightcap; G.

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   1     Exh.                                                              Date         Date
                                   Description of Exhibit                Identified   Admitted
         No.
   2
                   Stucker, OPC0336-0350
   3      829      Ironhawk presentation slides - Ironhawk Growth
   4               Initiatives, Bates stamped IRONHAWK-D
                   000019612-000019637
   5
          830      Ironhawk presentation slides - SmartSync Family of
   6               Products, Bates stamped IRONHAWK-D
                   000047987
   7
          831      Ironhawk presentation slides - Ironhawk SmartSync
   8               Product Presentation, Bates stamped IRONHAWK-
                   D 000048308-000048333
   9
          832      Ironhawk presentation slides - Ironhawk SmartSync
 10                Mobile Capability Presentation, Bates stamped
 11                IRONHAWK-D 000048334-000048362
          833      Ironhawk SmartSync document, Bates stamped
 12                IRONHAWK-D 000050405
 13       834      E-mail 4/26/17 from D. Stanley to D. Gomes,
                   IRONHAWK-D_000035121
 14       835      E-mail 4/25/19 from C. Bruner to L. Brody,
 15                IRONHAWK-D_000052023
          836      Tuesday, June 30, 2015 entry, Bates stamped
 16                DROPBOX_0000003042
 17       837      Page on Dropbox's website, available at
                   http://www.dropbox.com/smart-sync,
 18                DROPBOX_0000000271-0000000280
 19       838      Page on Dropbox's website, available at
                   http://help.dropbox.com/installs-integrations/sync-
 20                uploads/smart-sync, DROPBOX_0000000239-
 21                0000000245
          839      Page on Dropbox’s website regarding Dropbox’s
 22                syncing functionality available at
 23                https://www.dropbox.com/features/sync,
                   DROPBOX_0000001709-0000001712
 24
          840      Page on Dropbox’s website regarding the Smart
 25                Sync feature available at
                   https://www.dropbox.com/features/sync/save-
 26
                   space), DROPBOX_0000001713-0000001715
 27       841      Page on Dropbox’s website regarding Dropbox
                   Professional available at
 28
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   1     Exh.                                                                Date         Date
                                   Description of Exhibit                  Identified   Admitted
         No.
   2
                   https://www.dropbox.com/pro),
   3               DROPBOX_0000001752-0000001756
   4      842      Document detailing the full list of potential names
                   for the Smart Sync feature,
   5
                   DROPBOX_0000000066-0000000070
   6      843      Figures included in Expert Report of Patrick
                   Kennedy
   7
          844      Schedules 1.1, 1.1A, 1.2, 1.2A, 1.3, and 1.4 to the
   8               Expert Report of Patrick Kennedy
   9      845      Schedules 2.1, 2.1A, 2.2, 2.2A, 2.3, 2.4, 2.4A, and
                   2.5 to the Expert Report of Patrick Kennedy
 10       846      Schedules 3.1, 3.1A, 3.2, 3.2A, 3.3, 3.3A, 3.4, 3.4A,
 11                3.5, 3.5A, 3.6, and 3.6A to the Expert Report of
                   Patrick Kennedy
 12       847      Schedules 4.1 and 4.2 to the Expert Report of
 13                Patrick Kennedy
          848      Schedules 5.1, 5.2, and 5.3 to the Expert Report of
 14                Patrick Kennedy
 15       849      Schedules 6.1, 6.2, 6.3, 6.4, 6.5, and 6.6 to the
                   Expert Report of Patrick Kennedy
 16       850      Schedule 7 to the Expert Report of Patrick Kennedy
 17       851      Schedule 8 to the Expert Report of Patrick Kennedy
          852      Dropbox v Thru - Exh 7 to Dec of J Slafsky -
 18                Settlement Agreement between Dropbox and
 19                Officeware
          853      Dropbox, Inc. Form 10-Q for the quarterly period
 20                ended June 30, 2018
 21       854      Dropbox, Inc. Form 10-Q for the quarterly period
                   ended March 31, 2018
 22
          855      Dropbox, Inc. Form 10-Q for the quarterly period
 23                ended September 30, 2018
          856      Dropbox, Inc. Form S-1
 24
          857      Dropbox, Inc., Form 10-K for the fiscal year ended
 25                December 31, 2018
 26       858      https://blog.dropbox.com/topics/product-tips/plus-
                   professional-updates.
 27       859      https://dealbook.nytimes.com/2011/10/18/dropbox-
 28                confirms-250-million-investment/

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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
          860      https://web.archive.org/web/20190519141056/https:/
   3               /www.dropbox.com/plans?trigger=homepagefoot
   4      861      https://www.statista.com/statistics/261820/number-
                   of-registered-dropbox-users/
   5
          862      Immediatek, Inc. Form 10-K for the fiscal year
   6               ended December 31, 2011, p. F-4
          863      Immediatek, Inc. Form 10-K for the fiscal year
   7
                   ended December 31, 2012, p. F-4
   8      864      Immediatek, Inc. Form 10-K for the fiscal year
   9               ended December 31, 2013, p. F-4
          865      Dropbox, Inc. 2018 10-K
 10       866      Dropbox, Inc. 2018 Q1 10-Q
 11       867      Dropbox, Inc. 2018 Q2 10-Q
          868      Dropbox, Inc. 2018 Q3 10-Q
 12       869      Dropbox, Inc. 2019 Q1 10-Q
 13       870      Dropbox, Inc. S-1
          871      Immediatek, Inc. 2011 10-K
 14       872      Immediatek, Inc. 2012 10-K
 15       873      Immediatek, Inc. 2013 10-K
          874      Immediatek, Inc. 2013 Q1 10-Q
 16
          875      Settlement and Assignment Agreement between
 17                Dropbox and Officeware, effective April 22, 2013
          876      Trademark Registration No. 3,198,093
 18
          877      Exhibit C to the Expert Report of Patrick Kennedy
 19       878      Summary Charts and Tables within Expert Report of
 20                Hal L. Poret
          879      Appendix D to the Expert Report of Hal L. Poret
 21       880      Exhibit C to the Expert Report of Jessie Stricchiola
 22       881      Dropbox's YouTube channel
                   (https://youtube.com/user/dropbox)
 23       882      Ironhawk's YouTube channel
 24                (https://www.youtube.com/user/IronhawkTechnolog
                   ies)
 25       883      Ironhawk website (ironhawk.com)
 26       884      Dropbox website (dropbox.com
          885      Moz website (moz.com)
 27       886      W3Techs Analysis
 28                https://w3techs.com/technologies/details/cm-
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   wordpress/all/all
   3      887      Statista.com
   4               (https://www.statista.com/statistics/267056/paid-
                   search-advertising-expenditure-worldwide/)
   5
          888      Enge, Eric & Jessie Stricchiola, The Art of SEO,
   6               (2d. ed. 2012).
          889      Figures included in Expert Report of Douglas T.
   7
                   Huffman, Jr.
   8      890      Exhibit 1 to the Rebuttal Expert Report of Douglas
   9               T. Huffman, Jr.
          891      Exhibit 2 to the Rebuttal Expert Report of Douglas
 10                T. Huffman, Jr.
 11       892      Exhibit 3 to the Rebuttal Expert Report of Douglas
                   T. Huffman, Jr.
 12       893      Exhibit 4 to the Rebuttal Expert Report of Douglas
 13                T. Huffman, Jr.
          894      Exhibit 5 to the Rebuttal Expert Report of Douglas
 14                T. Huffman, Jr.
 15       895      Exhibit 6 to the Rebuttal Expert Report of Douglas
                   T. Huffman, Jr.
 16       896      Exhibit 7 to the Rebuttal Expert Report of Douglas
 17                T. Huffman, Jr.
          897      Exhibit 8 to the Rebuttal Expert Report of Douglas
 18                T. Huffman, Jr.
 19       898      Exhibit 9 to the Rebuttal Expert Report of Douglas
                   T. Huffman, Jr.
 20
          899      https://3dinsider.com/smart-heaters/
 21       900      https://3dinsider.com/smart-kettles/
          901      https://heavy.com/pets/2018/10/best-smart-dog-
 22
                   collar/
 23       902      https://www.apple.com/iphone/
 24       903      https://www.bestbuy.com/site/smart-watches-
                   accessories/smart-
 25                watches/pcmcat321000050004.c?id=pcmcat321000
 26                050004
          904      https://www.bestbuy.com/site/tvs/smart-
 27                tvs/pcmcat220700050011.c?id=pcmcat22070005001
 28                1

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
          905      https://www.digitaltrends.com/business/best-smart-
   3               luggage/
   4      906      https://www.digitaltrends.com/mobile/best-smart-
                   wallets/
   5
          907      https://www.homedepot.com/b/Smart-Home-Smart-
   6               Appliances-Smart-Refrigerators/N-5yc1vZch9h
          908      https://www.pcmag.com/article/356755/the-best-
   7
                   smart-thermostats
   8      909      https://www.pcmag.com/article/361898/the-best-
   9               smart-coffee-makers
          910      https://www.pcmag.com/roundup/341490/the-best-
 10                smart-home-security-systems
 11       911      https://www.pcmag.com/roundup/343154/the-best-
                   smart-bathroom-scales
 12       912      https://www.safewise.com/resources/smart-doorbell-
 13                buyers-guide/
          913      https://www.tomsguide.com/us/best-smart-garage-
 14                door-openers,review-4476.html
 15       914      DROPBOX_0000002892.xlsx,
                   DROPBOX_0000002892
 16       915      DROPBOX_0000002893
 17       916      Software Distribution License Agreement,
                   IRONHAWK000009591
 18       917      Software Development Proposal and Statement of
 19                Work ROM, IRONHAWK000020255
          918      Ironhawk Technologies Statement of Work
 20
                   Summary Review E3 Client Management Portal,
 21                IRONHAWK000020374
          919      Ironhawk Technologies, Inc. Sales by Customer
 22
                   Detail 2013, IRONHAWK000028422
 23       920      Ironhawk Contract Revenues.pdf, IRONHAWK-
                   D_000039783
 24
          921      Google Ads Help page - Keyword bids,
 25                DROPBOX_0000001830
 26       922      Google Ads Help page – Auction,
                   DROPBOX_0000001834
 27       923      Google Advertising Service Agreement between
 28                Google and Dropbox, DROPBOX_0000001844

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
          924      Google Invoice to Dropbox - 11/1/17 - 11/30/17,
   3               DROPBOX_0000002143
   4      925      Google Invoice to Dropbox - 12/1/17 - 12/31/17,
                   DROPBOX_0000002331
   5
          926      Google Invoice to Dropbox - 12/1/18 - 12/31/18,
   6               DROPBOX_0000002125
          927      Oxford Dictionary Definition – sync,
   7
                   DROPBOX_0000002950
   8      928      SmartSync Software - Pro Key Features,
   9               DROPBOX_0000003031
          929      IDC - Integrated Data Corporation Business Plan,
 10                IRONHAWK-D_000000129
 11       930      Ironhawk Technologies, Inc. Profit & Loss January
                   through December 2009, IRONHAWK-
 12                D_000016451
 13       931      Ironhawk Technologies, Inc. Profit & Loss January
                   through December 2009, IRONHAWK-
 14                D_000016508
 15       932      Ironhawk Technologies, Inc. - Project Ignite
                   Reference Materials July 2016, IRONHAWK-
 16                D_000032855
 17       933      Ironhawk Technologies, Inc. sales by Customer
                   Summary January 1, 2015 - April 17, 2019,
 18                IRONHAWK-D_000052022
 19       934      Google Invoice to Dropbox 5/1/18 - 5/31/18,
                   DROPBOX_0000002094
 20       935      Google Invoice to Dropbox 7/1/17 - 7/31/17,
 21                DROPBOX_0000002114
          936      Google Invoice to Dropbox 6/1/18 - 6/30/18,
 22                DROPBOX_0000002160
 23       937      Google Invoice to Dropbox 6/1/17 - 6/30/17,
                   DROPBOX_0000002181
 24
          938      Google Invoice to Dropbox 4/1/17 - 4/30/17,
 25                DROPBOX_0000002194
 26       939      Google Invoice to Dropbox 11/1/18 - 11/30/18,
                   DROPBOX_0000002203
 27       940      Google Invoice to Dropbox 9/1/18 - 9/30/18,
 28                DROPBOX_0000002221

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   1     Exh.                                                           Date         Date
                                 Description of Exhibit               Identified   Admitted
         No.
   2
          941      Google Invoice to Dropbox 8/1/18 - 8/31/18,
   3               DROPBOX_0000002242
   4      942      Google Invoice to Dropbox 5/1/17 - 5/31/17,
                   DROPBOX_0000002264
   5
          943      Google Invoice to Dropbox 2/1/18 - 2/28/18,
   6               DROPBOX_0000002274
          944      Google Invoice to Dropbox 2/1/17 - 2/28/17,
   7
                   DROPBOX_0000002294
   8      945      Google Invoice to Dropbox 8/1/17 - 8/31/17,
   9               DROPBOX_0000002301
          946      Google Invoice to Dropbox 4/1/18 - 4/30/18,
 10                DROPBOX_0000002312
 11       947      Google Invoice to Dropbox 3/1/17 - 3/31/17,
                   DROPBOX_0000002351
 12       948      Google Invoice to Dropbox 10/1/18 - 10/31/18,
 13                DROPBOX_0000002359
          949      Google Invoice to Dropbox 7/1/18 - 7/31/18,
 14                DROPBOX_0000002379
 15       950      Google Invoice to Dropbox 9/1/17 - 9/30/17,
                   DROPBOX_0000002399
 16       951      Google Invoice to Dropbox 10/1/17 - 10/31/17,
 17                DROPBOX_0000002412
          952      Google Invoice to Dropbox 1/1/17 - 1/31/17,
 18                DROPBOX_0000002430
 19       953      Google Invoice to Dropbox 3/1/18 - 3/31/18,
                   DROPBOX_0000002437
 20
          954      Google Invoice to Dropbox 1/1/18 - 1/31/18,
 21                DROPBOX_0000002456
          955      Smart Sync - SEM - Q4_2017 - Q1_2019
 22
                   (Raw).xlsx, DROPBOX_0000002885
 23       956      Choose the right Dropbox for you,
                   DROPBOX_0000001716
 24
          957      E-mail 8/30/16 from P. Rowell to gs@dropbox.com,
 25                DROPBOX_0000001083
 26       958      E-mail 9/7/16 from J. Lyman to K. Watt,
                   DROPBOX_0000001100
 27       959      E-mail 8/18/16 from P. Rowell to K. Watt,
 28                DROPBOX_0000001122

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
          960      Dropbox Introducing Smart Sync, Dropbox Paper
   3               Global Launch January 2017,
   4               DROPBOX_0000001682
          961      Dropbox Billing Page, DROPBOX_0000001720
   5
          962      Dropbox Smart Sync Help page,
   6               DROPBOX_0000001722
          963      Dropbox Smart Sync for team admins,
   7
                   DROPBOX_0000001729
   8      964      Dropbox Syncing: an overview,
   9               DROPBOX_0000001733
          965      Dropbox Work better, safer together,
 10                DROPBOX_0000001737
 11       966      Dropbox Business Online backup and file storage,
                   DROPBOX_0000001742
 12       967      Dropbox Smart Sync Break free from your hard
 13                drive, DROPBOX_0000001746
          968      Dropbox Work better, safer together,
 14                DROPBOX_0000001757
 15       969      Dropbox Business You'll be in great company,
                   DROPBOX_0000001763
 16       970      Dropbox Business Bringing Dropbox Smart Sync to
 17                all teams, plus new team selective sync 4/5/18,
                   DROPBOX_0000001768
 18       971      Dropbox Brings Powerful Business-Grade Tools to
 19                Individuals with Dropbox Professional,
                   DROPBOX_0000001773
 20       972      Dropbox Channel Pro-SMB Names Dropbox Cloud
 21                File Share and Sync Gold Winner,
                   DROPBOX_0000001778
 22
          973      Dropbox a Leader in Gartner's 2017 Magic Quadrant
 23                for Content Collaboration Platforms 6/28/17,
                   DROPBOX_0000001781
 24
          974      Dropbox Business Get all the features your business
 25                needs, DROPBOX_0000001785
 26       975      Trademark Registration No. 1,867,610
          976      Trademark Registration No. 2,656,129
 27       977      Trademark Registration No. 3,500,699
 28       978      Trademark Registration No. 3,911,628

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   1     Exh.                                                        Date         Date
                                   Description of Exhibit          Identified   Admitted
         No.
   2
          979      Trademark Registration No. 4,873,096
   3      980      IRONHAWK-D_000021719
   4      981      4/30/17 Email from Gomes to Peyton,
                   IRONHAWK-D_000046233
   5
         982       Exhibits 982-999 - Intentionally left blank
   6       -
         999
   7
         1000 Exhibit 1 CV of Michel Tuan Pham
   8          (Pham Ex. 1000) 24 pages
   9     1001 5/10/19 Expert Report of Professor (Michel) Tuan
              Pham, Ph.D.
 10           (Pham Ex. 1001) 46 pages
 11      1002 Intentionally left blank
         1003 Exhibit 2 to the Opening Report of Michel Tuan
 12           Pham, Ph.D. (Pham Ex. 1003) 29 pages
 13      1004 Intentionally left blank
         1005 4/17/19 Exhibit 5 Google Searches for 'smart sync'
 14           (2004-present) (Pham Ex. 1005) 3 pages
 15      1006 10/09/18 Exhibit 7 USPTO Search Results for
              Smart+Sync (Pham Ex. 1006) 3 pages
 16      1007 Rebuttal to the Report of Daniel M. Cislo by
 17           Antonio R. Sarabia II (Sarabia Ex. 1007) 49 pages
         1008 intentionally left blank
 18      1009 May 2019 Expert Report of Hal Poret in the Matter
 19           of Ironhawk Technologies, Inc. v Dropbox, Inc. -
              Survey to Assess Whether Dropbox's Use of the
 20
              Term Smart Sync Creates a Likelihood of Confusion
 21           with Respect to Ironhawk and It's Smartsync
              Products (Poret Ex. 1009) 49 pages
 22
         1010 Appendix A - Hal L. Poret CV (Poret Ex. 1010)
 23           13 pages
         1011 Appendix B - April 2019 Questionnaire
 24
              (Poret Ex. 1011) 11 pages
 25      1012 Appendix C - Screenshots (Poret Ex. 1012)
 26           19 pages
         1013 Appendix E - Image 1000 (Poret Ex. 1013) 2 pages
 27      1014 Appendix E to the Expert Report of Hal L. Poret -
 28           Image 2000 (Poret Ex. 1014)

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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1015 Appendix E - Image 3000 (Poret Ex. 1015) 2 pages
   3     1016 Appendix E - Image 4000 (Poret Ex. 1016) 2 pages
   4     1017 Notice of Deposition of Ted Huffman and Subpoena
              to Testify at a Deposition in a Civil Action
   5
              (Huffman Ex. 1017) 11 pages
   6     1018 Expert Report of Douglas T. Huffman, Jr.
              (Huffman Ex. 1018) 45 pages
   7
         1019 Expert Report of Jessie Stricchiola
   8          (Huffman Ex. 1019) 13 pages
   9     1020 6/07/19 Google Search re smartsync -dropbox
              (Huffman Ex. 1020) 2 pages
 10      1021 Rebuttal Report of Patrick F. Kennedy, Ph.D dated
 11           May 31, 2019 (Kennedy Ex. 1021) 216 pages
         1022 Spreadsheet, Archive00341753
 12      1023 Spreadsheet, Archive00341754
 13      1024 Spreadsheet, Archive00341755
         1025 Spreadsheet, Archive00341756
 14      1026 Spreadsheet, Archive00341757
 15      1027 Spreadsheet, Archive00341758
         1028 Spreadsheet, Archive00341759
 16
         1029 Spreadsheet, Archive00341760
 17      1030 6/24/15 J. Espinoza email to D. Gomes, M. Lippert
              cc: G. Stucker, R. Gil, B. Hirou re Dropbox
 18
              IRONHAWK-D_000045374-000045375
 19      1031 June 2015 Project Ignite Executive Summary
              IRONHAWK-D_000045376-000045395
 20
         1032 Project Ignite Conference Call Details & Key
 21           Discussion – Draft IRONHAWK-D_000045396
 22      1033 4/26/17 D. Stanley email to D. Gomes cc:
              doug@benjakate.com re SmarSync confusion
 23           IRONHAWK-D_000046246
 24      1034 4/27/17 S. Indermill email to D. Gomes re A
              Concern to be addressed
 25           IRONHAWK-D_000046247
 26      1035 4/27/17 D. Peyton email to D. Gomes cc: J. Welch
              re IBM & Ironhawk Smartsync – Dropbox &
 27           Salesforce products
 28           IRONHAWK-D_000049630

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   1     Exh.                                                        Date         Date
                              Description of Exhibit               Identified   Admitted
         No.
   2
         1036 1/15/19 Google search re smart sync
   3          IRONHAWK-D_000050598-000050600
   4     1037 Intentionally left blank
         1038 Intentionally left blank
   5
         1039 Google search re smart sync
   6          IRONHAWK-D_000050605
         1040 1/15/19 Google search re smart sync
   7
              IRONHAWK-D_000050606
   8     1041 1/15/19 Google search re smartsync
   9          IRONHAWK-D_000050609
         1042 1/15/19 Google search re smart sync
 10           IRONHAWK-D_000050611-000050613
 11      1043 1/15/19 Google search re smartsync
              IRONHAWK-D_000050614-000050615
 12      1044 6/13/17 TMOfficialNotices@USPTO.GOV email to
 13           D. Gomes and Ironhawkglobal re Official USPTO
              Notice of Acceptance and Renewal Sections 8 and 9:
 14           U.S. Trademark RN 3198093; SMARTSYNC
 15           IRONHAWK-D_000050961-000050962
         1045 3/22/13 U.S. Trademark Registration 3,198,093
 16           IRONHAWK-D_000050965-000050968
 17      1046 3/19/13 Trademark Application Summary
              IRONHAWK-D_000050969-000050972
 18      1047 Ironhawk Technologies, Inc. Profit & Loss January
 19           through December 2009
              IRONHAWK-D_000050998-000051005
 20      1048 Ironhawk Technologies, Inc. Profit & Loss
 21           January 2019
              IRONHAWK-D_000051907
 22
         1049 Ironhawk Technologies, Inc. Profit & Loss
 23           February 2019
              IRONHAWK-D_000051908
 24
         1050 Ironhawk Technologies, Inc. Profit & Loss
 25           April 1-4, 2019
              IRONHAWK-D_000051909
 26
         1051 Powerpoint presentation
 27           IRONHAWK-D_000047930
 28      1052 Ironhawk Technologies, Inc. Profit & Loss

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   1     Exh.                                                           Date         Date
                                 Description of Exhibit               Identified   Admitted
         No.
   2
                   March 2019
   3               IRONHAWK-D_000051911
   4     1053      GSA Dropbox Report
                   IRONHAWK-D_000051912-00051916
   5
         1054      December 10, 2018 e-mail from Jacob Hoefert to
   6               Mel Grimes
                   CACI000070
   7
         1055      December 10, 2018 e-mail from Jacob Hoefert to
   8               Mirela Tudor
                   CACI000099-CACI000100
   9
         1056      Google Query for “smartsync” 9/12/19 Google
 10                Search re smart sync
 11                IRONHAWK-D_000052159-000052161
         1057      Google Query for “smart sync” 9/12/19 Google
 12                Search re smartsync
 13                IRONHAWK-D_000052162-000052163
         1058      Google Query for “smartsync - dropbox”
 14      1059      GSA Search for “Ironhawk SmartSync”
 15      1060      GSA Search for “Smart Sync”
         1061      Exh. E to Patrick Kennedy’s Report
 16      1062      E-mail 4/5/18 from K. Marren to
 17                ohshoot@dropbox.com, DROPBOX_0000000004
         1063      E-mail 10/17/17 from M. Beaty to
 18                ohshoot@dropbox.com, DROPBOX_0000000008
 19      1064      Pro Ind/SMB: Naming & Description Qual Research
                   - Findings & Notes, DROPBOX_0000000071
 20
         1065      Project Infinite Naming Exercise,
 21                DROPBOX_0000000098
         1066      E-mail 9/27/16 from S. Vashee to J. Lyman,
 22
                   DROPBOX_0000000116
 23      1067      Smart Sync Competitive Landscape - Brainstorm /
                   WIP Updated 7/6/17, DROPBOX_0000000120
 24
         1068      SmartSync - compete analysis,
 25                DROPBOX_0000000124
 26      1069      Smart Sync landing page copy - Introducing Smart
                   Sync, DROPBOX_0000000141
 27      1070      Supernova Press Release Outline - Dropbox Moves
 28                to Become Unified Home for Team Collaboration,

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   DROPBOX_0000000151
   3     1071      Supernova Social Content Calendar.xlsx,
   4               DROPBOX_0000000161
         1072      ADP Retirement Services - SmartSync
   5
                   Comprehensive Plan Automation,
   6               DROPBOX_0000000162
         1073      Press Release: Connect and Share with New AT&T
   7
                   Baby Monitors, Available Exclusively at Baies "R"
   8               Us, DROPBOX_0000000165
   9     1074      Mark Information - SmartSync Probiotic Science,
                   DROPBOX_0000000171
 10      1075      SmartSync Probiotic Science Balancing Gel-Cream,
 11                DROPBOX_0000000173
         1076      Serta Motion Perfect III - Owner's Manual,
 12                DROPBOX_0000000174
 13      1077      Adjustable Bed Base: Ergomotion Softide 8300,
                   DROPBOX_0000000210
 14      1078      Dropbox Business - 3 ways Smart Sync makes it
 15                easier to manage space for your team,
                   DROPBOX_0000000218
 16      1079      Dropbox Business - 3 ways Smart Sync makes your
 17                team more productive, DROPBOX_0000000222
         1080      Dropbox Business - Bringing Dropbox Smart Sync
 18                to all teams, plus new team selective sync 4/5/18,
 19                DROPBOX_0000000227
         1081      Dropbox transforms teamwork with new products
 20                and business plans 1/30/17,
 21                DROPBOX_0000000232
         1082      Dropbox Business - Introducing Dropbox Smart
 22                Sync and new collaboration tools,
 23                DROPBOX_0000000234
         1083      Smart Sync and system extensions,
 24
                   DROPBOX_0000000246
 25      1084      Smart Sync for team admins,
                   DROPBOX_0000000254
 26
         1085      Spend less time searching, more time getting work
 27                done with Smart Sync, DROPBOX_0000000258
 28      1086      Sync files and folders - Easy file syncing,

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   DROPBOX_0000000262
   3     1087      IVCi - Smart Sync Classroom Management
   4               Software, DROPBOX_0000000266
         1088      Smart Sync LED Waterfall Control,
   5
                   DROPBOX_0000000281
   6     1089      Primex, Inc. - Smart-Sync Bridge,
                   DROPBOX_0000000292
   7
         1090      SmartSync Pro - File Synchronization, Data Backup,
   8               etc., DROPBOX_0000000298
   9     1091      SmartSync User Quick Start Guide,
                   DROPBOX_0000000300
 10      1092      Press Release: Marin Software Launches Smart
 11                Sync 6/24/15, DROPBOX_0000000316
         1093      CareLink SmartSync Device Manager - Medtronic,
 12                DROPBOX_0000000318
 13      1094      Salesforce.com - Using SmartSync Data Framework
                   in Native Apps, DROPBOX_0000000321
 14      1095      Soundmaster Group - Smart Transfer,
 15                DROPBOX_0000000325
         1096      SYNTevo - SmartSynchronize,
 16                DROPBOX_0000000327
 17      1097      SyncBackPro V7 PDF User Guide,
                   DROPBOX_0000000331
 18      1098      AT&T Smart Sync baby monitor support,
 19                DROPBOX_0000000813
         1099      SmartSync Probiotic Science Trademark Details,
 20
                   DROPBOX_0000000825
 21      1100      Smart Sync Break free from your hard drive,
                   DROPBOX_0000000830
 22
         1101      Smartsync Server Datasheet,
 23                DROPBOX_0000000837
 24      1102      HTC One M9 - What is Smart Sync?,
                   DROPBOX_0000000840
 25      1103      SmartSync Enterprise Software - Ironhawk
 26                Technologies, Inc., DROPBOX_0000000843
         1104      Synchronize Offlinw Changes with SmartSync Data
 27                Framework, DROPBOX_0000000847
 28      1105      Webland.CH SmartSync Manual,

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   DROPBOX_0000000871
   3     1106      ASCE - SmartSync: An Integrated Real-Time
   4               Structural Health Monitoring and Structural
                   Identification System for Tall Buildings,
   5
                   DROPBOX_0000000921
   6     1107      Serato - Smart Sync (Using Beatgrids),
                   DROPBOX_0000000925
   7
         1108      SmartSynch - Digital Grid - Siemens,
   8               DROPBOX_0000000926
   9     1109      Package Images - Ceiling Fan & Light Honeywell
                   Remote Control, DROPBOX_0000000927
 10      1110      Mark Information - SmartSync,
 11                DROPBOX_0000000930
         1111      Meeting Invitation: Infinite M2: naming 8/29/16
 12                from S. Charlton to various Dropbox employees,
 13                DROPBOX_0000000932
         1112      E-mail 1/23/18 from A. Akhtar to various Dropbox
 14                employees, DROPBOX_0000000934
 15      1113      E-mail 9/21/18 from A. Gupta to T. Erbay and A.
                   Fong, DROPBOX_0000000936
 16      1114      Cook Medical - Holmium Laser Fibers with
 17                SmartSync Technology, DROPBOX_0000000938
         1115      Smart Sync, Easy Data Sync and Backup Between
 18                Your Computers, DROPBOX_0000000942
 19      1116      E-mail 10/3/16 from P. Rowell to E. Reyes and B.
                   Glenn, DROPBOX_0000000949
 20      1117      Introducing Smart Sync, DROPBOX_0000000951
 21      1118      Introducing Infinite Sync, DROPBOX_0000000952
         1119      Introducing Streaming Sync,
 22
                   DROPBOX_0000000953
 23      1120      E-mail 5/9/17 from Blogtrottr to
                   shanee@dropbox.com, DROPBOX_0000000954
 24
         1121      E-mail 1/31/17 from Dropbox Paper to
 25                shanee@dropbox.com, DROPBOX_0000000957
 26      1122      Task Detail 7/2/18, DROPBOX_0000001010
         1123      Task Detail 8/20/18, DROPBOX_0000001011
 27      1124      E-mail 1/31/17 from S. Goel to S. Senapaty and G.
 28                O'Brien, DROPBOX_0000001012

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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1125 E-mail 1/31/17 from A. Fyne to E. Giansante,
   3          DROPBOX_0000001016
   4     1126 E-mail 1/30/17 from D. Iversen to A. Gormley and
              O. Stepanova, DROPBOX_0000001019
   5
         1127 E-mail 1/30/17 from S. Rochiramani to A. Gormley,
   6          DROPBOX_0000001023
         1128 E-mail 1/30/17 from J. McKenna to M.
   7
              Morgenstern, DROPBOX_0000001027
   8     1129 E-mail 1/30/17 from E. Suh to I. Kofman and X.
   9          Cai, DROPBOX_0000001031
         1130 E-mail 1/30/17 from C. Woods to I. Goldberg,
 10           DROPBOX_0000001034
 11      1131 E-mail 1/31/17 from Dropbox Paper to
              gs@dropbox.com, DROPBOX_0000001037
 12      1132 E-mail 1/31/17 from Z. Kagin to G. Sheehan,
 13           DROPBOX_0000001042
         1133 E-mail 1/31/17 from Dropbox Paper to
 14           gs@dropbox.com, DROPBOX_0000001045
 15      1134 E-mail 1/27/17 from Dropbox Paper to
              gs@dropbox.com, DROPBOX_0000001048
 16      1135 E-mail 1/5/17 from Dropbox Paper to
 17           gs@dropbox.com, DROPBOX_0000001052
         1136 E-mail 12/19/16 from Dropbox Paper to
 18           gs@dropbox.com, DROPBOX_0000001062
 19      1137 E-mail 12/16/16 from Dropbox Paper to
              gs@dropbox.com, DROPBOX_0000001067
 20
         1138 E-mail 9/18/16 from K. Watt to gs@dropbox.com,
 21           DROPBOX_0000001076
         1139 E-mail 9/17/16 from S. Vashee to gs@dropbox.com,
 22
              DROPBOX_0000001078
 23      1140 E-mail 8/19/16 from J. Lyman to gs@dropbox.com,
              DROPBOX_0000001085
 24
         1141 E-mail 8/18/16 from R. Cornuelle to
 25           gs@dropbox.com, DROPBOX_0000001089
 26      1142 E-mail 8/18/16 from J. Mar to gs@dropbox.com and
              others, DROPBOX_0000001091
 27      1143 Meeting Invitation: Infinite Naming Review
 28           8/18/16 from J. Mar, DROPBOX_0000001093

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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1144 E-mail 8/18/16 from K. Mathews to
   3          gs@dropbox.com and others,
   4          DROPBOX_0000001094
         1145 Meeting Invitation: Infinite Naming Review
   5
              8/18/16 from J. Mar, DROPBOX_0000001096
   6     1146 Meeting Invitation: Infinite Naming Regroup
              8/18/16 from J. Mar, DROPBOX_0000001097
   7
         1147 Meeting Invitation: Infinite Naming Regroup
   8          8/19/16 from J. Mar, DROPBOX_0000001098
   9     1148 E-mail 9/16/16 from S. Charlton to J. Lyman,
              DROPBOX_0000001099
 10      1149 E-mail 8/19/16 from J. Mar to P. Rowell,
 11           DROPBOX_0000001102
         1150 E-mail 8/18/16 from J. Mar to gs@dropbox.com and
 12           others, DROPBOX_0000001104
 13      1151 Meeting Invitation: Infinite Naming Review
              8/18/16 from J. Mar, DROPBOX_0000001106
 14      1152 E-mail 8/18/16 from K. Mathews to
 15           gs@dropbox.com and others,
              DROPBOX_0000001107
 16      1153 Meeting Invitation: Infinite Naming Review
 17           8/18/16 from J. Mar, DROPBOX_0000001109
         1154 Meeting Invitation: Infinite Naming Regroup
 18           8/18/16 from J. Mar, DROPBOX_0000001110
 19      1155 Meeting Invitation: Infinite Naming Regroup
              8/19/16 from J. Mar, DROPBOX_0000001111
 20      1156 E-mail 9/18/16 from K. Watt to
 21           sheila@dropbox.com, DROPBOX_0000001112
         1157 E-mail 8/18/16 from G. Sheehan to
 22
              sheila@dropbox.com, DROPBOX_0000001114
 23      1158 E-mail 8/30/16 from P. Rowell to K. Watt,
              DROPBOX_0000001120
 24
         1159 E-mail 8/18/16 from J. Mar to gs@dropbox.com and
 25           others, DROPBOX_0000001124
 26      1160 Meeting Invitation: Infinite Naming Regroup [Hold
              Time] 8/19/16 from J. Mar,
 27           DROPBOX_0000001125
 28      1161 E-mail 8/18/16 from K. Mathews to

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   gs@dropbox.com and others,
   3               DROPBOX_0000001126
   4     1162      Meeting Invitation: Infinite Naming Review
                   8/18/16 from J. Mar, DROPBOX_0000001128
   5
         1163      Meeting Invitation: Infinite Naming Review
   6               8/18/16 from J. Mar, DROPBOX_0000001129
         1164      Meeting Invitation: Infinite Naming Review
   7
                   8/18/16 from J. Mar, DROPBOX_0000001131
   8     1165      Meeting Invitation: Infinite Naming Review
   9               8/18/16 from J. Mar, DROPBOX_0000001132
         1166      Meeting Invitation: Infinite Naming Review
 10                8/18/16 from J. Mar, DROPBOX_0000001134
 11      1167      E-mail 8/30/16 from P. Rowell to J. Lyman,
                   DROPBOX_0000001135
 12      1168      E-mail 8/29/16 from K. Watt to J. Lyman,
 13                DROPBOX_0000001137
         1169      E-mail 8/20/16 from Dropbox Paper to J. Lyman,
 14                DROPBOX_0000001139
 15      1170      E-mail 8/18/16 from P. Rowell to J. Lyman,
                   DROPBOX_0000001141
 16      1171      Meeting Invitation: Updated Invitation: Infinite
 17                Naming Review 8/18/16 from K. Mathews,
                   DROPBOX_0000001143
 18      1172      Meeting Invitation: Infinite Naming Review
 19                8/18/16 from J. Mar, DROPBOX_0000001145
         1173      Meeting Invitation: Infinite Naming Regroup [Hold
 20                Time] 8/18/16 from J. Mar,
 21                DROPBOX_0000001146
         1174      Meeting Invitation: Infinite Naming Regroup [Hold
 22
                   Time] 8/19/16 from J. Mar,
 23                DROPBOX_0000001147
         1175      E-mail 8/18/16 from R. Cornuelle to J. Mar,
 24
                   DROPBOX_0000001148
 25      1176      E-mail 8/17/16 from J. Mar to C. Camacho,
 26                DROPBOX_0000001150
         1177      E-mail 8/17/16 from C. Larson to J. Mar,
 27                DROPBOX_0000001152
 28      1178      E-mail 8/18/16 from C. Larson to J. Mar,

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   DROPBOX_0000001154
   3     1179      Meeting Invitation: Infinite Naming Review
   4               8/18/16 from J. Mar, DROPBOX_0000001156
         1180      E-mail 8/18/16 from C. Baty to J. Mar,
   5
                   DROPBOX_0000001157
   6     1181      Meeting Invitation: Infinite Naming Review
                   8/18/16 from J. Mar, DROPBOX_0000001159
   7
         1182      E-mail 8/18/16 from P. Rowell to J. Mar,
   8               DROPBOX_0000001160
   9     1183      Meeting Invitation: Infinite Naming Review
                   8/18/16 from J. Mar, DROPBOX_0000001162
 10      1184      E-mail 8/18/16 from J. Lyman to J. Mar,
 11                DROPBOX_0000001163
         1185      Meeting Invitation: Infinite Naming Review
 12                8/18/16 from J. Mar, DROPBOX_0000001165
 13      1186      E-mail 8/18/16 from K. Watt to J. Mar,
                   DROPBOX_0000001166
 14      1187      Meeting Invitation: Infinite Naming Review
 15                8/18/16 from J. Mar, DROPBOX_0000001168
         1188      E-mail 8/18/16 from K. Mathews to J. Mar,
 16                DROPBOX_0000001169
 17      1189      Meeting Invitation: Infinite Naming Review
                   8/18/16 from J. Mar, DROPBOX_0000001171
 18      1190      E-mail 8/18/16 from G. Sheehan to J. Mar,
 19                DROPBOX_0000001172
         1191      Meeting Invitation: Infinite Naming Review
 20
                   8/18/16 from J. Mar, DROPBOX_0000001174
 21      1192      E-mail 8/18/16 from C. Camacho to J. Mar,
                   DROPBOX_0000001175
 22
         1193      Meeting Invitation: Infinite Naming Review
 23                8/18/16 from J. Mar, DROPBOX_0000001177
 24      1194      E-mail 8/18/16 from Chinook (conference room) to
                   J. Mar, DROPBOX_0000001178
 25      1195      Meeting Invitation: Infinite Naming Review
 26                8/18/16 from J. Mar, DROPBOX_0000001180
         1196      E-mail 8/18/16 from K. Mathews to J. Mar and other
 27                team members, DROPBOX_0000001181
 28      1197      E-mail 8/18/16 from Chinook (conference room) to

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   J. Mar, DROPBOX_0000001183
   3     1198      E-mail 8/18/16 from R. Cornuelle to J. Mar,
   4               DROPBOX_0000001184
         1199      E-mail 8/18/16 from Chinook (conference room) to
   5
                   J. Mar, DROPBOX_0000001186
   6     1200      E-mail 8/18/16 from G. Sheehan to J. Mar,
                   DROPBOX_0000001187
   7
         1201      Meeting Invitation: Infinite Naming Regroup [Hold
   8               Time] 8/18/16 from J. Mar,
   9               DROPBOX_0000001188
         1202      E-mail 8/18/16 from J. Szymanski to J. Mar,
 10                DROPBOX_0000001189
 11      1203      Meeting Invitation: Infinite Naming Review
                   8/18/16 from J. Mar, DROPBOX_0000001191
 12      1204      E-mail 8/18/16 from P. Rowell to J. Mar,
 13                DROPBOX_0000001192
         1205      Meeting Invitation: Infinite Naming Regroup [Hold
 14                Time] 8/19/16 from J. Mar,
 15                DROPBOX_0000001193
         1206      E-mail 8/18/16 from J. Lyman to J. Mar,
 16                DROPBOX_0000001194
 17      1207      Meeting Invitation: Infinite Naming Regroup [Hold
                   Time] 8/19/16 from J. Mar,
 18                DROPBOX_0000001195
 19      1208      E-mail 8/19/16 from C. Baty to J. Mar,
                   DROPBOX_0000001196
 20      1209      Meeting Invitation: Infinite Naming Regroup [Hold
 21                Time] 8/19/16 from J. Mar,
                   DROPBOX_0000001197
 22
         1210      E-mail 8/24/16 from Dropbox Paper to
 23                arash@dropbox.com, DROPBOX_0000001198
         1211      E-mail 8/19/16 from Dropbox Paper to
 24
                   arash@dropbox.com, DROPBOX_0000001210
 25      1212      E-mail 4/26/16 from Blogtrottr to
 26                shanee@dropbox.com, DROPBOX_0000001254
         1213      E-mail 1/31/17 from Dropbox Paper to
 27                bn@dropbox.com, DROPBOX_0000001257
 28      1214      E-mail 1/31/17 from Dropbox Paper to

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   bn@dropbox.com, DROPBOX_0000001261
   3     1215      E-mail 1/30/17 from I. Goldberg to sync-quality-
   4               team, DROPBOX_0000001263
         1216      E-mail 1/27/17 from Dropbox Paper to
   5
                   bn@dropbox.com, DROPBOX_0000001266
   6     1217      E-mail 1/5/17 from Dropbox Paper to
                   bn@dropbox.com, DROPBOX_0000001269
   7
         1218      E-mail 12/19/16 from Dropbox Paper to
   8               bn@dropbox.com, DROPBOX_0000001279
   9     1219      E-mail 12/16/16 from Dropbox Paper to
                   bn@dropbox.com, DROPBOX_0000001287
 10      1220      E-mail 12/14/16 from Dropbox Paper to
 11                bn@dropbox.com, DROPBOX_0000001295
         1221      E-mail 11/30/16 from Dropbox Paper to
 12                bn@dropbox.com, DROPBOX_0000001331
 13      1222      E-mail 8/18/16 from G. Sheehan to
                   bn@dropbox.com, DROPBOX_0000001357
 14      1223      E-mail 1/31/17 from Dropbox Paper to
 15                haven@dropbox.com, DROPBOX_0000001359
         1224      E-mail 1/27/17 from Dropbox Paper to
 16                haven@dropbox.com, DROPBOX_0000001364
 17      1225      E-mail 1/31/17 from Dropbox Paper to
                   haven@dropbox.com, DROPBOX_0000001367
 18      1226      E-mail 1/5/17 from Dropbox Paper to
 19                haven@dropbox.com, DROPBOX_0000001371
         1227      E-mail 12/19/16 from Dropbox Paper to
 20
                   haven@dropbox.com, DROPBOX_0000001381
 21      1228      E-mail 12/16/16 from Dropbox Paper to
                   haven@dropbox.com, DROPBOX_0000001389
 22
         1229      E-mail 12/14/16 from Dropbox Paper to
 23                haven@dropbox.com, DROPBOX_0000001397
 24      1230      E-mail 11/30/16 from Dropbox Paper to
                   haven@dropbox.com, DROPBOX_0000001433
 25      1231      Streak clean up 09.23.15.xlsx,
 26                DROPBOX_0000001459
         1232      E-mail 10/13/16 from G. Sheehan to J. Lyman; K.
 27                Watt, DROPBOX_0000001461
 28      1233      E-mail 10/10/16 from J. Lyman to K. Watt; J. Xuan;

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   N. Maasdorp; K. Williams,
   3               DROPBOX_0000001463
   4     1234      E-mail 10/9/16 from S. Vashee to T. Jackson and
                   other team members, DROPBOX_0000001465
   5
         1235      E-mail 10/9/16 from T. Jackson to A. Agarwal and
   6               other team members, DROPBOX_0000001466
         1236      E-mail 10/9/16 from A. Agarwal to T. Jackson and
   7
                   other team members, DROPBOX_0000001467
   8     1237      E-mail 10/7/16 from G. Sheehan to J. Lyman; S.
   9               Vashee; P. Rowell; K. Watt,
                   DROPBOX_0000001468
 10      1238      E-mail 10/7/16 from P. Rowell to various Dropbox
 11                employees, DROPBOX_0000001470
         1239      E-mail 10/3/16 from K. Watt to J. Lyman,
 12                DROPBOX_0000001471
 13      1240      E-mail 9/29/16 from S. Vashee to K. Watt; G.
                   O'Brien, DROPBOX_0000001473
 14      1241      E-mail 9/29/16 from G. Sheehan to S. Vashee and
 15                other team members, DROPBOX_0000001475
         1242      E-mail 9/28/16 from K. Watt to J. Lyman,
 16                DROPBOX_0000001476
 17      1243      E-mail 9/20/16 from S. Vashee to P. Rowell; J.
                   Lyman; K. Watt, DROPBOX_0000001479
 18      1244      E-mail 9/19/16 from P. Rowell to A. Ferdowsi; S.
 19                Vashee, DROPBOX_0000001482
         1245      E-mail 9/19/16 from T. Jackson to A. Ferdowsi and
 20                other team members, DROPBOX_0000001484
 21      1246      E-mail 9/19/16 from S. Vashee to P. Rowell and
                   other team members, DROPBOX_0000001486
 22
         1247      E-mail 9/18/16 from P. Rowell to J. Lyman,
 23                DROPBOX_0000001487
         1248      E-mail 10/25/16 from B. Newhouse to team-infinite,
 24
                   DROPBOX_0000001489
 25      1249      E-mail 9/30/16 from Dropbox Paper to
 26                arash@dropbox.com, DROPBOX_0000001496
         1250      E-mail 9/28/16 from S. Vashee to A. Ferdowsi,
 27                DROPBOX_0000001505
 28      1251      E-mail 9/28/16 from A. Ferdowsi to D. Houston,

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   DROPBOX_0000001508
   3     1252      E-mail 9/28/16 from S. Vashee to A. Ferdowsi,
   4               DROPBOX_0000001511
         1253      E-mail 9/27/16 from S. Vashee to T. Jackson; A.
   5
                   Ferdowsi; P. Rowell, DROPBOX_0000001514
   6     1254      E-mail 9/18/16 from Dropbox Paper to
                   arash@dropbox.com, DROPBOX_0000001520
   7
         1255      E-mail 9/6/16 from Dropbox Paper to
   8               arash@dropbox.com, DROPBOX_0000001522
   9     1256      E-mail 9/3/16 from Dropbox Paper to
                   arash@dropbox.com, DROPBOX_0000001532
 10      1257      Pixel image, DROPBOX_0000001544
 11      1258      E-mail 9/18/16 from P. Rowell to
                   sheila@dropbox.com, DROPBOX_0000001549
 12      1259      E-mail 9/7/16 from C. Whitehead to S. Vashee; P.
 13                Rowell; G. Mishnyakova; C. Chung; S. Charlton,
                   DROPBOX_0000001552
 14      1260      E-mail 9/6/16 from S. Vashee to S. Charlton,
 15                DROPBOX_0000001554
         1261      E-mail 9/27/16 from P. Rowell to S. Charlton; C.
 16                Whitehead; S. Vashee, DROPBOX_0000001556
 17      1262      E-mail 9/27/16 from P. Rowell to S. Charlton; C.
                   Whitehead; S. Vashee, DROPBOX_0000001561
 18      1263      E-mail 9/28/16 from P. Rowell to S. Vashee,
 19                DROPBOX_0000001567
         1264      E-mail 10/25/16 from B. Newhouse to team-infinite,
 20
                   DROPBOX_0000001572
 21      1265      E-mail 10/8/16 from T. Jackson to P. Rowell,
                   DROPBOX_0000001576
 22
         1266      E-mail 10/8/16 from P. Rowell to T. Jackson,
 23                DROPBOX_0000001577
 24      1267      E-mail 10/3/16 from K. Watt to P. Rowell,
                   DROPBOX_0000001578
 25      1268      E-mail 10/3/16 from P. Rowell to T. Zukoski,
 26                DROPBOX_0000001580
         1269      E-mail 9/29/16 from P. Rowell to K. Watt,
 27                DROPBOX_0000001585
 28      1270      E-mail 9/28/16 from K. Watt to P. Rowell,

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   DROPBOX_0000001586
   3     1271      E-mail 9/18/16 from K. Watt to P. Rowell,
   4               DROPBOX_0000001589
         1272      E-mail 9/17/16 from S. Vashee to P. Rowell,
   5
                   DROPBOX_0000001591
   6     1273      E-mail 9/13/16 from P. Rowell to J. Mar,
                   DROPBOX_0000001599
   7
         1274      E-mail 9/19/16 from K. Watt to J. Mar; P. Rowell,
   8               DROPBOX_0000001600
   9     1275      E-mail 11/29/16 from M. Beaty to K. Watt,
                   DROPBOX_0000001602
 10      1276      E-mail 9/28/16 from C. Camacho to K. Watt,
 11                DROPBOX_0000001604
         1277      E-mail 12/15/16 from Dropbox Paper to
 12                bn@dropbox, DROPBOX_0000001606
 13      1278      E-mail 12/12/16 from Dropbox Paper to
                   bn@dropbox, DROPBOX_0000001610
 14      1279      E-mail 1/12/17 from D. Lee to M. Beaty; N. Rolph;
 15                B. Newhouse; A. Sawyer, DROPBOX_0000001614
         1280      E-mail 1/12/17 from D. Lee to M. Beaty; N. Rolph;
 16                B. Newhouse; A. Sawyer, DROPBOX_0000001621
 17      1281      E-mail 1/12/17 from M. Beaty to D. Lee; N. Rolph;
                   B. Newhouse; A. Sawyer, DROPBOX_0000001629
 18      1282      E-mail 10/26/16 from R. Baesman to B. Newhouse,
 19                DROPBOX_0000001637
         1283      E-mail 10/7/16 from G. Sheehan to G. O'Brien; M.
 20
                   Beaty; Y. Wei; N. Rolph; B. Newhouse,
 21                DROPBOX_0000001641
         1284      E-mail 11/9/16 from K. Watt to J. Mar,
 22
                   DROPBOX_0000001642
 23      1285      E-mail 11/17/16 from K. Watt to
                   shanee@dropbox.com, DROPBOX_0000001644
 24
         1286      E-mail 9/19/16 from G. O'Brien to G. Sheehan,
 25                DROPBOX_0000001646
 26      1287      E-mail 9/19/16 from G. Sheehan to G. O'Brien,
                   DROPBOX_0000001648
 27      1288      E-mail 9/16/16 from P. Rowell to gs@dropbox,
 28                DROPBOX_0000001649

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   1     Exh.                                                          Date         Date
                               Description of Exhibit                Identified   Admitted
         No.
   2
         1289 E-mail 9/14/16 from K. Watt to gs@dropbox.com,
   3          DROPBOX_0000001651
   4     1290 E-mail 9/6/16 from S. Charlton to various team
              members, DROPBOX_0000001654
   5
         1291 E-mail 12/12/16 from Dropbox Paper to
   6          haven@dropbox, DROPBOX_0000001656
         1292 E-mail 12/15/16 from Dropbox Paper to
   7
              haven@dropbox, DROPBOX_0000001660
   8     1293 Pioneer Smart Sync, DROPBOX_0000001664
   9     1294 Narrative Directions - Infinite Branding Technology,
              DROPBOX_0000001672
 10      1295 Graph & Charts - Infinite, DROPBOX_0000001674
 11      1296 Selective Sync on your Desktop or Laptop,
              DROPBOX_0000001799
 12      1297 Dropbox Partner Network - Managing Locally
 13           Stored Folders on Your Hard Drive with Selective
              Sync, DROPBOX_0000001800
 14      1298 Sales & Marketing Totals 2011-2015,
 15           DROPBOX_0000001817
         1299 E-mail 1/17/17 from K. Watt to J. Lyman,
 16           DROPBOX_0000001865
 17      1300 E-mail 1/17/17 from N. Han to J. Lyman,
              DROPBOX_0000001867
 18      1301 E-mail 1/13/17 from C. Bateman to N. Han; J.
 19           Lyman; J. Bauer, DROPBOX_0000001874
         1302 E-mail 1/16/17 from S. Stevens to N. Han,
 20
              DROPBOX_0000001879
 21      1303 E-mail 10/5/16 from B. Volkmer to N. Han; W.
              Yoon, DROPBOX_0000001891
 22
         1304 Word Processing, What's New, What's Next, PC
 23           Magazine, November 9, 1993, Vol. 12, No. 19,
              DROPBOX_0000001921
 24
         1305 The Annual Awards for Technical Excellence,
 25           SmartSync: Easy File Coordination, PC Magazine,
 26           December 21, 1993, Vol. 12, No. 22,
              DROPBOX_0000001928
 27      1306 1994 ComputerWorld article on SmartSync product
 28           by Nomadic Systems, DROPBOX_0000001934

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   1     Exh.                                                     Date         Date
                              Description of Exhibit            Identified   Admitted
         No.
   2
         1307 SmartSync Software License Agreement,
   3          DROPBOX_0000001935
   4     1308 Taurus Launch: Smart Sync,
              DROPBOX_0000002013
   5
         1309 Professional onboarding smart sync,
   6          DROPBOX_0000002017
         1310 E-mail Onboarding, DROPBOX_0000002021
   7
         1311 Dropbox - Smart Sync, DROPBOX_0000002031
   8     1312 Taurus launch emails, DROPBOX_0000002039
   9     1313 Taurus Reporting: Week 1 report,
              DROPBOX_0000002048
 10      1314 Taurus SEM, DROPBOX_0000002065
 11      1315 [Taurus launch] Smart Sync messaging,
              DROPBOX_0000002069
 12      1316 Dropbox, Inc. - Form 10-K,
 13           DROPBOX_0000002478
         1317 Streak clean up 09.23.15.csv,
 14           DROPBOX_0000002589
 15      1318 Dealflow Overview-09-23-15 2-58pm.csv,
              DROPBOX_0000002590
 16      1319 Chart - Revenue 2008-2017,
 17           DROPBOX_0000002609
         1320 Smart Sync Upsell: Client onboarding,
 18           DROPBOX_0000002845
 19      1321 Smart Sync Upsell: Low disk space notification
              experiment, DROPBOX_0000002859
 20
         1322 Smart Sync Upsell: Sync tab,
 21           DROPBOX_0000002867
         1323 [Results] Smart Sync Upsell: Client onboarding,
 22
              DROPBOX_0000002876
 23      1324 E-mail 4/20/16 from C. Bateman to
 24           sheila@dropbox.com, DROPBOX_0000002896
         1325 E-mail 4/21/16 from C. Bateman to N. Han; J.
 25           Lyman; W. Yoon, DROPBOX_0000002899
 26      1326 E-mail 4/21/16 from N. Han to J. Lyman; C.
              Bateman; W. Yoon, DROPBOX_0000002901
 27      1327 E-mail 4/21/16 from W. Yoon to J. Mar,
 28           DROPBOX_0000002902

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   1     Exh.                                                         Date         Date
                              Description of Exhibit                Identified   Admitted
         No.
   2
         1328 E-mail 4/20/16 from N. Han to J. Lyman,
   3          DROPBOX_0000002904
   4     1329 E-mail 9/15/16 from B. Volkmer to N. Han; W.
              Yoon, DROPBOX_0000002913
   5
         1330 E-mail 9/14/16 from N. Han to B. Volkmer,
   6          DROPBOX_0000002918
         1331 intelligent definition in the Cambridge Dictionary,
   7
              DROPBOX_0000002927
   8     1332 intelligent definition in the Oxford Dictionary,
   9          DROPBOX_0000002932
         1333 smart definition in the Cambridge Dictionary,
 10           DROPBOX_0000002935
 11      1334 smart definition in the Oxford Dictionary,
              DROPBOX_0000002942
 12      1335 SYNC definition in the Cambridge Dictionary,
 13           DROPBOX_0000002945
         1336 Ironhawk in the News 3/19/19,
 14           DROPBOX_0000002983
 15      1337 Image of EVC procedure 6/30/15,
              DROPBOX_0000003045
 16      1338 SmartSync Integration Solution - Self Assessment,
 17           IRONHAWK000006928
         1339 Software Distribution License Agreement 9/10/12,
 18           IRONHAWK000009591
 19      1340 IDC DM3 AMSEC License Agreement,
              IRONHAWK000010902
 20
         1341 Ironhawk Technologies, Inc. Project Ignite
 21           Executive Summary April 2014,
              IRONHAWK000013947
 22
         1342 Ironhawk Technologies, Inc. Software Development
 23           Proposal and Statement of Work ROM - E3 Client
              Management Portal 9/5/17, IRONHAWK000020255
 24
         1343 Ironhawk Statement of Work Summary Review - E3
 25           Client Management Portal, IRONHAWK000020374
 26      1344 Ironhawk Technologies, Inc. Sales by Customer
              Detail January through December 2013,
 27           IRONHAWK000028422
 28      1345 Ironhawk Technologies, Inc. Profit & Loss April

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   through June 2017, IRONHAWK000042168
   3     1346      Integrated Data Corporation Business Plan,
   4               IRONHAWK-D_000000167
         1347      IDC - Integrated Data Corporation Board of
   5
                   Directors Meeting 1/15/2007 - 1/16/2007,
   6               IRONHAWK-D_000000633
         1348      Article - Cutting Edge Trio, Los Angeles Business
   7
                   Journal, August 8, 2005, IRONHAWK-
   8               D_000001245
   9     1349      Integrated Data Corporation Balance Sheet as of
                   December 31, 2003, IRONHAWK-D_000001347
 10      1350      Integrated Data Corporation Balance Sheet as of
 11                December 31, 2005, IRONHAWK-D_000001352
         1351      Integrated Data Corporation Balance Sheet as of
 12                December 31, 2001, IRONHAWK-D_000001357
 13      1352      Integrated Data Corporation Balance Sheet as of
                   December 31, 2004, IRONHAWK-D_000001360
 14      1353      Integrated Data Corporation Balance Sheet as of
 15                December 31, 2006, IRONHAWK-D_000001365
         1354      Integrated Data Corporation Balance Sheet as of
 16                April 30, 2007, IRONHAWK-D_000001417
 17      1355      Integrated Data Corporation 2007 Income Statement
                   Projections, IRONHAWK-D_000002735
 18      1356      Integrated Data Corporation 2007 Income Statement
 19                Projections, IRONHAWK-D_000002815
         1357      Integrated Data Corporation 2007 Income Statement
 20                Projections, IRONHAWK-D_000002864
 21      1358      E-mail 4/14/08 from J. Anders to R. Westwater; D.
                   Gomes, M. Pierrat, IRONHAWK-D_000007424
 22
         1359      IDC - Business Case Analysis - Army-Wide
 23                Implementation of SmartSync Software 2/21/2007,
                   IRONHAWK-D_000010399
 24
         1360      E-mail 5/20/09 from R. Srinivasan to D. Gomes and
 25                N. Castrinos, IRONHAWK-D_000011571
 26      1361      Ironhawk Technologies, Inc. Current Top Five
                   Contract Opportunities 5/26/09, IRONHAWK-
 27                D_000011625
 28      1362      Ironhawk Technologies, Inc. Delivering Decision

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   1     Exh.                                                            Date         Date
                                  Description of Exhibit               Identified   Admitted
         No.
   2
                   Critical Data, IRONHAWK-D_000011678
   3     1363      Letter 9/9/09 from T. Arendt to C. Pilgrim,
   4               IRONHAWK-D_000011775
         1364      E-mail 7/21/10 from J. Anders to P. McGuire, D.
   5
                   Gomes, N. Castrinos, IRONHAWK-D_000012722
   6     1365      Ironhawk Technologies, Inc. Profit & Loss January
                   through December 2009, IRONHAWK-
   7
                   D_000014861
   8     1366      Ironhawk Technologies, Inc. Past Performance -
   9               Primary - LOGSA Data Compression Contract,
                   IRONHAWK-D_000014893
 10      1367      Requisition No. PR334327 issued on 8/23/12,
 11                IRONHAWK-D_000014993
         1368      Software Distribution License Agreement 9/10/12,
 12                IRONHAWK-D_000015096
 13      1369      Sales Visibility List1.1.13.xlsx, IRONHAWK-
                   D_000015440
 14      1370      Software Distribution License Agreement 8/20/12,
 15                IRONHAWK-D_000015448
         1371      CERDEC / RDECOM Data Compression Quotation
 16                - U.S. Army REDCOM 5/16/13, IRONHAWK-
 17                D_000016798
         1372      Ironhawk Technologies, Inc. Profit & Loss January
 18                through December 2012, IRONHAWK-
 19                D_000017513
         1373      CERDEC / RDECOM Data Compression Quotation
 20                - Joe LaRuffa 1/13/14, IRONHAWK-D_000019317
 21      1374      Ironhawk Technologies, Inc. Ironhawk Revenue
                   Breakdown by Customer, IRONHAWK-
 22                D_000019615
 23      1375      Ironhawk Technologies, Inc. Ironhawk Revenue
                   Breakdown by Channel/ End Market, IRONHAWK-
 24
                   D_000019617
 25      1376      EmbeddedObject_04.xlsx, IRONHAWK-
                   D_000019711
 26
         1377      IGNITE - Leading Provider of Compression
 27                Optimization, IRONHAWK-D_000019721
 28      1378      Ironhawk Technologies, Inc. Smart Sync verses

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   WinZip Study, IRONHAWK-D_000020662
   3     1379      Ironhawk Technologies, Inc. SmartSync versus
   4               WAN Accelerators Study, IRONHAWK-
                   D_000020668
   5
         1380      Ironhawk Technologies, Inc. Balance Sheet as of
   6               March 31, 2014, IRONHAWK-D_000020981
         1381      Project IGNITE - Forecast Model 9-17-2014.xlsx,
   7
                   IRONHAWK-D_000021619
   8     1382      Ironhawk - Financial Forecast Model REVISED
   9               FORMAT 10-21-2014.xlsx, IRONHAWK-
                   D_000022032
 10      1383      Ironhawk - Financial Forecast Model REVISED
 11                FORMAT 10-21-2014.xlsx, IRONHAWK-
                   D_000022034
 12      1384      Ironhawk - Financial Forecast Model REVISED
 13                FORMAT 11-03-2014.xlsx, IRONHAWK-
                   D_000022419
 14      1385      Ironhawk - Financial Forecast Labor Only.xlsx,
 15                IRONHAWK-D_000022421
         1386      Ironhawk - Financial Forecast Model REVISED
 16                FORMAT 11-17-2014.xlsx, IRONHAWK-
 17                D_000022423
         1387      Ironhawk - Financial Forecast Model REVISED
 18                FORMAT 11-17-2014.xlsx, IRONHAWK-
 19                D_000022425
         1388      Copy of Ironhawk - Financial Forecast Model
 20                REVISED FORMAT 11-17-2014.xlsx,
 21                IRONHAWK-D_000022459
         1389      Ironhawk - Financial Forecast Model REVISED
 22                FORMAT 11-25-2014.xlsx, IRONHAWK-
 23                D_000022461
         1390      Ironhawk - Financial Forecast Model REVISED
 24
                   FORMAT 11-25-2014.xlsx, IRONHAWK-
 25                D_000022463
         1391      Sole Source Justification: Multi-Media Presentation
 26
                   development of Data Distribution Standards board
 27                RFP, IRONHAWK-D_000022802
         1392      Sole Source Justification: Multi-Media Presentation
 28
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   development of Data Distribution Standards board
   3               and Supporitng Structures RFP, IRONHAWK-
   4               D_000022915
         1393      Ironhawk - Financial Forecast Model REVISED
   5
                   ACCRUAL REVERSAL 12-26-14.xlsx,
   6               IRONHAWK-D_000022970
         1394      Sole Source Justification: Multi-Media Presentation
   7
                   development of Data Distribution Standards board
   8               and Supporitng Structures RFP, IRONHAWK-
                   D_000022972
   9
         1395      Sole Source Justification: Multi-Media Presentation
 10                development of Data Distribution Standards board
                   and Supporitng Structures RFP, IRONHAWK-
 11
                   D_000023027
 12      1396      Sole Source Justification: Multi-Media Presentation
 13                development of Data Distribution Standards board
                   and Supporitng Structures RFP, IRONHAWK-
 14                D_000023272
 15      1397      Sole Source Justification: Multi-Media Presentation
                   development of Data Distribution Standards board
 16                and Supporitng Structures RFP, IRONHAWK-
 17                D_000023666
         1398      Sole Source Justification: Multi-Media Presentation
 18                development of Data Distribution Standards board
 19                and Supporitng Structures RFP, IRONHAWK-
                   D_000023728
 20      1399      Sole Source Justification: Multi-Media Presentation
 21                development of Data Distribution Standards board
                   and Supporitng Structures RFP, IRONHAWK-
 22                D_000023790
 23      1400      Sole Source Justification: Multi-Media Presentation
                   development of Data Distribution Standards board
 24                and Supporitng Structures RFP, IRONHAWK-
 25                D_000023852
         1401      Ironhawk - Financial Forecast Model REVISED
 26                Actual 2014 01-15-2015.xlsx, IRONHAWK-
 27                D_000023914
         1402      Ironhawk - Financial Forecast Model REVISED
 28
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   Actual 2014 01-15-2015.xlsx, IRONHAWK-
   3               D_000023916
   4     1403      Ironhawk Technologies Contract Past Performance,
                   IRONHAWK-D_000024006
   5
         1404      Report_from_IRONHAWK_TECHNOLOGIES,_IN
   6               C..xlsx, IRONHAWK-D_000024564
         1405      Ironhawk Technologies, Inc. Transaction List by
   7
                   Vendor 3/17/15, IRONHAWK-D_000024569
   8     1406      Appendix E Licensor and Distributor Approved
   9               Competitor List, IRONHAWK-D_000025678
         1407      Ironhawk - Financial Forecast Model REVISED
 10                Actual 2014 01-15-2015.xlsx, IRONHAWK-
 11                D_000025921
         1408      Ironhawk - Financial Forecast Model REVISED
 12                Actual 2014 01-15-2015.xlsx, IRONHAWK-
 13                D_000025923
         1409      Reference Materials - Oppenheimer June 2015,
 14                IRONHAWK-D_000026198
 15      1410      Reference Materials - Oppenheimer June 2015,
                   IRONHAWK-D_000026205
 16      1411      Solicitation, Offer and Award 9/5/15, IRONHAWK-
 17                D_000028456
         1412      Westwater, Raymond - Content Distribution
 18                Frameworks: A Competitive Analysis,
 19                IRONHAWK-D_000029743
         1413      Letter 12/15/15 from D. Gomes to W. Jiang,
 20                IRONHAWK-D_000030485
 21      1414      Ironhawk Technologies, Inc. - Project IGNITE
                   Reference Materials - January 2016, IRONHAWK-
 22                D_000030833
 23      1415      Rev Waterfall backup 1-16.xlsx, IRONHAWK-
                   D_000030881
 24
         1416      E-mail 2/5/16 from D. Gomes to J. Welch; D.
 25                Peyton; B. Hirou, IRONHAWK-D_000030933
 26      1417      Ironhawk Technologies, Inc. - Project IGNITE
                   Reference Materials - February 2016, IRONHAWK-
 27                D_000031033
 28      1418      SmartSync Licensing Options for U.S. Navy Littoral

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   Combat Ships, IRONHAWK-D_000031183
   3     1419      SmartSync Licensing Options for U.S. Navy Littoral
   4               Combat Ships, IRONHAWK-D_000031189
         1420      SmartSync Licensing Options for U.S. Navy Littoral
   5
                   Combat Ships, IRONHAWK-D_000031195
   6     1421      SmartSync Modification Quotation 5/2/16 to
                   Roberta Starr, IRONHAWK-D_000031466
   7
         1422      Ironhawk SmartSync Client Agent for iOS Pre-
   8               Development Analysis for Project Scope 5/3/16,
   9               IRONHAWK-D_000031473
         1423      SmartSync Licensing Options for U.S. Navy Littoral
 10                Combat Ships, IRONHAWK-D_000033107
 11      1424      Ironhawk Technologies, Inc. - Project IGNITE
                   Executive Summary August 2016, IRONHAWK-
 12                D_000033127
 13      1425      SmartSync SAAS Proposal & Statement of Work
                   10/3/16, IRONHAWK-D_000033459
 14      1426      E-mail 10/27/16 from D. Gomes to M. Lippert,
 15                IRONHAWK-D_000033753
         1427      Teaming Agreement 7/11/16, IRONHAWK-
 16                D_000033754
 17      1428      SmartSync Software As A Service (SAAS)
                   Agreement 12/15/15 between Ironhawk
 18                Technologies, Inc. and IBM, IRONHAWK-
 19                D_000034457
         1429      E-mail 1/22/17 from D. Gomes to various
 20                individuals - Ironhawk 2017 Shareholder Update,
 21                IRONHAWK-D_000034536
         1430      Solicitation/Contract/Order for Commercial Items
 22                3/9/17, IRONHAWK-D_000034815
 23      1431      E-mail 3/24/17 from D. Gomes to R. Gill,
                   IRONHAWK-D_000034928
 24
         1432      E-mail 3/26/17 from R. Gill to D. Gomes,
 25                IRONHAWK-D_000034930
 26      1433      E-mail 4/17/17 from D. Gomes to R. Gill,
                   IRONHAWK-D_000035011
 27      1434      Reference Materials - Oppenheimer June 2015,
 28                IRONHAWK-D_000035131

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   1     Exh.                                                          Date         Date
                               Description of Exhibit                Identified   Admitted
         No.
   2
         1435 E-mail 5/5/17 from M. Foye to D. Gomes,
   3          IRONHAWK-D_000035393
   4     1436 E-mail 7/10/17 from D. Gomes to M. Lippert,
              IRONHAWK-D_000037147
   5
         1437 Program Information - TDKM, IRONHAWK-
   6          D_000037795
         1438 SmartSync Licensing Options for U.S. Navy Littoral
   7
              Combat Ships, IRONHAWK-D_000039079
   8     1439 U.S. Army Logistics - Dual-band SATCOM On the
   9          Move, IRONHAWK-D_000041691
         1440 E-mail 6/30/10 from J. Anders to R. Gill and M.
 10           Pierrat, IRONHAWK-D_000041747
 11      1441 E-mail 7/1/10 from J. Anders to R. Gill; M. Pierrat;
              N. Castrinos; P. McGuire; T. Arendt, IRONHAWK-
 12           D_000041748
 13      1442 E-mail 4/7/11 from J. Anders to R. Gill; P. McGuire;
              M. Pierrat, IRONHAWK-D_000042154
 14      1443 1.5 Product Names - Current Naming,
 15           IRONHAWK-D_000042156
         1444 E-mail 11/26/13 from D. Gomes to G. Krausz,
 16           IRONHAWK-D_000044592
 17      1445 Ironhawk Technologies, Inc. Expenses by Vendor
              Summary April 1, 2001 through March 17, 2015,
 18           IRONHAWK-D_000045101
 19      1446 Reference Materials - Oppenheimer June 2015,
              IRONHAWK-D_000045401
 20      1447 Reference Materials - Oppenheimer June 2016,
 21           IRONHAWK-D_000045408
         1448 E-mail 1/19/16 from R. Gill to D. Gomes,
 22
              IRONHAWK-D_000045664
 23      1449 E-mail 1/31/17 from D. Gomes to
              william.t.ward3.civ@mail.mil; R. Gill,
 24
              IRONHAWK-D_000045775
 25      1450 E-mail 2/22/17 from D. Gomes to D. Gomes,
 26           IRONHAWK-D_000045816
         1451 E-mail 4/2/17 from R. Gill to D. Gomes,
 27           IRONHAWK-D_000046214
 28      1452 E-mail 4/2/17 from D. Gomes to R. Gill,

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   1     Exh.                                                           Date         Date
                                  Description of Exhibit              Identified   Admitted
         No.
   2
                   IRONHAWK-D_000046215
   3     1453      E-mail 4/27/17 from D. Gomes to R. Gill,
   4               IRONHAWK-D_000046256
         1454      Reference Materials - Oppenheimer June 2015,
   5
                   IRONHAWK-D_000046288
   6     1455      E-mail 5/8/17 from Upwork Notification to D.
                   Gomes, IRONHAWK-D_000046296
   7
         1456      Ironhawk 2016 Year in Review, IRONHAWK-
   8               D_000046391
   9     1457      Archive00395568.xlsx, IRONHAWK-
                   D_000046462
 10      1458      Deposition of David Peyton (Ironhawk v.
 11                Salesforce) 9/7/18, IRONHAWK-D_000046563-
                   000046662
 12      1459      Deposition of Susan Indermill (Ironhawk v.
 13                Salesforce) 10/18/18, IRONHAWK-D_000046693-
                   000046907
 14      1460      Ironhawk Marketing Activities/Tasks [prepared by
 15                Steven Mason], IRONHAWK-D_000047676
         1461      Ironhawk Press Release: Ironhawk Awarded
 16                Contract to Become Premium Supplier to IBM to
 17                Enhance the IBM MaaS360 Enterprise Mobility
                   Management (EMM) on the Apple iOS Platform
 18                11/4/16, IRONHAWK-D_000047840
 19      1462      E-mail 2/13/19 from K. Brooks to L. Brody,
                   IRONHAWK-D_000047974
 20      1463      E-mail 2/15/19 from A. Liu to L. Brody; L. Tsai,
 21                IRONHAWK-D_000047981
         1464      E-mail 12/3/13 from B. Hirou to D. Gomes,
 22                IRONHAWK-D_000048171
 23      1465      2015 Sales Forecast.xlsx, IRONHAWK-
                   D_000048235
 24
         1466      Q2 2013 Sales Pipeline Report, IRONHAWK-
 25                D_000048244
 26      1467      Ironhawk Technologies, Inc. SmartSync DCS
                   Platform, June 2011, IRONHAWK-D_000048392
 27      1468      Ironhawk Technologies, Inc. SmartSync DCS
 28                Platform, April 2011, IRONHAWK-D_000048403

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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1469 Ironhawk Technologies, Inc. SmartSync Client-
   3          Aware Content Delivery Software, IRONHAWK-
   4          D_000048542
         1470 Ironhawk Technologies, Inc. Overview, October 11,
   5
              2011, IRONHAWK-D_000048648
   6     1471 Ironhawk SmartSync Intelligent Routing
              Demonstration, Jan 12, 2011, IRONHAWK-
   7
              D_000048670
   8     1472 Ironhawk Technologies, Inc. Company Information,
              IRONHAWK-D_000048809
   9
         1473 Ironhawk Technologies, Inc. - Ironhawk Demo
 10           Storyboard, July 7, 2019, IRONHAWK-
 11           D_000048904
         1474 Reference Materials - Oppenheimer June 2015,
 12           IRONHAWK-D_000049029
 13      1475 Authorized Federal Supply Service Information
              Technology Schedule Catalog-Pricelist General
 14           Purpose Commercial Information Technology
 15           Equiptment, Software and Services - December 1,
              2016 - November 30, 2021, IRONHAWK-
 16           D_000049160
 17      1476 Ironhawk Technologies, Inc. 2017-2018 Product
              Catalog Commercial and GSA Pricing,
 18           IRONHAWK-D_000049454
 19      1477 Reference Materials - Oppenheimer June 2015,
              IRONHAWK-D_000049508
 20      1478 Project IGNITE - Executive Summary June 2015,
 21           IRONHAWK-D_000049533
         1479 Reference Materials - Oppenheimer June 2015,
 22           IRONHAWK-D_000049626
 23      1480 Ironhawk Technologies Master List of Contracts -
              Summary 1/20/05, IRONHAWK-D_000050444
 24
         1481 Ironhawk Technologies Master List of Contracts -
 25           Summary 11/2/17, IRONHAWK-D_000050448
         1482 Letter 3/6/19 from L. Brody (Browne George Ross)
 26
              to A. Liu, IRONHAWK-D_000050617
 27      1483 Salesforce Mobile SDK Development Guide,
              IRONHAWK-D_000050621
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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1484 E-mail 5/19/08 from B. Bengston to
   3          aboutin@summitpartners.com;
   4          Harvey@goldmanconsultants.com; D. Gomes,
              IRONHAWK-D_000051019
   5
         1485 E-mail 5/19/08 from Antigen+AF8-PALMAIL1 to
   6          Harvey@goldmanconsultants.com; D. Gomes,
              IRONHAWK-D_000051021
   7
         1486 Archive00043394.xls, IRONHAWK-D_000051022
   8     1487 E-mail 6/2/08 from B. Bengston to Damon Doe; D.
              Gomes, IRONHAWK-D_000051023
   9
         1488 Archive00044227.xls, IRONHAWK-D_000051024
 10      1489 E-mail 9/9/08 from B. Bengston to D. Gomes,
 11           IRONHAWK-D_000051025
         1490 Archive00049915.xls, IRONHAWK-D_000051026
 12      1491 E-mail 12/11/09 from N. Castrinos to D. Gomes,
 13           IRONHAWK-D_000051027
         1492 Archive00086829.xlsx, IRONHAWK-
 14           D_000051029
 15      1493 E-mail 3/19/10 from N. Castrinos to D. Gomes; B.
              Bengston, IRONHAWK-D_000051030
 16      1494 Archive00095059.xlsx, IRONHAWK-
 17           D_000051031
         1495 E-mail 7/15/13 from D. Gomes to M. Henry,
 18           IRONHAWK-D_000051032
 19      1496 Q2 2013 Sales Pipeline Report, IRONHAWK-
              D_000051033
 20
         1497 Ironhawk Technologies, Inc. Balance Sheet as of
 21           June 30, 2012, IRONHAWK-D_000051037
         1498 Ironhawk Technologies, Inc. Profit & Loss January
 22
              1 through July 15, 2013, IRONHAWK-
 23           D_000051039
         1499 E-mail 7/15/13 from D. Gomes to B. Hirou,
 24
              IRONHAWK-D_000051041
 25      1500 Q2 2013 Sales Pipeline Report, IRONHAWK-
 26           D_000051042
         1501 E-mail 12/3/13 from D. Gomes to D. Stanley; B.
 27           Hirou; B. Thad, IRONHAWK-D_000051046
 28      1502 Archive00210559.xlsx, IRONHAWK-

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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   D_000051047
   3     1503      E-mail 12/4/13 from D. Stanley to D. Gomes,
   4               IRONHAWK-D_000051048
         1504      Archive00210637.xlsx, IRONHAWK-
   5
                   D_000051050
   6     1505      E-mail 12/6/13 from D. Gomes to B. Hirou; R. Gill;
                   J. Anders, IRONHAWK-D_000051051
   7
         1506      Archive00210734.xlsx, IRONHAWK-
   8               D_000051052
   9     1507      E-mail 12/11/13 from B. Hirou to G. Gomes,
                   IRONHAWK-D_000051053
 10      1508      Q2 2013 Sales Pipeline Report, IRONHAWK-
 11                D_000051054
         1509      E-mail 12/20/13 from D. Gomes to T. Beckert,
 12                IRONHAWK-D_000051058
 13      1510      2014 Sales Pipeline Report, IRONHAWK-
                   D_000051059
 14      1511      Archive00212679.xlsx, IRONHAWK-
 15                D_000051068
         1512      E-mail 12/20/13 from D. Gomes to M. Lippert; G.
 16                Chou; B. Hirou, IRONHAWK-D_000051069
 17      1513      Archive00212688.xlsx, IRONHAWK-
                   D_000051070
 18      1514      2014 Sales Pipeline Report, IRONHAWK-
 19                D_000051071
         1515      E-mail 12/20/13 from T. Beckert to D. Gomes,
 20
                   IRONHAWK-D_000051080
 21      1516      Archive00212705.xlsx, IRONHAWK-
                   D_000051082
 22
         1517      E-mail 4/11/14 from D. Gomes to T. Beckert; B.
 23                Hirou, IRONHAWK-D_000051083
 24      1518      Archive0022607.xlsx, IRONHAWK-D_000051084
         1519      E-mail 5/16/17 from T. Beckert to D. Gomes,
 25                IRONHAWK-D_000051085
 26      1520      Archive00225610.xlsx, IRONHAWK-
                   D_000051086
 27      1521      E-mail 8/13/14 from D. Gomes to B. Hirou,
 28                IRONHAWK-D_000051087

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   1     Exh.                                                         Date         Date
                               Description of Exhibit               Identified   Admitted
         No.
   2
         1522 Archive00233698.xlsx, IRONHAWK-
   3          D_000051088
   4     1523 E-mail 8/20/14 from B. Hirou to D. Gomes,
              IRONHAWK-D_000051089
   5
         1524 Archive00233995.xlsx, IRONHAWK-
   6          D_000051090
         1525 E-mail 8/21/14 from D. Gomes to T. Beckert,
   7
              IRONHAWK-D_000051091
   8     1526 Archive00234047.xlsx, IRONHAWK-
   9          D_000051092
         1527 E-mail 8/22/14 from D. Gomes to J. Anders; R. Gill,
 10           IRONHAWK-D_000051093
 11      1528 Archive00234127.xlsx, IRONHAWK-
              D_000051094
 12      1529 E-mail 8/22/14 from D. Gomes to M. Lippert; G.
 13           Stucker, IRONHAWK-D_000051095
         1530 Archive00234174.xlsx, IRONHAWK-
 14           D_000051096
 15      1531 E-mail 9/19/14 from T. Beckert to D. Gomes; B.
              Hirou, IRONHAWK-D_000051097
 16      1532 Archive00236188.xlsx, IRONHAWK-
 17           D_000051098
         1533 E-mail 9/19/14 from D. Gomes to G. Stucker,
 18           IRONHAWK-D_000051099
 19      1534 Archive00236237.xlsx, IRONHAWK-
              D_000051100
 20
         1535 E-mail 9/19/14 from D. Gomes to B. Hirou,
 21           IRONHAWK-D_000051101
         1536 Archive00236239.xlsx, IRONHAWK-
 22
              D_000051102
 23      1537 E-mail 9/23/14 from D. Gomes, IRONHAWK-
              D_000051103
 24
         1538 Archive00237978.xlsx, IRONHAWK-
 25           D_000051104
 26      1539 Archive00237979.xlsx, IRONHAWK-
              D_000051105
 27      1540 E-mail 9/29/14 from D. Gomes to T. Moore,
 28           IRONHAWK-D_000051106

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   1     Exh.                                                         Date         Date
                               Description of Exhibit               Identified   Admitted
         No.
   2
         1541 Archive00238639.xlsx, IRONHAWK-
   3          D_000051108
   4     1542 Archive00238640.xlsx, IRONHAWK-
              D_000051109
   5
         1543 E-mail 10/9/14 from D. Gomes to T. Moore,
   6          IRONHAWK-D_000051110
         1544 Archive00241625.xlsx, IRONHAWK-
   7
              D_000051112
   8     1545 Archive00241626.xlsx, IRONHAWK-
   9          D_000051113
         1546 E-mail 10/21/14 from D. Gomes to T. Moore,
 10           IRONHAWK-D_000051114
 11      1547 Archive00242979.xlsx, IRONHAWK-
              D_000051116
 12      1548 Archive00242980.xlsx, IRONHAWK-
 13           D_000051117
         1549 E-mail 1/13/15 from D. Gomes to T. Beckert; B.
 14           Hirou, IRONHAWK-D_000051118
 15      1550 Archive00250396.xlsx, IRONHAWK-
              D_000051119
 16      1551 E-mail 1/13/15 from D. Gomes to B. Hirou,
 17           IRONHAWK-D_000051120
         1552 Archive00250406.xlsx, IRONHAWK-
 18           D_000051121
 19      1553 E-mail 1/22/15 from B. Hirou to D. Gomes,
              IRONHAWK-D_000051122
 20
         1554 E-mail 4/20/17 from D. Gomes to R. Gill,
 21           IRONHAWK-D_000051124
         1555 Archive00325966.xlsx, IRONHAWK-
 22
              D_000051125
 23      1556 E-mail 4/21/17 from D. Gomes to R. Gill,
              IRONHAWK-D_000051126
 24
         1557 Archive00326070.xlsx, IRONHAWK-
 25           D_000051128
 26      1558 Ironhawk Technologies, Inc. 2017 Sales Projections,
              IRONHAWK-D_000051129
 27      1559 Ironhawk 2014 Sales Report 091914_LM
 28           Inputs.xlsx, IRONHAWK-D_000051135

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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
   2
         1560 2015 Sales Forecast (1) BAH.xlsx, IRONHAWK-
   3          D_000051136
   4     1561 Ironhawk - Financial Forecast Model Revised
              Accrual Reversal 12-26-14.xlsx, IRONHAWK-
   5
              D_000051137
   6     1562 Sales Forecast 040113.xlsx, IRONHAWK-
              D_000051138
   7
         1563 Joint Technical Data Integration (JTDI) FAM Brief
   8          3/30/17, IRONHAWK-D_000051139
   9     1564 Ironhawk Technologies, Inc. - Q2 2013 Sales
              Pipeline Report, IRONHAWK-D_000051158
 10      1565 Ironhawk Technologies, Inc. - Q2 2013 Sales
 11           Pipeline Report, IRONHAWK-D_000051162
         1566 Ironhawk Technologies, Inc. - 2014 Sales Pipeline
 12           Report, IRONHAWK-D_000051166
 13      1567 Ironhawk 2014 Sales Report 082014.xlsx,
              IRONHAWK-D_000051175
 14      1568 Ironhawk 2014 Sales Report.xlsx, IRONHAWK-
 15           D_000051176
         1569 PHD Sales Pipeline Report.DS.xlsx, IRONHAWK-
 16           D_000051177
 17      1570 PHD Sales Pipeline Report.xlsx, IRONHAWK-
              D_000051178
 18      1571 Ironhawk 2014 Sales Report (Thad).xlsx,
 19           IRONHAWK-D_000051179
         1572 Ironhawk 2014 Sales Report 082014.xlsx,
 20           IRONHAWK-D_000051180
 21      1573 Ironhawk 2014 Sales Report 091914_LM
              Inputs.xlsx, IRONHAWK-D_000051181
 22
         1574 Ironhawk 2014 Sales Report (Thad - V2).xlsx,
 23           IRONHAWK-D_000051182
         1575 2015 LMCO SmartSync Sales Forecast.xlsx,
 24
              IRONHAWK-D_000051183
 25      1576 2015 Sales Forcast (1) BAH.xlsx, IRONHAWK-
 26           D_000051184
         1577 2015 Sales Forcast DAG 4-4-15.xlsx, IRONHAWK-
 27           D_000051185
 28      1578 2015 Sales Forecast.xlsx, IRONHAWK-

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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   D_000051186
   3     1579      Ironhawk Technologies, Inc. 2017 Sales Projections,
   4               IRONHAWK-D_000051187
         1580      Ironhawk Technologies, Inc. 2017 Sales Projections,
   5
                   IRONHAWK-D_000051192
   6     1581      Ironhawk Technologies, Inc. - SmartSync verses
                   WAN Accelerators Study Draft, IRONHAWK-
   7
                   D_000051193
   8     1582      Ironhawk SmartSync Differentiation Assessment
   9               June 28, 2012, IRONHAWK-D_000051198
         1583      Ironhawk Technologies, Inc. - Competitive
 10                Landscape SmartSync Technology June 2014,
 11                IRONHAWK-D_000051203
         1584      Ironhawk Technologies, Inc. Expenses by Vendor
 12                Summary April 1, 2001 through March 17, 2015,
 13                IRONHAWK-D_000051350
         1585      SmartSync Licensing Options for U.S. Navy Littoral
 14                Combat Ships, IRONHAWK-D_000051537
 15      1586      Ironhawk Technologies, Inc. Transaction List by
                   Vendor 3/17/15, IRONHAWK-D_000051561
 16      1587      Vendor Payables (2017_07_21_04_08_48
 17                UTC).xlsx, IRONHAWK-D_000051904
         1588      Search Results - GSA Advantage Online - Products -
 18                "dropbox" 4/11/19, IRONHAWK-D_000051917
 19      1589      Search Results - GSA Advantage Online - Products -
                   "dropbox" 4/11/19, IRONHAWK-D_000051922
 20      1590      Search Results - GSA Advantage Online - Products -
 21                "dropbox" 4/11/19, IRONHAWK-D_000051927
         1591      Search Results - GSA Advantage Online - Products -
 22
                   "dropbox" 4/11/19, IRONHAWK-D_000051933
 23      1592      Search Results - GSA Advantage Online - Products -
                   "dropbox" 4/11/19, IRONHAWK-D_000051938
 24
         1593      Search Results - GSA Advantage Online - Products -
 25                "dropbox" 4/11/19, IRONHAWK-D_000051944
 26      1594      Search Results - GSA Advantage Online - Products -
                   "dropbox" 4/11/19, IRONHAWK-D_000051950
 27      1595      Search Results - GSA Advantage Online - Products -
 28                "dropbox" 4/11/19, IRONHAWK-D_000051956

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   1     Exh.                                                        Date         Date
                              Description of Exhibit               Identified   Admitted
         No.
   2
         1596 Search Results - GSA Advantage Online - Products -
   3          "dropbox" 4/11/19, IRONHAWK-D_000051962
   4     1597 Search Results - GSA Advantage Online - Products -
              "dropbox" 4/11/19, IRONHAWK-D_000051968
   5
         1598 Search Results - GSA Advantage Online - Products -
   6          "dropbox" 4/11/19, IRONHAWK-D_000051973
         1599 Search Results - GSA Advantage Online - Products -
   7
              "dropbox" 4/11/19, IRONHAWK-D_000051978
   8     1600 Search Results - GSA Advantage Online - Products -
   9          "dropbox" 4/11/19, IRONHAWK-D_000051983
         1601 Search Results - GSA Advantage Online - Products -
  10          "dropbox" 4/11/19, IRONHAWK-D_000051988
  11     1602 Search Results - GSA Advantage Online - Products -
              "dropbox" 4/11/19, IRONHAWK-D_000051993
  12     1603 Search Results - GSA Advantage Online - Products -
  13          "dropbox" 4/11/19, IRONHAWK-D_000051998
         1604 Search Results - GSA Advantage Online - Products -
  14          "dropbox" 4/11/19, IRONHAWK-D_000052003
  15     1605 Search Results - GSA Advantage Online - Products -
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   4          Program Faculty and Institutions by Subarea.”
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  19          more” SmartTHING.
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              notebooks worldwide",
  22          Notebookcheckhttps://www.notebookcheck.net/MSI
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                                  Description of Exhibit                 Identified   Admitted
         No.
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                   admin-guide/1/en/topic/prefix
   3     1627      "SmartSync Software” SmartSync Pro.
   4               https://www.smartsync.com/
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                   2BrightSparks.
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                   https://twitter.com/boholmgren/status/47792716600
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   9     1630      “@MarinSoftware”
                   https://twitter.com/MarinSoftware/status/732998044
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  13     1632      “15 Years of SyncBack” 2BrightSparks.
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  20     1636      “Aligner Orthodontic Treatment Tracking and
  21               Scheduler iOS and Android
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                   technology/
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   1     Exh.                                                         Date         Date
                              Description of Exhibit                Identified   Admitted
         No.
   2
         1639 “ASUS AiCloud Apple App Store”
   3          https://itunes.apple.com/us/app/ASUSaicloud/
   4          id527118674
         1640 “ASUS AiCloud Google Play App”
   5
              https://play.google.com/store/apps/details?id=com.A
   6          SUStek.aicloud&hl=en_US
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                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   comparison.
   3     1650      “Classification of Computer Services and
   4               Associated Policy in the
                   Trademark Office.” United States Patent and
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   6               https://www.uspto.gov/web/offices/com/sol/notices/
                   class.html
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   8               Associated Policy in the
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  10               https://www.uspto.gov/web/offices/com/sol/notices/
                   class.html.
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         1652      “CloudFileSync” https://cloudfilesync.com/
  12     1653      “CMC Products” http://cmcpems.com/products/
  13     1654      “CMP Brilliant Wonders Smart Sync LED Waterfall
                   Control”
  14               https://www.ebay.com/itm/CMP-Brilliant-Wonders-
  15               Smart-Sync-LED-Waterfall-Control-
                   25677900000-NIB-FREE-SHIP-
  16               /292940429182?nma=true&si=zFewoxeznzxKzpLU
  17               D%252BVQ%252FHgN8TU%253D
                   &orig_cvip=true&nordt=true&rt=nc&_trksid=p204
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  21               colorpath/sync/index.html
         1656      “Company Overview” Hill-Rom. https://www.hill-
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  23               Company/About-us/Company-Overview/
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  24               http://buy.daktronics.com/DakStats-Web-
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  26               https://dakstats.daktronics.com/Pages/WebSync.asp
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                              Description of Exhibit               Identified   Admitted
         No.
   2
         1660 “Definitions for Responding to a USPTO Office
   3          Action.” United States
   4          Patent and Trademark Office.
              https://www.uspto.gov/trademarks-
   5          applicationprocess/
   6          filing-online/definitions-responding-uspto-office-
              action#supplemental
   7
         1661 “Demarche Labs SMARTSYNC”
   8          https://shop.nordstrom.com/s/dermarchelabs-
              smartsync-priobiotic-science-balancing-gel-
   9
              cream/4674528.
  10     1662 “Dodge DocuPro Sync”
              http://dodgeprojects.construction.com/Dodge-
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              DocuPro-Mobile_stcVVcatId554973VVviewcat.htm
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  15     1665 “Dropbox.com Traffic, Demographics and
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  17     1666 “Explore TiVo” https://explore.tivo.com/
         1667 “Fan Smart Sync” https://appgrooves.com/app/fan-
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   1     Exh.                                                        Date         Date
                              Description of Exhibit               Identified   Admitted
         No.
   2
         1672 “Holmium Laser Fibers with SmartSync
   3          Technology”
   4          https://www.cookmedical.com/products/364d241e-
              fb92-48f5-8d47-970c6534217f/.
   5
         1673 “HomeSync”
   6          https://www.samsung.com/us/support/owners/produ
              ct/homesync-wi-fi-only
   7
         1674 “How do you get Salesforce's SmartSync upSync
   8          method to insert a record
              into Salesforce in a hybrid mobile app?”
   9
              https://developer.salesforce.com/forums/?id=9060G
  10          000000XgikQAC
         1675 “How much does Dropbox cost?”
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  13          Architecture Designer
              Exam” Salesforce Memo.
  14          http://salesforcememo.com/2017/12/24/how-to-
  15          prepare-forand-
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  16     1677 “How to Satisfy a Disclaimer Requirement.” United
  17          States Patent and
              Trademark Office
  18          https://www.uspto.gov/trademark/laws-
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              requirement.
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  21          Name to Ironhawk
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  22          https://web.archive.org/web/20090622011959/http://
  23          www.idc-global.com/.
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  25     1680 “Ironhawk News.” Ironhawk.
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  26     1681 “iTristan LinkedIn” LinkedIn.
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                              Description of Exhibit              Identified   Admitted
         No.
   2
         1682 “iTristan Media Group (@itristanmedia)” Twitter.
   3          https://twitter.com/itristanmedia?lang=en
   4     1683 “Keedom Smart Sync 8.2” https://keedom-
              smartsync.
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              software.informer.com/.
   6     1684 “Klein Products”
              https://www.kleinproducts.com/innovations
   7
         1685 “Knowledgebase - SmartTHING” SmartTHING.
   8          https://www.smartthing.org/knowledgebase/
   9     1686 “LapLink PCsync”
              https://www.amazon.com/Laplink-Inc-FG-PCS000-
  10          RTUS-
  11          LapLink-PCsync/dp/B000051WWQ
         1687 “LG Sound Sync – TV and Sound Bar”
  12          https://www.lg.com/us/support/product-
  13          help/CT30009760-20150637961106-audio-out-of-
              sync
  14     1688 “Litéra Sync” https://appadvice.com/app/litera-
  15          sync/797462828
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  16          https://www.designdata.com/testimonial/
  17     1690 “Mac App Store Preview – Smart Sync” Yong
              Chen.
  18          https://itunes.apple.com/us/app/smart-
  19          sync/id537484847
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  20     1692 “Marin launches tool for syncing online search ad
  21          campaigns” Seeking Alpha.
              https://seekingalpha.com/news/2598105-marin-
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  23          campaigns
         1693 “Marin launches tool for syncing online search ad
  24          campaigns”
  25          https://seekingalpha.com/news/2598105-marin-
              launches-tool-for-syncing-online-searchad-
  26
              campaigns
  27     1694 “Marin Social - Introducing Smart Sync For
              Shopping”
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
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   3     1695      “Marin Software Launches Smart Sync For
   4               Shopping”
                   https://www.bandt.com.au/advertising/marin-
   5
                   software-launches-smart-sync-shopping
   6     1696      “Marin Software Launches Smart Sync for
                   Shopping”
   7
                   https://www.marketwatch.com/press-release/marin-
   8               software-launches-smart-sync-for-shopping-2016-
                   08-XX-XXXXXXX
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         1697      “Marin Software Launches Smart Sync”
  10               https://www.marinsoftware.com/resources/news/mar
                   in-software-launches-smart-sync
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         1698      “Midiman SmartSync”
  12               https://img.tradera.net/images/683/295559683_57ae
  13               28ff-0ea7-4dee-b9b5-
                   d77d43f495c1.jpg.
  14     1699      “Mobolize”
  15               https://itunes.apple.com/us/app/mobolize/id1072879
                   165?mt=8
  16     1700      “Naval Synchronization Toolset”
  17               https://www.promodel.com/pdf/NST%20Product%2
                   0Summary.pdf
  18     1701      “News” http://www.alpvision.com/news.html
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  20               www.idc-global.com/
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  22               www.idc-global.com/
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  24               www.idc-global.com/
  25     1705      “Our Company” Primex.
                   https://www.primexinc.com/company/
  26
         1706      “Panzura Announces Next-Generation SMART
  27               Sync Technology”
                   https://panzura.com/press-releases/panzura-
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   announces-next-generation-smart-synctechnology/.
   3     1707      “Partner Gear”
   4               https://www.asus.com/campaign/aura/us/Partners-
                   andpromotions.
   5
                   html
   6     1708      “Pason PVT SmartAlarms”
                   https://www.youtube.com/watch?v=VriDeVtEqLs
   7
         1709      “Payroll and HR Apps” ADP.
   8               https://www.adp.com/what-weoffer/
                   marketplace.aspx
   9
         1710      “Payroll, HR, and Tax Services” ADP.
  10               https://www.adp.com/
  11     1711      “PIONEER MXT-S3166BT Digital Media Receiver
                   Car Stereo & Speakers
  12               Package” http://www.pioneer-carglobal.com/pss/.
  13     1712      “PIONEER MXT-S3166BT Digital Media Receiver
                   Car Stereo & Speakers
  14               Package” https://www.ebay.com/itm/PIONEER-
  15               MXT-S3166BT-Digital-Media-
                   Receiver-Car-Stereo-Speakers-Package-
  16               /292922249160.
  17     1713      “Primex Smart-Sync.” https://production-
                   acdn.primexinc.com/downloads/Primex-SmartSync-
  18               Bridge.pdf
  19     1714      “Purchase SmartSynchronize” Syntevo.
                   https://www.syntevo.com/smartsynchronize/purchas
  20               e/
  21     1715      “PVT – Smart Alarms”
                   https://www.pason.com/images/Brochures/BR012_E
  22               N_PVT_Smart_Alarms.pdf
  23     1716      “Questions tagged [smartsync]”
                   https://salesforce.stackexchange.com/questions/tagg
  24               ed/smartsync
  25     1717      “Quick Base Sync”
                   https://www.quickbase.com/sync
  26
         1718      “Recorder Software” http://sekai-
  27               electronics.com/portfolio-item/recordersoftware/
         1719      “Replication, Backup & Archiving for Salesforce by
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   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
   2
                   DBSync / Avankia”
   3               https://appexchange.salesforce.com/appxListingDeta
   4               il?listingId=a0N300000016a1REAQ
         1720      “Salesforce.com Targets C# and .NET Developers
   5
                   for Mobile Apps with
   6               New Xamarin Pack” Visual Studio Magazine.
                   https://visualstudiomagazine.com/articles/2013/07/3
   7
                   0/salesforce-targets-dot-netdevs.aspx
   8     1721      “Samsung HomeSync GT-B9150”
                   https://www.ebay.com/p/Samsung-
   9
                   Homesync-GT-B9150-160GB-Network-Cloud-
  10               Android-Media-
                   Player/1717633752?iid=113730078484
  11
         1722      “Serato DJ Tutorial – Smart Sync” YouTube.
  12               https://www.youtube.com/watch?v=nc5V8HR9Jg0
  13     1723      “Serato/DDJ-SX Issue” Reddit.
                   https://www.reddit.com/r/DJs/comments/3mh7y7/se
  14               ratoddjsx_issue_simple_sync_is_snapping/
  15     1724      “Serato” Serato. https://serato.com/
         1725      “Shopkeep Launches Serverless Sync”
  16               https://www.shopkeep.com/blog/shopkeep-launches-
  17               serverless-sync#step-1
         1726      “Smart Access”
  18               https://www.clarion.com/xe/en/products-
  19               personal/service/
         1727      “Smart Access”
  20               https://play.google.com/store/apps/details?id=com.cl
  21               arion.android.appmgr&hl=en_US
         1728      “Smart by Danale” https://intl.danale.com/smart-by-
  22               danale/
  23     1729      “Smart Campo” http://ensoag.com/smart-campo/
         1730      “Smart Clause” https://docs.clause.io/en/articles/4-
  24               smart-clause
  25     1731      “Smart Code” https://www.bna.com/smart-code/
         1732      “Smart Kill Mouse Trap”
  26
                   https://www.amazon.com/Woodstream-Smart-Kill-
  27               Mouse-Trap/dp/B078H9R6FV
         1733      “Smart Peakflow”
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
                   http://www.medicalexpo.com/prod/smart-
   3               respiratory-products-
   4               ltd-121487.html#product-item_847508
         1734      “Smart Peakflow”
   5
                   https://smartpeakflow.com/contact-us/#about-us
   6     1735      “Smart Production Lab: where robots come to life”
                   http://modo.volkswagengroup.it/en/humans/smart-
   7
                   production-lab-where-robots-come-to-life
   8     1736      “Smart Shipment Management and Resource
                   Tracking”
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                               Description of Exhibit               Identified   Admitted
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                                  Description of Exhibit                Identified   Admitted
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   4               an_Automation.
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                                  Description of Exhibit                 Identified   Admitted
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                              Description of Exhibit               Identified   Admitted
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                               Description of Exhibit                 Identified   Admitted
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                                  Description of Exhibit                Identified   Admitted
         No.
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                                   Description of Exhibit                 Identified   Admitted
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   4     1832      Fan Controls by Palm Coast Imports, LLC,
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   8     1835      Getting Started with S martSync-CaseWare |
   9               Youtubehttps://www.youtube.com/watch?v=Or89Pv
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  10     1836      Hill-Rom Services, Inc., https://www.hill-
  11               rom.com/usa/.
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  14               Verizonhttps://www.verizonwireless.com/support/kn
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         1840      HTC Mail on Google
  16               Playhttps://play.google.com/store/apps/details?id=co
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         1841      https://3dinsider.com/smart-heaters/
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  23               collar/
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  25     1847      https://www.apple.com/iphone/
  26     1848      https://www.bestbuy.com/site/smart-watches-
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  27               pcmcat321000050004.c?id=pcmcat321000050004
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   1     Exh.                                                             Date         Date
                                  Description of Exhibit                Identified   Admitted
         No.
   2
                   pcmcat220700050011.c?id=pcmcat220700050011
   3     1850      https://www.digitaltrends.com/business/best-smart-
   4               luggage/
         1851      https://www.digitaltrends.com/mobile/best-smart-
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                   wallets/
   6     1852      https://www.homedepot.com/b/Smart-Home-Smart-
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                   Refrigerators/N-5yc1vZch9h
   8     1853      https://www.pcmag.com/article/356755/the-best-
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  18     1860      Hypertherm, Inc., https://www.hypertherm.com/en-
  19               US/
         1861      IBM - Home | Facebook
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         1862      IBM Aspera (@asperasoft) | Twitter
  21     1863      IBM Aspera | LinkedIn
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  25     1867      iOra (@iOraLtd) | Twitter
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         1869      Ironhawk (@IronhawkGlobal) | Twitter
  27     1870      Ironhawk Technologies | LinkedIn
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
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   6               ironhawk.com/
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   8               https://www.itron.com/na/about/history
   9     1877      JSCAPE - Home | Facebook
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   1     Exh.                                                       Date         Date
                              Description of Exhibit              Identified   Admitted
         No.
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         1890 New Approach to File Synchronization,
   3          Panzurahttps://panzura.com/blog/smart-sync-file-
   4          synchronization/
         1891 Nita labeling equipment,
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   6     1892 Nomadic Systems, Inc., http://nomadicsystems.net/
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         1894 Panzura Announces Next-Generation SMART Sync
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              eSearchType=US_APPLICATION&
  26
              caseType=DEFAULT&searchType=statusSearch
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         1904 Resilio, Inc. - Home | Facebook
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   1     Exh.                                                              Date         Date
                                  Description of Exhibit                 Identified   Admitted
         No.
   2
         1905      Resilio, Inc. (@ResilioInc) | Twitter
   3     1906      Resilio, Inc. | LinkedIn
   4     1907      Sechrist Industries, Inc., https://sechristusa.com/
         1908      Smart Technologies, Inc.,
   5
                   https://www.smarttech.com/
   6     1909      SmartSync Pro website.” http://smartsync.com/
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                   Level, AICPA
   8               Store
   9               https://www.aicpastore.com/Content/media/PRODU
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  10               Articles_2011/CPA/Oct/SmartSync.jsp
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  20               solutions.com/
  21     1916      Syncsort - Home | Facebook
         1917      Syncsort - Youtube
  22
         1918      syncsort (@Syncsort) | Twitter
  23     1919      Syncsort | LinkedIn
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         1921      Thru - Youtube
  25     1922      Thru (@ThruInc) | Twitter
  26     1923      Thru | Facebook
         1924      Thru | LinkedIn
  27     1925      Thru Inc on Vimeo
  28     1926      Trailhead for Salesforce.com, Inc.,

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                                            JOINT EXHIBIT LIST
Case 2:18-cv-01481-DDP-JEM Document 186 Filed 09/16/19 Page 123 of 126 Page ID
                                  #:12025



   1     Exh.                                                               Date         Date
                                   Description of Exhibit                 Identified   Admitted
         No.
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                   https://trailhead.salesforce.com/en/content/learn/mo
   3               dules/mobile_sdk_offline/mobilesdk_
   4               offline_smartsync
         1927      Unisource Worldwide, Inc.,
   5
                   https://www.veritivcorp.com/ecommercesolutions
   6     1928      Viewlocity Inc., http://www.viewlocity.com/
         1929      WEBSITE--“AT&T Smart Sync 5 Inch Internet
   7
                   Viewable Touch Screen Video Monitor”
   8               https://www.ebay.com/p/AT-T-Smart-Sync-5-Inch-
                   Internet-Viewable-Touch-Screen-
   9
                   Video-Monitor-
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  18
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Case 2:18-cv-01481-DDP-JEM Document 186 Filed 09/16/19 Page 124 of 126 Page ID
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   1
                                       CERTIFICATE OF SERVICE
   2
                   I hereby certify that on this 16th day of September, 2019, I electronically filed
   3
       the foregoing JOINT EXHIBIT LIST with the Clerk of the Court using the
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   6
                              Ironhawk Technologies, Inc. vs. Dropbox, Inc.
   7                        USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
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